                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION


THE IPE CLIP FASTENER
COMPANY, LLC,

                    Plaintiff,        Case No.: 8:16-cv-02862-SDM-TGW
v.

SIMPSON STRONG-TIE COMPANY,
INC.,

                    Defendant.




               THE IPE CLIP FASTENER COMPANY, LLC’S

                                 APPENDIX TO

               AMENDED CLAIM CONSTRUCTION BRIEF
       Plaintiff, The Ipe Clip Fastener Company, LLC submits the following in support of its

Amended Claim Construction Brief:

   A. United States Patent No. 7,874,113 ................................................................. IC-App-0001

   B. United States Patent No. 8,161,702 .............................................................. IC-App-0016

   C. '113 Patent File History .................................................................................. IC-App-0035

   D. '702 Patent File History................................................................................... IC-App-0273

   E. United States Patent No. 6,363,677 (Chen) ................................................... IC-App-0479

   F. Project Lead the Way Wood Fasteners, Joinery, and Adhesives ................... IC-App-0498

   G. Webpage from http://www.woodmagazine.com/woodworking-
      tips/techniques/joinery/biscuits-marking-guide (last accessed 9/18/17) ....... IC-App-0507

   H. Webpage from http://edeck.com/accessories/ebty-hidden-deck-
      fasteners/ (last accessed 9/18/17) .................................................................... IC-App-0509

   I. Webpage from http://www.diynetwork.com/how-to/skills-and-know-
      how/carpentry-and-woodworking/how-to-use-a-biscuit-joiner (last
      accessed 9/18/17) ............................................................................................ IC-App-0511

   J. Webpage from
      https://www.canadianwoodworking.com/tipstechniques/use-your-
      router-biscuit-joiner posted from the October/November 2002 issue ............ IC-App-0518

   K. Webpage from https://www.nrha.org/How-
      To/shelving/woodjoint/woodjoints.htm (last accessed 9/18/17)
      posted on Feb. 1, 2001 .................................................................................... IC-App-0523

   L. Webpage from https://quizlet.com/3894414/woodworking-terms-
      flash-cards/ (last accessed 9/18/17) posted on Feb. 1, 2001 .......................... IC-App-0530

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      webster.com/dictionary/compress (last accessed 9/18/17) ............................. IC-App-0547

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      webster.com/dictionary/collapse (last accessed 9/18/17) ............................... IC-App-0559

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      webster.com/dictionary/support (last accessed 9/18/17) ................................ IC-App-0573

   P. Webpage from https://www.merriam-
      webster.com/dictionary/centerline (last accessed 9/18/17).............................. IC-App-0590

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   Q. Webpage from https://www.merriam-webster.com/dictionary/along
      (last accessed 9/18/17) ..................................................................................... IC-App-0597

   R. Webpage from `https://www.merriam-
      webster.com/dictionary/adjacent (last accessed 9/18/17) ................................ IC-App-0608

   S. Webpage from https://www.merriam-webster.com/dictionary/remote
      (last accessed 9/18/17) ..................................................................................... IC-App-0617

   T. https://www.merriam-webster.com/dictionary/bevel (last accessed
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   U. Webpage from
      http://www.ebty.com/installation_hidden_deck_fasteners.php (last
      accessed 9/18/17) ............................................................................................. IC-App-0640

   V. United States Patent No. 6,402,415 ................................................................. IC-App-0645

   W. Reexamination of United States Patent No. 6,402,415 .................................. IC-App-0656

Dated: May 24, 2019                                          Respectfully submitted,
                                                             /s/ Jennifer L. Friedman
                                                             Jennifer L. Friedman, Esq.
                                                             Schröder, Joseph & Associates, LLP
                                                             392 Pearl Street, Suite 301
                                                             Buffalo, New York 14202
                                                             Telephone No.: (716) 881-4900
                                                             Facsimile No.: (716) 881-4909
                                                             jfriedman@sjalegal.com

                                                             J. Todd Timmerman
                                                             Florida Bar No. 0956058
                                                             ttimmerman@slk-law.com
                                                             Mindi M. Richter
                                                             Florida Bar No. 0044827
                                                             mrichter@slk-law.com
                                                             Jeffrey B. Fabian
                                                             Florida Bar No. 0085868
                                                             jfabian@sIk-law.com
                                                             Shumaker, Loop & Kendrick, LLP
                                                             101 East Kennedy Boulevard, Suite 2800
                                                             Tampa, Florida 33602
                                                             Telephone No.: (813) 229-7600
                                                             Facsimile No.: (813) 229-1660
                                                             Attorneys for Plaintiff The Ipe Clip Fastener
                                                             Company, LLC

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                                 CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on May 24, 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send electronic filing to all counsel of

record.

                                                    /s Jennifer L. Friedman
                                                    Attorney




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Exhibit A
                                                                                             US007874113B2


(12) United States Patent                                                   (10) Patent No.:                    US 7,874,113 B2
       Eberle, III                                                          (45) Date of Patent:                          Jan. 25, 2011
(54) EXPANSION-COMPENSATING DECK                                              1,241,885 A          2/1917 Roede ......................... 52/714
        FASTENER                                                              1,714,738 A          5/1929 Smith .......................... 52/512

(76) Inventor: Harry W. Eberle, III, 219 W. Valley                                                        -
               Brook Rd., Califon, NJ (US) 07830                                                     (Continued)
           -             -            -    -   -                  -                 FOREIGN PATENT DOCUMENTS
(*) Notice:          Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35           CA                2287104               1/1901
                U.S.C. 154(b) by 0 days.
(21) Appl. No.: 12/583,702                                                                           (Continued)
                                                                                         OTHER PUBLICATIONS
(22) Filed:          Aug. 24, 2009
                                                                       Invoice for the sale of certain Eb-Ty Fasteners dated Aug. 26, 1997.
(65)                   Prior Publication Data
        |US 2010/01.39198 A1         Jun. 10, 2010
                                                                                           (Continued)
                                                                       Primary Examiner—Richard E Chilcot, Jr.
               Related U.S. Application Data                           Assistant Examiner—Mark R. Wendell
(63) Continuation of application No. 10/446,514, filed on              º #irm—Lerner, David, Littenberg,
        May 28, 2003, now Pat. No. 7,578,105, which is a                                       s
        continuation-in-part of application No. 10/393,100,             57                          ABSTRACT
        filed on Mar. 20, 2003, now Pat. No. 6,851,884.                (57)
(51) Int. Cl.                                                          The present invention is an anchoring biscuit device for join
     E{}4F 15/22                  (2006.01)                            ing three boards. It includes, (a) an at least partially flat
     E04B 2/0?)                   (2006.01)                            horizontal top element having an imaginary center line, hav
     FI6B 9/00                    (2006.01)                            ing opposite side walls, and having a top view footprint
(52) U.S. Cl. .................... 52/403.1: 52/586.1; 52/5862;        adapted to be inserted into grooves of adjacent boards; (b) at
                                      52/483.1; 52/480; 52/660.3       least one substantially vertical support member attached to
(58) Field of Classification Search ................ 52/586.1,         the underside of the top element and extending downwardly
             52/586.2, 483.1, 480, 650.3, 403.1: 403/231,              therefrom for a predetermined length for joinder of two adja
                                          403/232.1, 408.1             cent boards which contain said grooves for receiving portions
     See application file for complete search history.                 of said top into said grooves; and, (c) at least one compressive
                                  e                                    element located on aid device, with at least a portion of said at
(56)                References Cited                                   least one compressive element, from a top view footprint,
             |U.S. PATENT DOCUMENTS                                    being located away from said imaginary center line and way
                 ---                                                   from said vertical support member, wherein said compressive
        186,463 A        1/1877 Dickenson ................... 52/512   element is adapted to at least partially collapse under prede
        466,995 A        1/1892 Abramson ................... 52/.385   termined compressive force.
        695,722 A       3/1902 Heilmann
       1,184,080 A      4/1916 D’Arcy ...................... 403/231                   41 Claims, 6 Drawing Sheets



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2,362,252    A * 11/1944 Ellinwood ..                      52/288.1               6,449,918   B1  9/2002      Nelson ....               ... 52/582.1
2,398,603    A    4/1946 Soderberg ...                  . 411/457                 6,460,306   B1 10/2002      Nelson ...................... 52/582.1
2,406,387    A    8/1946 Lank .......                   . 144/347                 6,470,641 B1      10/2002 Faure
2,526,116    A   10/1950 Browne ...                    . . 105/423                6,471,434 B2      10/2002 Chin et al.
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4,599.841 A          7/1986 Haid .......                   52/396.04                     FOREIGN PATENT DOCUMENTS
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5,243,804    A       9/1993    Therrien et al. ...           ... 52/664    GB                 1567008 A          5/1980
5.245,808 A          9/1993 Grunewald et al. ........... 52,235            Sº                 2124672 A          2/1984
5,251,996    A    10/1993 Hiller et al. .......            403/331         JP              40437.1657. A        12/1992
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5,458,433    A    10/1995 Stastny .......             . 403/408.1          1997.
5,480,117    A     1/1996 Fleming, III ...         ... 248/231.9           Harry W. Eberle, III et al. v. KK manufacturing Co., et al., Civil
5,529,428    A     6/1996 Bischof ......              . 403/408.1          Action No. 03-5809 (FLW-TJB), Invalidity Contentions related to
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                                                                                                                                          IC-App-0002
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                                                       IC-App-0008
                                                     US 7,874,113 B2
                               1                                                                       2
           EXPANSION-COMPENSATING DECK                                  panels being formed with a groove opening into its meeting
                    FASTENER                                            edge, the groove in each panel providing an outer lip and an
                                                                        inner lip, said outer lips being in abutting relation, a joining
            CROSS-REFERENCE TO RELATED                                  strip permanently secured to the under surface of said outer
                   APPLICATIONS                                         lips, said inner lips being spaced, a T-shaped connecting
                                                                        member movably positioned in said groove and having a base
   This application is a continuation of U.S. patent applica            in spaced relation to said inner lips, and means for anchoring
tion Ser. No. 10/446,514, filed May 28, 2003, now U.S. Pat.             said connecting member to a structural element.
No. 7,578,105, which, in turn, is a continuation-in-part of                U.S. Pat. No. 2,398,603 to Soderberg describes a joining
U.S. patent application Ser. No. 10/393,100, filed on Mar. 20,     10   staple, comprising a metal body having at least two portions
2003, now U.S. Pat. No. 6,851,884. Each of these applica                extending at right angles to each other and at least two teeth
tions is hereby incorporated herein in its entirety by reference        carried upon each of said portions, each of said teeth consist
thereto.                                                                ing of a flat substantially rectangular body having a cutting
                                                                        edge extending substantially parallel to its body portion, the
           BACKGROUND OF THE INVENTION                             15   cutting edges of all of said teeth being located in one plane,
                                                                        each of said portions having another cutting edge extending
   1. Field of the Invention                                            between the teeth of that portion, the second mentioned cut
   The present invention is directed to an improved biscuit for         ting edges being also located in one plane.
joining adjacent boards. More specifically, the invention is an           U.S. Pat. No. 2,406,387 to Lank describes the method of
anchoring biscuit device that has the ability for pre-setting      20   constructing a plurality of wooden posts each of which has a
distances between adjacent boards and attaching to at least             connector element incorporated therein adjacent each end
one board by means in addition to the biscuit itself. The               thereof which method comprises forming a plurality of lon
anchoring biscuit device physically joins two adjacent boards           gitudinally extending grooves in one side of each of a pair of
in the same plane to a third, supporting board. The anchoring           wooden blanks from which the posts are to be formed, form
half-biscuit device joins two adjacent boards at rightangles to    25   ing a transverse groove adjacent each end of said side of each
one another. Further, the present invention anchoring biscuit           of said blanks with the transverse grooves intersecting the
includes compressive elements to accommodate swelling and               longitudinal grooves, providing a pair of connector retaining
expansion of boards after installation.                                 members with a plurality of seats for receiving connector
   U.S. Pat. No. 6,402,415, issued to the present inventor              elements, the number and spacing of said seats in each of said
herein covers such biscuit devices having opposite side walls      30   connector retaining members conforming to the number and
in the shape of arcs. These would include side walls with arcs          spacing of the longitudinal grooves in each of said blanks,
and flat ends, side walls with arcs and arc ends, e.g. circles,         placing connector elements in each of said seats, positioning
ellipses, etc. The present invention covers biscuit-shaped              said blanks with their grooved sides together and with said
devices with side walls that may have the same top view                 connector retaining members in said transverse grooves,
footprint as the Eberle U.S. Pat. No. 6,402,415 devices, and       35   bonding said blanks together, and severing the thus bonded
covers anchoring devices that may not have opposite arcs, and           assembly along longitudinal lines intermediate said longitu
may or may not have biscuit shapes. However, all of the                 dinal grooves.
present invention devices do include at least one compressive              U.S. Pat. No. 4,641,988 to Ganneris directed to a fitting for
element, namely, a portion of the device that will collapse or          releasably joining two structural components. It is illustrated
move under compression (from opposing expansion or swell           40   for releasably joining two structural components particularly
ing of wood).                                                           plate-shaped structural components which extend at a right
  2. Information Disclosure Statement                                   angle relative to one another, a fitting has a preferably cylin
   The following patents are representative of the state of the         drical locking element which can be inserted either directly in
art for wood joining devices, equipment and methods:                    a bore in the first structural component or it can be inserted
   U.S. Pat. No. 1,184,080 to D’Arcy describes a structure of      45   indirectly in a housing, and a holding piece with a holding
the class described, the combination offrame pieces disposed            projection anchored in the second structural component. In
at an angle to each other and plate-like corner irons having            the assembled position, the holding projection & abuts
angularly disposed flanges, said corner irons being arranged            against one or two gripping surfaces of the locking element
in opposed pairs on the sides of and secured to the ends of             which gripping surfaces are of, for example, eccentric shape,
meeting frame pieces with their flanges engaging the inner         50   and the holding projection is pulled toward the locking ele
edges thereof in overlapping telescoping relation to each               ment when the locking element is turned. The holding piece is
other, the inner flanges having vertical nail slots therein and         constructed plate-shaped and is insertable in a slot in the
brads on their edges driven into the frame pieces, the outer            second structural component.
flanges having nail perforations opposite the nail slots, there            U.S. Pat. No. 4,682,458 to Sparrow describes a floor com
being nails disposed through the said perforations and slots       55   posed of parallel spaced beams having flanges and blocks of
and driven into the frame.                                              polystyrene foam which are laid on the flanges to bridge the
  U.S. Pat. No. 2,332,081 to G. M. Hunt et al. is directed to           gaps between the beams. Boards are laid on the polystyrene
a wooden panel. It is described as a panel comprising wooden            blocks, and are supported by the blocks, which form load
strips joined along their edges with glue, each strip having at         bearing members of the floor. The blocks may have flanged
least one groove in its edge matching groove in the edge of the    60   portions extending over the beams, so as to provide heat
adjoining strip, an asbestos millboard spline fitted in the             insulation.
matching grooves and bridging the joint between the strips,                U.S. Pat. No. 5,004,027 to Legler et al. illustrates a biscuit
crossbands covering the strips on both sides of the panel, and          joiner. It is described as a biscuit joiner for cutting semi
veneers covering the crossbands.                                        elliptical slots in opposing edges of workpieces which are to
  U.S. Pat. No. 2,362,252 to Ellinwood describes a wall            65   be joined along those edges includes a housing adapted to be
structure of the character described comprising a pair of adja          mounted upon the quill of a multipurpose woodworking tool,
cent wallboard panels having meeting edges, each of said                which housing encloses a rotary saw blade adapted to be
                                                                                                                               IC-App-0009
                                                       US 7,874,113 B2
                                3                                                                         4
attached to a spindle projecting from the quill on which the                U.S. Pat. No. 5,529,428 to Bischofis directed to a metallic
housing is mounted. A spring loaded guide projects from the               structural element for connecting workpieces consisting of
front face of the housing and has a slot therethrough, so that            wood, woodworking material or plastic. It is described as a
when the front face of the guide is engaged by an edge of a               metallic structural element for connecting workpieces con
workpiece to be slotted the guide can be pushed inwardly             5    sisting of wood, woodworking material or plastic, consisting
against spring pressure, allowing the rotary saw blade to be              ofalamellar part, which provides the non-positive connection
exposed and form a slot in the edge of the workpiece. Adjust              with the first workpiece provided with a groove and a trans
able stops are provided on the guide so that a desired depth of           verse hole, and a bolt-like part which, through screwing or
cut will automatically be made after adjustment. An alterna               pinning, realizes the non-positive connection with the second
tive construction of this biscuit joiner is especially adapted for   10   workpiece provided with a longitudinal hole. The lamellar
use in conjunction with a conventional drill press, with the              part has, in the center, a hole which is at right angles to the
arbor which carries the saw blade being clamped in the chuck              plane of the lamella and is intended for fixing in the groove of
on the drive spindle of the drill motor.                                  the workpiece. Variants having a wing-like long or rectangu
   U.S. Pat. No. 5,182,891 to Slocum describes a flooring                 lar short lamellar part and a bolt-like part in the form of a
construction which is provided having a unitary construction         15   conical wood screw, cylindrical screw, screw having a metal
with a top layer providing a finished flooring surface and an             thread, threaded sleeve or pin. Accessories: screwing tool and
insulation layer adjacent the top layer. The flooring panel               drilling template.
includes an upper portion and a lower portion. The upper                    U.S. Pat. No. 5,660,016 to Erwin et al. describes an
portion has a larger dimension than the lower portion and                 extruded plastic decking plank for mounting to an underlying
extends outwardly beyond the lower portion. A recessed por           20   support structure, the plank having a rigid foam core, a resil
tion between the upper portion and the lower portion defines              ient outer plastic shell, and a clamping portion for securing
a channel. A plurality of interlock support elements having a             the plank to the support structure. The top surface of the plank
vertical web and an upper horizontal flange are arranged so               can be provided with a non-slip surface. The invention also
that the horizontal flange extends into the channel. The ver              includes an attachment system for securing such decking
tical web extends below the lower portion to raise the floor         25   planks to a support structure by engaging the clamping por
ing.                                                                      tions of the decking planks onto clamps or hold down blocks
  U.S. Pat. No. 5,251,996 to Hiller et al. describes a connect            which are secured onto the support structure, and which per
ing element for connecting two parts generally in a connec                mit relative motion between the planks and the structure in the
tion plane has a first portion for connecting the element rela            planks’ lengthwise direction to prevent stress and buckling
tive to a first of the parts and second portion for connecting the   30   caused by uneven expansion.
element relative to the second part. The second portion                     U.S. Pat. No. 6,402,415, to Eberle, the same inventor
includes actuation members which on relative movement of                  herein, describes an anchoring biscuit device for joining three
the parts substantially along the connection plane urge the               boards. It includes, (a) a first substantially flat horizontal top
parts forcefully towards each other.                                      element having a generally biscuit-shaped configuration, (b)
                                                                     35   at least one substantially vertical support member attached to
   U.S. Pat. No. 5,377,732 to Fujii et al. illustrates a wood             the underside of the top element and extending downwardly
joining structure and method thereof. It is described as a                therefrom for a predetermined length for joinder of two adja
technique is provided for joining wood members. A plurality               cent boards which have been pre-cut with biscuit receiving
of slits are formed on the end portions of wood pieces desired            slots, and (c) an attachment orifice located at least on the top
to be joined, and the end portions are abutted with corre            40   element for attachment of the anchoring biscuit device to a
sponding slits in alignment to form a common surface. Each                support board for anchoring and support of the two adjacent
of the abutted wood end portions is fixed by temporary fixing             boards. In one preferred embodiment, a top bevel is included
means to a desired joining state. Thereafter, an adhesive agent           at the orifice to permit angled screwing at positions other than
is applied into the interior surfaces of the slits. Connecting            vertical positions. In other embodiments, the screw orifice
plates, e.g., made of a reinforced plastic material coated with      45   will have an oval or elongated shape to likewise enable screw
the adhesive agent, are inserted into the aligned slits. The              ing at angles other than vertical. In yet another preferred
adhesive agent is then hardened.                                          embodiment, the orifice will both be beveled and elongated.
   U.S. Pat. No. 5,458,433 to Stastny explicates a biscuit and               U.S. Design Pat. No. 470,039 to Robert Pelc shows two
joint made using same. It is described as a biscuit having                anchoring biscuit devices of the U.S. Pat. No. 6,402,415
octagonal outer periphery is used to form a joint between first      50   Eberle type, one having a circular footprint and the other
and second workpieces. The biscuit fits within arcuate slots              having an elliptical footprint.
formed in the workpieces, with glue placed in the slots and/or               Notwithstanding the prior art, the present invention is nei
on the biscuit before the joint is put together. The biscuit is           ther taught nor rendered obvious thereby.
made of an anhydrous compressed wood.
   U.S. Pat. No. 5,480,117 to Fleming, III describes a bracket       55                SUMMARY OF THE INVENTION
for mounting a rotary lock member in the frame of a panel
which is provided. The bracket is a preferably U-shaped body                 The present invention is an anchoring biscuit device for
having a base and two legs extending therefrom. The inner                 joining three boards. It includes, (a) an at least partially flat
dimension of the bracket is chosen to allow insertion of a                horizontal top element having opposite side walls, and, from
rotary lock member therein. Panel engaging steps and protru          60   a top view, having a footprint adapted to be inserted into
sions are located on the outside surface of each leg for engag            grooves, (b) at least one substantially vertical support mem
ing the frame material. The legs of the bracket are biased                berattached to the underside of the top element and extending
inwardly towards one another, such that when a locking mem                downwardly therefrom for a predetermined length for joinder
ber is inserted therein, the legs are pressed outwardly, driving          of two adjacent boards which contain grooves for receiving
the protrusions into the frame material. A number of bores are       65   portions of said top into said grooves, and, (c) at least one
located in the bracket to allow supplemental locking members              compressive element located on said device with at least a
to lock the bracket to the frame.                                         portion located away from said imaginary centerline, said
                                                                                                                                  IC-App-0010
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compressive element being adapted to at least partially col             They are not parallel to their segments directly opposite, i.e.,
lapse upon compressive force. In some embodiments, there is             opposite as determined at a 90° angle to imaginary centerline
also an attachment orifice located at least on the top element          20.
for attachment of the anchoring biscuit-device to a support               Top element 3 also includes an attachment means, in this
board for anchoring and support of the two adjacent boards.             case, screw hole 13 located on center. This enables the user to
In one preferred embodiment, a top bevel is included at the             nail or screw device 1 into a joist, as more fully described in
orifice to permit angled screwing at positions other than ver           conjunction with FIG. 4 below. Alternatively, device 1 could
tical positions. In other embodiments, the screw orifice will           simply have an area where a screw could be forced through,
have an oval or elongated shape to likewise enable screwing at          without a pre-formed orifice.
angles other than vertical. In yet another preferred embodi        10
                                                                           Top element 3 includes four upwardly projecting compres
ment, the orifice will both be beveled and elongated. In other          sive elements 6, 8, 16 and 18. These are located opposite one
embodiments, there is no preformed orifice, and the device              another, as shown, are located away from imaginary center
may be attached by a screw or other fastener being driven               line 20. Also, they are located away from the vertical support
through the device, or attached by adhesive or other means, or          members 15 and 17 (from top view) and are furtheraway from
combinations thereof.                                              15
                                                                        the vertical support members at their outermost portions,
      BRIEF DESCRIPTION OF THE DRAWINGS                                 from the centerline, than the outermostportions of the vertical
                                                                        support elements. This concept applies to the other present
                                                                        invention devices described below, as well.
  The present invention should be more fully understood                   FIGS. 2 and 3 show side and end views, respectively of
when the specification herein is taken in conjunction with the     20
drawings appended hereto wherein:                                       device 1 shown in FIG. 1. Thus, device 1 includes vertical
  FIG. 1 illustrates a top view of one preferred embodiment             support members 15 and 17 with a space 18 there between to
of the present invention anchoring device,                              permit a screw or nail to pass through screw hole 13 into a
  FIG. 2 illustrates a side view, and                                   joist or support board. Vertical support members 15 and 17
  FIG. 3 illustrates an end view thereof;                          25   have a predetermined height so as to rest on a joist in such a
                                                                        way as to establish biscuit top element 3 at a predetermined
  FIG. 4A shows an end view of the present invention device             height from the joist for attachment of two adjacent boards
shown in FIGS. 1 through 3 but being attached to a joist and            thereto which have pre-cut biscuit slots. The device such as
a first deck board and about to be attached to a second deck
board where both deck boards are supported by that joist;               device 1 are not set for full nesting (i.e., do not have total
                                                                   30   footprint identity) with the biscuit cut, and need only have
   FIG. 4B shows an end view of the same present invention              sufficient overhang on each side of the centerline 20 to catch
device as above, but fully installed and after the adjacent             and anchor a board by at least partially fitting into a cut out of
beams have swollen and collapsed the compressive elements;              a deck or other board. The compressive elements 6, 8, 16 and
   FIGS. 5 and 6 show a side view and a bottom view, respec             18 act as initial spacers for the two adjacent boards.
tively, of an alternative embodiment present invention             35      FIG. 4A shows present invention device 1 from the prior
anchoring biscuit device;                                               Figures, with identical parts identically numbered. Top ele
   FIGS. 7 and 8 show top and side views of another alterna             ment rear biscuit wall 35 is partially inserted into pre-cut
tive present invention anchoring biscuit device;                        biscuit slot 27 of horizontal beam 21, as shown. Compressive
   FIGS. 9A and 9B show top views of the FIG. 7 and FIG. 8              elements 16 (and 18, not shown) place beam 21. Screw 31 is
present invention device, installed with beams, before and         40   inserted into screw hole 13 and into joist beam 25. This
after beam expansion;                                                   anchors device 1 to joist beam 25 and establishes the elevation
   FIGS. 10 and 11 illustrate top and side views of another             oftop element 3 so as to match with biscuit slot 27. Beam 23
present invention device;                                               will be placed atop joist beam 25 and adjacent to beam 21 by
   FIG. 12 and FIG. 13 show top views of two different                  being slid into position with wall segments 5, 7, 9 and 10 at
embodiment present invention anchoring biscuit devices hav         45   least partially fitting into slot 29, and the bottom of beam 23
ing compressive elements located below the substantially flat           resting onjoist 25. By this method, device 1 attaches all three
top element;                                                            boards to one another as the side wall aspects are sufficiently
  FIGS. 14 and 15 show additional alternative embodiment                tight-fitting to anchor the boards. Thus, for example, decking
present invention anchoring devices, in their side views; and,          boards may be attached without the need for nails or screws
  FIGS. 16 and 17 show more present invention alternatives         50   entering the beams from the top, creating a hidden fastening
in their side views; and,                                               system.
  FIGS. 18, 19, 20, and 21 show top, side, end and embossed                Compressive elements 8(and 6, not shown in FIG. 4) place
top views of another preferred embodiment present invention             beam 23. In other words, the compressive elements 6, 8, 16,
anchoring device.                                                       18 space the beams 21 and 23 further apart than the vertical
                                                                   55   support members 15 and 17 would in their absence. These
     DETAILED DESCRIPTION OF THE PRESENT                                beams 21 and 23 might expand due to damp weather, rain,
                 INVENTION                                              capture of moisture, high humidity, seasonal changes, shifts,
                                                                        etc. When this occurs, compressive elements will be pushed
   In FIG. 1, there is shown a top view of present invention            toward one another and collapse, e.g. in excess of 10 foot
anchor biscuit device 1. Device 1 includes a top element 3         60   pounds psi, or some other preset parameter. The collapse of
having a flat top surface as shown, and a top view shape of a           compressive elements permits the beams to close in on one
biscuit. It also includes a first wall with segments 5, 7, 9 and        another to the sides of the vertical support members. This is
10, with wall segments 5 and 7 in the shape of arcs having              clearly illustrated for the FIG. 4A embodiment, in FIG. 4B.
predetermined radii and predetermined arc lengths, and wall             Here, compressive elements have been forced to collapse
segments 7 and 9 having flat edges (straight surfaces). There      65   inwardly by expanding beams 21 and 23, as exemplified by
is a second, opposite wall having segments 33, 35 and 37,               collapsed compressive elements 8 and 16. All parts are iden
with 33 and 37 being arcs, and 35 being a straight flat surface.        tically numbered as shown in the foregoing Figures.
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                                7                                                              8
   FIG. 5 shows an alternative embodiment present invention center. Screw hole 173 has a bevel cut 175 at its top. This
device 51 which has multiple screw holes 43, 53 and 55 enables the user to nail or screw device 161 into a joist with
located in a straight line on center of top element 47. It the screw or nail being installed vertically, or, more prefer
includes front and back ends 41 and 49, and it has a plurality ably, at an angle.
of vertical support members 45, 47, 57 and 59, on top under- 5 Vertical support members 177 and 179 also include out
side 36 with spaces therebetween for screw or nail insertions. wardly extending, angled tails 181, 183, 185, and 187 and
Vertical support members 45 and 57 include compressive these are the collapsible compressive elements.
elements 34 and 32, as shown. FIG. 6 shows a bottom view          In FIG. 13, there is shown a top view of present invention
with identical numbering. Note that compressive elements 32 anchor biscuit device 190, in the shape of an octagon biscuit.
and 34 are essentially hollow cylinders in this embodiment. 10 Device 190 includes a top element 198 having a flat top
The side walls have a footprint of sawteeth on both sides. On surface as shown, and a top view shape with eight equal
the side out of the drawing, segments 52, 53, 54, 43,46, 47,    segments; a first side with wall segments 193, 197, and 195,
55, 56 and 44 form the sawteeth. Segments directly opposite and an opposite side with wall segments 207, 209, and 211. In
one another are mostly non-parallel. Device 51 is used in the this case, they are perfectly symmetrical and have flat end
same manner as device 1 described above with respect to 15 walls 199 and 201. Top element 198 also includes an attach
FIGS. 4A and B, except that the compressive elements 32 and ment means, screw hole 203 located on center. Note that
34 collapse on the underside of the device, inwardly between screw hole 203 is elongated and has a beveled top 205. Under
portions of a single vertical support member.                   side of top element 198 are two curved collapsible compres
   FIGS. 7 and 8 show top and side views of an alternative sive elements 221 and 223. These function similarly to those
embodiment present invention anchoring device 71. In FIG. 20 described above.
7, there is shown a top view of present invention anchor          FIG. 14 shows afront view of present invention device 240.
biscuit device 71. Device 71 includes a top element 73 having Thus, device 240 includes a single vertical support member
a substantially flat top surface as shown, and a top view shape 245 with a space cut out 243 to permit a screw or nail to pass
of a biscuit. Thus, it includes wall segment (an arc), on one through beveled screw hole 253 and through vertical support
side and wall segments 77 (an opposing arc), and on the 25 member 245 into a joist or support board. There are two
opposite side. Segment 62, for example, is non-parallel to collapsible fins on each side of the vertical support member
segment 66. There are flat ends 79 and 81, as shown.            245, two shown as fins 249 and 251. These are about 3/64 inch
   Top element 71 of device 71 in FIG. 7 also includes an away from member 245 and act as collapsible compressive
attachment means, in this case, screw hole 83 located on           elements in a manner similar to those shown above. Vertical
center. It also includes fount chevron-shaped compressive 30 support member 245 has a predetermined height so as to rest
elements 91, 93, 95, and 97. These compress if adjacent on the side of a beam into which device 240 may be inserted
boards expand and enable extra spacing to be achieved during and, optionally, so as to rest on a joist in such a way as to
installation to accommodate any future wood expansion that establish biscuit top element 247 at a predetermined height
may occur.                                                         from the joist for attachment of two adjacent boards thereto
   In FIG. 8, there is shown a side view of the present inven- 35 which have pre-cut biscuit slots corresponding thereto. Side
tion anchor biscuit device 71. Device 71 includes a top ele walls may be irregular or regular, and may have any top view,
ment 73, showing the height and depth of compressive ele workable footprint similar to that shown in the segments that
ments 91, 93, 95, and 97.                                          will fit into beam grooves or continuous straight grooves, e.g.
   FIG.9Ashows a top view of device 71 with installed beams biscuit cuts, half circle or arc cuts, square or rectangular cuts.
101 and 103, and these are not swollen. In FIG.9B, the same 40 FIG. 15 shows afront view present invention of device 261,
beam 101 and 103 have swollen, and the compressive ele which includes a single off-center vertical support member
ments 91, 93, 95, and 97 have collapsed, as shown.                 265 with a space underneath beveled screw hole 263 to permit
   FIG. 10 shows a top view and FIG. 11 shows a side view of a screw or nail to pass through screw hole 263 into a beam
present invention device 120. It includes a substantially flat and/or joist or support board. Top 267 has opposite ends 269
top element 121, that has a top view footprint of a circle, and 45 and 271 as shown, with support member 265 biased to the left
two vertical support members 125 and 127, that project down toward end 269, as shown. On the right underside of top 267
wardly on each side of beveled attachment orifice 129. The are two fins 281 and 283, that have lengths (into the page, at
sides of device 20’s top 121 are vertical and basically are right angle to vertical support member 265), that is greater
made up of a plurality of connected (continuous) arcs to form than the thickness of member 265. They are collapsible and
a circle. On the top side of device 120 are eight compressive 50 act as compressive elements with respect to adjourning
elements 131, 133, 135, 137, 139, 141, 143, 145, and 147.          boards. Top 263 has a topography with flat sides, such as side
These are thin cylindrical protrusions that will collapse under 273, and is in the shape of a rectangle, e.g. a square.
compression, e.g. from expanding boards. As shown in FIG.             FIG. 16 shows device 300 with top 301 having a generally
10, they are further apart than the thickness of the vertical barbell-shaped footprint. There is a first side having wall
support members to create space between beams for expan- 55 segments 303 and 305 that are arcs and are connected by flat
S1011.                                                             segment 307. The opposite wall includes arcs 309 and 311
   FIGS. 12 and 13 show top views of alternative embodiment and are separated by flat segment 313. Wall segments 303 and
present invention anchoring devices 161 and 190 respec 309 are opposite one another and are non-parallel. There is a
tively. In FIG. 12, there is shown a top view of present inven beveled orifice 315 which is attaching device 300 in a manner
tion anchor biscuit device 163 having a flat top surface as 60 described above as well as vertical segments 317 and 319
shown, and a top view shape of an elongated octagon biscuit. extending downwardly from top 301 on opposite sides of
Thus, it includes wall segments 164, 165, and 166 on one side orifice 315. There are two collapsible compressive element
wall and wall segments 162, 167, and 163 on the opposite ovals 321 and 322 extending upwardly. These space beams
side. Segments 162, for example, is non-parallel to segment further apart than would members 317 and 319, in their
166. There are flat ends 169 and 177, as shown.                 65 absence, and thus accommodate wood expansion.
   Top element 163 of device 161 in FIG. 12 also includes an          FIG. 17 shows a triangular shaped present invention
attachment means, in this case, screw hole 173 located on          anchoring device 400. It has a top 401, an orifice 409 for
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                                                                                                       10
attachment and a vertical support 411. One wall has flat                   2. A decking system as recited by claim 1, wherein said top
segments 403 and 405 and the opposite wall has a single flat             view footprint shape is selected from the group consisting of
segment 407. There is a collapsible compressive element 415              square, rectangular, circular, and oval.
on top to function in a manner similar to those previously                 3. A decking system as recited by claim 1, wherein said
described.                                                               anchoring biscuit device further comprises (iv) a pre-formed
   FIGS. 18, 19 and 20 illustrate preferred embodiment                   attachment orifice through which said fastener is driven.
present invention anchoring device 500, in its top, side and               4. A decking system as recited by claim 3, wherein said
end views respectively. Device 500 includes top 501 with                 attachment orifice has a beveled top.
beveled screw orifice 503 on center. Opposing sides 505 and                5. A decking system as recited by claim 3, wherein said
507 are arcuate and ends 509 and 511 are flat. Extending            10   attachment orifice is elongated.
downwardly are vertical support members 513 and 515,                        6. A decking system as recited by claim 3, wherein said
located on-center and on opposite sides of orifice 503. The              pre-formed attachment orifice is located substantially in the
vertical support member 513 and 515 each have one thin                   center of said top element.
walled tubular compressive element, shown as compressive                   7. A decking system as recited by claim 6, wherein said
elements 517 and 519, respectively. Further, FIG. 21 shows          15   anchoring biscuit device comprises two vertical support
top view of the same device as in FIGS. 18, 19, and 20, except           members attached to the underside of said top element along
that the top is embossed or stamped. Here, device 500a                   said center line, said two vertical support members being in
includes top 501a with embossments such as word 531, that                the same plane and located on opposite sides of said pre
can be production information, size, model number, installa              formed attachment orifice.
tion instructions or other useful information. These are pref       20      8. A decking system as recited by claim 1, wherein said
erably indented and may be established in a forming mold for             anchoring biscuit device comprises a plurality of said com
the device.                                                              pressive elements.
  All of these devices may be installed in accordance with the              9. A decking system as recited by claim 1, wherein said at
descriptions for previous present invention devices described            least one compressive element is located on the top side of
above. However, device 260 shown in FIG. 14 should have the         25
                                                                         said top element.
arrowed wall inserted first so that the biased beveled orifice              10. A decking system as recited by claim 1, wherein said at
296 is utilized maximally and receiving an attachment screw.             least one compressive element is located on the underside of
   Obviously, numerous modifications and variations of the               said top element.
present invention are possible in light of the above teachings.             11. A decking system as recited by claim 10, wherein said
It is therefore understood that within the scope of the             30
                                                                         at least one compressive element is separate from said sub
appended claims, the invention may be practiced otherwise                stantially vertical support members.
than as specifically described herein.                                      12. A decking system as recited by claim 10, wherein said
  What is claimed is:
   1. A decking system, comprising: two deckingboards, each              anchoring biscuit device comprises a plurality of said com
having a top, a bottom, two sides each having a pre-cut biscuit     35
                                                                         pressive elements, each being integrally attached to one of
                                                                         said substantially vertical support members.
slot, and two ends; a support board; and an anchoring biscuit               13. A decking system as recited by claim 1, wherein said
device for joinder of said decking boards and said support               anchoring biscuit device comprises a plurality of said com
board with a fastener, and wherein:                                      pressive elements, at least one of which is integrally attached
  (a) said anchoring biscuit device comprises:                           to each of said substantially vertical support members.
     (i) an at least partially flat horizontal top element having   40
                                                                            14. A decking system as recited by claim 1, wherein said
        a center line, opposite side walls, and opposite ends,           anchoring biscuit device comprises exactly two said substan
        and a top view footprint shape having a side portion             tially vertical support members.
        on each side of said center line, said side portions                15. A decking system as recited by claim 14, wherein one
        being adapted to be received in said biscuit slots;              said compressive element is attached to each of said substan
     (ii) a plurality of substantially vertical support members     45
                                                                         tially vertical support members.
        attached to the underside of said top element along                 16. A decking system as recited by claim 1, wherein said at
        said center line of said top element and extending               least one compressive element is a hollow cylinder.
        downwardly therefrom for a predetermined length to
        maintain said top element in a predetermined position               17. A decking system as recited by claim 9, wherein said
        during use for joinder of said two adjacent boards and      50   compressive elements are hollow cylinders.
        said support board; and                                             18. A decking system as recited by claim 10, wherein said
     (iii) at least one compressive element located on said              compressive elements are hollow cylinders.
        device, with at least a portion of said compressive                 19. A decking system as recited by claim 12, wherein said
        element, from a top view footprint, being located                compressive elements are hollow cylinders.
        away from said centerline and away from said vertical       55      20. A decking system as recited by claim 15, wherein said
        support members, and said at least one compressive               compressive elements are hollow cylinders.
        element being adapted to at least partially collapse                21. A decking system as recited by claim 1, wherein said
        under a predetermined compressive force; and                     fastener is a nail or screw.
  (b) said two decking boards are situated adjacent to each                 22. A decking system comprising: two decking boards,
     other and atop said support board;                             60   each having a top, a bottom, two sides each having a pre-cut
  (c) said side portions of said anchoring biscuit device are            biscuit slot, and two ends; a support board; and an anchoring
     inserted in said biscuit slots of said adjacent decking             biscuit device for joinder of said decking boards and said
     boards; and                                                         support board with a fastener, and wherein:
  (d) said anchoring biscuit device is attached by said fas                 (a) said anchoring biscuit device comprises:
    tener driven through it to engage said support board,           65         (i) an at least partially flat horizontal top element having
    thereby securing and anchoring said adjacent boards and                       a center line, opposite side walls, and opposite ends,
     said support board to one another.                                           and a top view footprint shape having a side portion
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        on each side of said center line, said side portions                   line and away from said vertical support member, and
        being adapted to be received in said biscuit slots;                    said compressive element being a hollow cylinder
     (ii) at least one substantially vertical support member                   adapted to at least partially collapse under predeter
        attached to the underside of said top element along                    mined compressive force.
        said center line of said top element and extending                  31. The anchoring biscuit device of claim 30, which further
        downwardly therefrom for a predetermined length to               comprises (d) a pre-formed attachment orifice, adapted to
        maintain said top element in a predetermined position            receive a fastener driven through said orifice for attaching
        during use for joinder of said two adjacent boards and           said device to said support board.
        said support board; and                                             32. The anchoring biscuit device of claim 30, comprising a
     (iii) at least one compressive element located on said         10   plurality of said compressive elements, with at least a portion
        device, with at least a portion of said compressive              of each of said compressive elements, from a top view foot
        element, from a top view footprint, being located                print, being located away from said centerline and away from
        away from said centerline and away from said vertical            said vertical support member.
        support member, and said at least one compressive                   33. An anchoring biscuit device for joining two decking
        element comprises fins are attached to, and projecting      15   boards, each having a top, a bottom, two sides each having a
        from, said at least one vertical support member and is           pre-cut biscuit slot, and two ends, and a support board for
        adapted to at least partially collapse under a predeter          supporting said decking boards, the device comprising:
        mined compressive force;                                            (a) an at least partially flat horizontal top element having a
  (b) said two decking boards are situated adjacent to each                    centerline, opposite side walls, and opposite ends, and a
     other and atop said support board;                             20         top view footprint shape having a side portion on each
  (c) said side portions of said anchoring biscuit device are                  side of said center line, said side portions being adapted
     inserted in said biscuit slots of said adjacent decking                  to be received in said biscuit slots;
     boards; and                                                           (b) at least one substantially vertical support member
  (d) said anchoring biscuit device is attached by said fas                   attached to the underside of said top element along said
    tener driven through it to engage said support board,           25
                                                                              center line of said top element and extending down
    thereby securing and anchoring said adjacent boards and                   wardly therefrom for a predetermined length to maintain
     said support board to one another.                                       said top element in a predetermined position during use
  23. A decking system as recited by claim 22, wherein said                   for joinder of said two adjacent boards and said support
fins are in the form of chevrons.                                             board; and,
  24. A decking system as recited by claim 22, wherein said         30
                                                                            (c) at least one compressive element located on said device,
fins are curved in form.                                                       with at least a portion of said compressive element, from
   25. A decking system as recited by claim 22, wherein said                   atop view footprint, being located away from said center
fins project from the underside of said top element.                           line and away from said vertical support member, and
   26. A decking system as recited by claim 22, comprising                     said at least one compressive element comprises fins
fins at each end of said device that extend outwardly and are       35
                                                                               attached to, and projecting from, said at least one vertical
angled away from said center line.                                             support member and is adapted to at least partially col
   27. A decking system as recited by claim 26, wherein said                   lapse under predetermined compressive force.
anchoring biscuit device comprises exactly two said vertical                34. The anchoring biscuit device of claim 33, comprising
support members and two said compressive elements, each                  fins at each end of said device that extend outwardly and are
said compressive element comprising fins extending out              40
                                                                         angled away from said center line.
wardly and angled away from said center line at one said end                35. The anchoring biscuit device of claim 34, comprising
of said device.
   28. A decking system as recited by claim 22, wherein said             exactly two said vertical support members and two said com
anchoring biscuit device further comprises (iv) a pre-formed             pressive elements, each said compressive element compris
                                                                         ing fins extending outwardly and angled away from said
attachment orifice through which said fastener is driven.           45
                                                                         center line at one said end of said device.
   29. A decking system as recited by claim 22, wherein said                36. The anchoring biscuit device as recited by claim 33,
anchoring biscuit device comprises a plurality of said sub               which further comprises (d) a pre-formed attachment orifice,
stantially vertical support members.                                     adapted to receive a fastener driven through said orifice for
   30. An anchoring biscuit device for joining two decking               attaching said device to said support board.
boards, each having a top, a bottom, two sides each having a        50
                                                                            37. The anchoring biscuit device of claim 33, comprising a
pre-cut biscuit slot, and two ends, and a support board for              plurality of said compressive elements, with at least a portion
supporting said decking boards, the device comprising:
   (a) an at least partially flat horizontal top element having a        of each of said compressive elements, from a top view foot
      centerline, opposite side walls, and opposite ends, and a          print, being located away from said centerline and away from
      top view footprint shape having a side portion on each        55   said vertical support member.
      side of said center line, said side portions being adapted            38. A method for constructing a decking system compris
     to be received in said biscuit slots;                               ing two decking boards, and a support board, the method
  (b) at least one substantially vertical support member                 comprising the steps of:
     attached to the underside of said top element along said               (a) providing said two decking boards, each having a top, a
     center line of said top element and extending down             60         bottom, two sides each having a pre-cut biscuit slot, and
    wardly therefrom for a predetermined length to maintain                   two ends;
     said top element in a predetermined position during use               (b) providing an anchoring biscuit device comprising:
     for joinder of said two adjacent boards and said support                 (i) an at least partially flat horizontal top element having
     board; and,                                                                 a center line, opposite side walls, and opposite ends,
  (c) at least one compressive element located on said device,      65           and a top view footprint shape having a side portion
     with at least a portion of said compressive element, from                   on each side of said center line, said side portions
     atop view footprint, being located away from said center                    being adapted to be received in said biscuit slots;
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                             13                                                            14
  (ii) a plurality of substantially vertical support members   (d) locating said anchoring biscuit device between said
     attached to the underside of said top element along          adjacent decking boards, one of said side portions being
     said center line of said top element and extending           inserted in said biscuit slot of each of said adjacent
     downwardly therefrom for a predetermined length to           decking boards; and
     maintain said top element in a predetermined position 5 (e)into
                                                                   driving a fastener through said anchoring biscuit device
                                                                       said support board, whereby said adjacent boards
     during use for joinder of said two adjacent boards and       and said support board are secured and anchored to one
     said support board; and                                      another.
  (iii) at least one compressive element located on said       39. A decking system as recited by claim 28, wherein said
     device, with at least a portion of said compressive 10 at least one vertical support member includes a cutout and
     element, from a top view footprint, being located said fastener passes through said cutout into said support
     away from said centerline and away from said vertical board.
    support member, wherein said compressive element            40. The anchoring biscuit device as recited by claim 36,
      is adapted to at least partially collapse under prede- wherein said attachment orifice has a beveled top.
      termined compressive force;                           15 41. The anchoring biscuit device as recited by claim 36,
(c) situating said two decking boards adjacent and atop said wherein said attachment orifice is elongated.
  support board;                                                                    #:   :#:   :::   :::   :#:




                                                                                                                  IC-App-0015
Exhibit B
                                                                                         US008 161702B2


(12) United States Patent                                                (10) Patent No.:     US 8,161,702 B2
     Eberle, III                                                         (45) Date of Patent:     Apr. 24, 2012
(54) EXPANSION-COMPENSATING DECK                                           1,184,080 A      5/1916 D'arcy
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(75) Inventor: Harry W. Eberle, III, Califon, NJ (US)                      1,990,001 A      2/1935 Rien
(73) Assignee: Blue Heron Enterprises LLC, North                                              (Continued)
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(*) Notice:        Subject to any disclaimer, the term of this      CA             2287104 A1 1/2001
                   patent is extended or adjusted under 35                                    (Continued)
                   U.S.C. 154(b) by 0 days.
(21) Appl. No.: 12/952,876                                                            OTHER PUBLICATIONS
         31, 21.                                                    Office Action in commonly owned U.S. Appl. No. 09/186,741 (now
(22) Filed:        Nov. 23, 2010                                    US patent 6402415) to Eberle, III dated Aug. 19, 1999.”
(65)               Prior Publication Data                                                     (Continued)
        US 2011/0126486A1     Jun. 2, 2011
             Related U.S. Application Data                          Primary Examiner – Mark Wendell
              --          - .-                                      (74) Attorney, Agent, or Firm — Lerner, David, Littenberg,
(63) Continuation of application No. 12/583,702, filed Oil          Krumholz & Mentlik, LLP
     Aug. 24, 2009, now Pat. No. 7,874,113, which is a
     continuation of application No. 10/446,514, filed on
     May 28, 2003, now Pat. No. 7,578,105, which is a               (57)                     ABSTRACT
     continuation-in-part of application No. 10/393,100,
     filed on Mar. 20, 2003, now Pat. No. 6,851,884.                The present invention is an anchoring biscuit device for join
                                                                    ing three boards. It includes, (a) an at least partially flat
(51) Int. Cl.                                                       horizontal top element having an imaginary center line, hav
     E{}4F 15/22                    (2006.01)                       ing opposite side walls, and having a top view footprint
     E04B 2/90                      (2006.01)                       adapted to be inserted into grooves of adjacent boards; (b) at
     FI6B 9/00                      (2006.01)                       least one substantially vertical support member attached to
(52) U.S. Cl. ..................... 52/403.1; 52/586.1; 52/586.2:   the underside of the top element and extending downwardly
                                                         403/231    therefrom for a predetermined length for joinder of two adja
(58) Field of Classification Search ................. 52/586.1,     cent boards which contain the grooves for receiving portions
                52/586.2, 483.1, 480, 650.3, 403.1: 403/231,        of the top into the grooves; and (c) at least one compressive
                                             403/232.1, 408.1       element located on the device, with at least one portion of the
        See application file for complete search history.           at least one compressive element, from a top view footprint,
                                                                    being located away from the imaginary center line and away
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                                                                    element is adapted to at least partially collapse under a pre
                 |U.S. PATENT DOCUMENTS                             determined compressive force.
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                          FIG. 5




                                                        IC-App-0020
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                   FIG. f{}
                              $33




                                                              IC-App-0023
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                         FIG. f*




                                                        IC-App-0024
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                              25.




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                         FIG. 30




                                                         IC-App-0028
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           EXPANSION-COMPENSATING DECK                                    U.S. Pat. No. 2,362,252 to Ellinwood describes a wall
                    FASTENER                                            structure of the character described comprising a pair of adja
                                                                        cent wallboard panels having meeting edges, each of said
            CROSS-REFERENCE TO RELATED                                  panels being formed with a groove opening into its meeting
                   APPLICATIONS                                         edge, the groove in each panel providing an outer lip and an
                                                                        inner lip, said outer lips being in abutting relation, a joining
   The present disclosure is a continuation of co-pending U.S.          strip permanently secured to the under surface of said outer
patent application Ser. No. 12/583,702, filed on Aug. 24,               lips, said inner lips being spaced, a T-shaped connecting
2009, which, in turn, is a continuation of U.S. patent appli            member movably positioned in said groove and having a base
cation Ser. No. 10/446,514, filed on May 28, 2003, now U.S.
                                                                   10   in spaced relation to said inner lips, and means for anchoring
Pat. No. 7,578,105, which, in turn, is a continuation-in-part of        said connecting member to a structural element.
U.S. patent application Ser. No. 10/393,100, filed on Mar. 20,             U.S. Pat. No. 2,398,603 to Soderberg describes a joining
                                                                        staple, comprising a metal body having at least two portions
2003, now U.S. Pat. No. 6,851,884. Each of these applica                extending at right angles to each other and at least two teeth
tions is hereby incorporated herein in its entirety by reference   15   carried upon each of said portions, each of said teeth consist
thereto.                                                                ing of a flat substantially rectangular body having a cutting
                                                                        edge extending substantially parallel to its body portion, the
           BACKGROUND OF THE INVENTION
                                                                        cutting edges of all of said teeth being located in one plane,
                                                                        each of said portions having another cutting edge extending
   1. Field of the Invention                                       20   between the teeth of that portion, the second mentioned cut
   The present invention is directed to an improved biscuit for         ting edges being also located in one plane.
joining adjacent boards. More specifically, the invention is an           U.S. Pat. No. 2,406,387 to Lank describes the method of
anchoring biscuit device that has the ability for pre-setting           constructing a plurality of wooden posts each of which has a
distances between adjacent boards and attaching to at least             connector element incorporated therein adjacent each end
one board by means in addition to the biscuit itself. The          25   thereof which method comprises forming a plurality of lon
anchoring biscuit device physically joins two adjacent boards           gitudinally extending grooves in one side of each of a pair of
in the same plane to a third, supporting board. The anchoring           wooden blanks from which the posts are to be formed, form
half-biscuit device joins two adjacent boards at rightangles to         ing a transverse groove adjacent each end of said side of each
one another. Further, the present invention anchoring biscuit           of said blanks with the transverse grooves intersecting the
includes compressive elements to accommodate swelling and          30   longitudinal grooves, providing a pair of connector retaining
expansion of boards after installation.                                 members with a plurality of seats for receiving connector
   U.S. Pat. No. 6,402,415, issued to the present inventor              elements, the number and spacing of said seats in each of said
herein covers such biscuit devices having opposite side walls           connector retaining members conforming to the number and
in the shape of arcs. These would include side walls with arcs          spacing of the longitudinal grooves in each of said blanks,
and flat ends, side walls with arcs and arc ends, e.g. circles,    35   placing connector elements in each of said seats, positioning
ellipses, etc. The present invention covers biscuit-shaped              said blanks with their grooved sides together and with said
devices with side walls that may have the same top view                 connector retaining members in said transverse grooves,
footprint as the Eberle U.S. Pat. No. 6,402,415 devices, and            bonding said blanks together, and severing the thus bonded
covers anchoring devices that may not have opposite arcs, and           assembly along longitudinal lines intermediate said longitu
may or may not have biscuit shapes. However, all of the            40   dinal grooves.
present invention devices do include at least one compressive              U.S. Pat. No. 4,641,988 to Ganneris directed to a fitting for
element, namely, a portion of the device that will collapse or          releasably joining two structural components. It is illustrated
move under compression (from opposing expansion or swell                for releasably joining two structural components particularly
ing of wood).                                                           plate-shaped structural components which extend at a right
  2. Information Disclosure Statement                              45   angle relative to one another, a fitting has a preferably cylin
   The following patents are representative of the state of the         drical locking element which can be inserted either directly in
art for wood joining devices, equipment and methods:                    a bore in the first structural component or it can be inserted
   U.S. Pat. No. 1,184,080 to D’Arcy describes a structure of           indirectly in a housing, and a holding piece with a holding
the class described, the combination offrame pieces disposed            projection anchored in the second structural component. In
at an angle to each other and plate-like corner irons having       50   the assembled position, the holding projection & abuts
angularly disposed flanges, said corner irons being arranged            against one or two gripping surfaces of the locking element
in opposed pairs on the sides of and secured to the ends of             which gripping surfaces are of, for example, eccentric shape,
meeting frame pieces with their flanges engaging the inner              and the holding projection is pulled toward the locking ele
edges thereof in overlapping telescoping relation to each               ment when the locking element is turned. The holding piece is
other, the inner flanges having vertical nail slots therein and    55   constructed plate-shaped and is insertable in a slot in the
brads on their edges driven into the frame pieces, the outer            second structural component.
flanges having nail perforations opposite the nail slots, there            U.S. Pat. No. 4,682,458 to Sparrow describes a floor com
being nails disposed through the said perforations and slots            posed of parallel spaced beams having flanges and blocks of
and driven into the frame.                                              polystyrene foam which are laid on the flanges to bridge the
  U.S. Pat. No. 2,332,081 to G. M. Hunt et al. is directed to      60   gaps between the beams. Boards are laid on the polystyrene
a wooden panel. It is described as a panel comprising wooden            blocks, and are supported by the blocks, which form load
strips joined along their edges with glue, each strip having at         bearing members of the floor. The blocks may have flanged
least one groove in its edge matching groove in the edge of the         portions extending over the beams, so as to provide heat
adjoining strip, an asbestos millboard spline fitted in the             insulation.
matching grooves and bridging the joint between the strips,        65      U.S. Pat. No. 5,004,027 to Legler et al. illustrates a biscuit
crossbands covering the strips on both sides of the panel, and          joiner. It is described as a biscuit joiner for cutting semi
veneers covering the crossbands.                                        elliptical slots in opposing edges of workpieces which are to
                                                                                                                               IC-App-0029
                                                       US 8,161,702 B2
                                3                                                                         4
be joined along those edges includes a housing adapted to be              located in the bracket to allow supplemental locking members
mounted upon the quill of a multipurpose woodworking tool,                to lock the bracket to the frame.
which housing encloses a rotary saw blade adapted to be                     U.S. Pat. No. 5,529,428 to Bischofis directed to a metallic
attached to a spindle projecting from the quill on which the              structural element for connecting workpieces consisting of
housing is mounted. A spring loaded guide projects from the          5    wood, woodworking material or plastic. It is described as a
front face of the housing and has a slot therethrough, so that            metallic structural element for connecting workpieces con
when the front face of the guide is engaged by an edge of a               sisting of wood, woodworking material or plastic, consisting
workpiece to be slotted the guide can be pushed inwardly                  ofalamellar part, which provides the non-positive connection
against spring pressure, allowing the rotary saw blade to be              with the first workpiece provided with a groove and a trans
exposed and form a slot in the edge of the workpiece. Adjust         10   verse hole, and a bolt-like part which, through screwing or
able stops are provided on the guide so that a desired depth of           pinning, realizes the non-positive connection with the second
cut will automatically be made after adjustment. An alterna               workpiece provided with a longitudinal hole. The lamellar
tive construction of this biscuit joiner is especially adapted for        part has, in the center, a hole which is at right angles to the
use in conjunction with a conventional drill press, with the              plane of the lamella and is intended for fixing in the groove of
arbor which carries the saw blade being clamped in the chuck         15   the workpiece. Variants having a wing-like long or rectangu
on the drive spindle of the drill motor.                                  lar short lamellar part and a bolt-like part in the form of a
   U.S. Pat. No. 5,182,891 to Slocum describes a flooring                 conical wood screw, cylindrical screw, screw having a metal
construction which is provided having a unitary construction              thread, threaded sleeve or pin. Accessories: screwing tool and
with a top layer providing a finished flooring surface and an             drilling template.
insulation layer adjacent the top layer. The flooring panel          20     U.S. Pat. No. 5,660,016 to Erwin et al. describes an
includes an upper portion and a lower portion. The upper                  extruded plastic decking plank for mounting to an underlying
portion has a larger dimension than the lower portion and                 support structure, the plank having a rigid foam core, a resil
extends outwardly beyond the lower portion. A recessed por                ient outer plastic shell, and a clamping portion for securing
tion between the upper portion and the lower portion defines              the plank to the support structure. The top surface of the plank
a channel. A plurality of interlock support elements having a        25   can be provided with a non-slip surface. The invention also
vertical web and an upper horizontal flange are arranged so               includes an attachment system for securing such decking
that the horizontal flange extends into the channel. The ver              planks to a support structure by engaging the clamping por
tical web extends below the lower portion to raise the floor              tions of the decking planks onto clamps or hold down blocks
1ng.                                                                      which are secured onto the support structure, and which per
  U.S. Pat. No. 5,251,996 to Hiller et al. describes a connect       30   mit relative motion between the planks and the structure in the
ing element for connecting two parts generally in a connec                planks’ lengthwise direction to prevent stress and buckling
tion plane has a first portion for connecting the element rela            caused by uneven expansion.
tive to a first of the parts and second portion for connecting the          U.S. Pat. No. 6,402,415, to Eberle, the same inventor
element relative to the second part. The second portion                   herein, describes an anchoring biscuit device for joining three
includes actuation members which on relative movement of             35   boards. It includes, (a) a first substantially flat horizontal top
the parts substantially along the connection plane urge the               element having a generally biscuit-shaped configuration, (b)
parts forcefully towards each other.                                      at least one substantially vertical support member attached to
   U.S. Pat. No. 5,377,732 to Fujii et al. illustrates a wood             the underside of the top element and extending downwardly
joining structure and method thereof. It is described as a                therefrom for a predetermined length for joinder of two adja
technique is provided for joining wood members. A plurality 40            cent boards which have been pre-cut with biscuit receiving
of slits are formed on the end portions of wood pieces desired            slots, and (c) an attachment orifice located at least on the top
to be joined, and the end portions are abutted with corre                 element for attachment of the anchoring biscuit device to a
sponding slits in alignment to form a common surface. Each                support board for anchoring and support of the two adjacent
of the abutted wood end portions is fixed by temporary fixing             boards. In one preferred embodiment, a top bevel is included
means to a desired joining state. Thereafter, an adhesive agent 45        at the orifice to permit angled screwing at positions other than
is applied into the interior surfaces of the slits. Connecting            vertical positions. In other embodiments, the screw orifice
plates, e.g., made of a reinforced plastic material coated with           will have an oval or elongated shape to likewise enable screw
the adhesive agent, are inserted into the aligned slits. The              ing at angles other than vertical. In yet another preferred
adhesive agent is then hardened.                                          embodiment, the orifice will both be beveled and elongated.
   U.S. Pat. No. 5,458,433 to Stastny explicates a biscuit and 50            U.S. Design Pat. No. 470,039 to Robert Pelc shows two
joint made using same. It is described as a biscuit having                anchoring biscuit devices of the U.S. Pat. No. 6,402,415
octagonal outer periphery is used to form a joint between first           Eberle type, one having a circular footprint and the other
and second workpieces. The biscuit fits within arcuate slots              having an elliptical footprint.
formed in the workpieces, with glue placed in the slots and/or               Notwithstanding the prior art, the present invention is nei
on the biscuit before the joint is put together. The biscuit is 55        ther taught nor rendered obvious thereby.
made of an anhydrous compressed wood.
   U.S. Pat. No. 5,480,117 to Fleming, III describes a bracket                 SUMMARY OF THE INVENTION
for mounting a rotary lock member in the frame of a panel
which is provided. The bracket is a preferably U-shaped body         The present invention is an anchoring biscuit device for
having a base and two legs extending therefrom. The inner 60 joining three boards. It includes, (a) an at least partially flat
dimension of the bracket is chosen to allow insertion of a         horizontal top element having opposite side walls, and, from
rotary lock member therein. Panel engaging steps and protru a top view, having a footprint adapted to be inserted into
sions are located on the outside surface of each leg for engag grooves, (b) at least one substantially vertical support mem
ing the frame material. The legs of the bracket are biased berattached to the underside of the top element and extending
inwardly towards one another, such that when a locking mem 65 downwardly therefrom for a predetermined length for joinder
ber is inserted therein, the legs are pressed outwardly, driving of two adjacent boards which contain grooves for receiving
the protrusions into the frame material. A number of bores are portions of said top into said grooves, and, (c) at least one
                                                                                                                                  IC-App-0030
                                                      US 8,161,702 B2
                               5                                                                       6
compressive element located on said device with at least a              with 33 and 37 being arcs, and 35 being a straight flat surface.
portion located away from said imaginary centerline, said               They are not parallel to their segments directly opposite, i.e.,
compressive element being adapted to at least partially col             opposite as determined at a 90° angle to imaginary centerline
lapse upon compressive force. In some embodiments, there is             20.
also an attachment orifice located at least on the top element            Top element 3 also includes an attachment means, in this
for attachment of the anchoring biscuit-device to a support             case, screw hole 13 located on center. This enables the user to
board for anchoring and support of the two adjacent boards.             nail or screw device 1 into a joist, as more fully described in
In one preferred embodiment, a top bevel is included at the             conjunction with FIG. 4 below. Alternatively, device 1 could
orifice to permit angled screwing at positions other than ver           simply have an area where a screw could be forced through,
tical positions. In other embodiments, the screw orifice will      10   without a pre-formed orifice.
have an oval or elongated shape to likewise enable screwing at             Top element 3 includes four upwardly projecting compres
angles other than vertical. In yet another preferred embodi             sive elements 6, 8, 16 and 18. These are located opposite one
ment, the orifice will both be beveled and elongated. In other          another, as shown, are located away from imaginary center
embodiments, there is no preformed orifice, and the device              line 20. Also, they are located away from the vertical support
may be attached by a screw or other fastener being driven          15   members 15 and 17 (from top view) and are furtheraway from
through the device, or attached by adhesive or other means, or          the vertical support members at their outermost portions,
combinations thereof.                                                   from the centerline, than the outermostportions of the vertical
                                                                        support elements. This concept applies to the other present
      BRIEF DESCRIPTION OF THE DRAWINGS                                 invention devices described below, as well.
                                                                   20     FIGS. 2 and 3 show side and end views, respectively of
  The present invention should be more fully understood                 device 1 shown in FIG. 1. Thus, device 1 includes vertical
when the specification herein is taken in conjunction with the          support members 15 and 17 with a space 18 there between to
drawings appended hereto wherein:                                       permit a screw or nail to pass through screw hole 13 into a
  FIG. 1 illustrates a top view of one preferred embodiment             joist or support board. Vertical support members 15 and 17
of the present invention anchoring device,                         25   have a predetermined height so as to rest on a joist in such a
  FIG. 2 illustrates a side view, and                                   way as to establish biscuit top element 3 at a predetermined
  FIG. 3 illustrates an end view thereof;                               height from the joist for attachment of two adjacent boards
  FIG. 4A shows an end view of the present invention device             thereto which have pre-cut biscuit slots. The device such as
shown in FIGS. 1 through 3 but being attached to a joist and            device 1 are not set for full nesting (i.e., do not have total
a first deck board and about to be attached to a second deck       30   footprint identity) with the biscuit cut, and need only have
board where both deck boards are supported by that joist;               sufficient overhang on each side of the centerline 20 to catch
   FIG. 4B shows an end view of the same present invention              and anchor a board by at least partially fitting into a cut out of
device as above, but fully installed and after the adjacent             a deck or other board. The compressive elements 6, 8, 16 and
beams have swollen and collapsed the compressive elements;              18 act as initial spacers for the two adjacent boards.
   FIGS. 5 and 6 show a side view and a bottom view, respec        35      FIG. 4A shows present invention device 1 from the prior
tively, of an alternative embodiment present invention                  Figures, with identical parts identically numbered. Top ele
anchoring biscuit device;                                               ment rear biscuit wall 35 is partially inserted into pre-cut
   FIGS. 7 and 8 show top and side views of another alterna             biscuit slot 27 of horizontal beam 21, as shown. Compressive
tive present invention anchoring biscuit device;                        elements 16 (and 18, not shown) place beam 21. Screw 31 is
   FIGS. 9A and 9B show top views of the FIG. 7 and FIG. 8         40   inserted into screw hole 13 and into joist beam 25. This
present invention device, installed with beams, before and              anchors device 1 to joist beam 25 and establishes the elevation
after beam expansion;                                                   oftop element 3 so as to match with biscuit slot 27. Beam 23
   FIGS. 10 and 11 illustrate top and side views of another             will be placed atop joist beam 25 and adjacent to beam 21 by
present invention device;                                               being slid into position with wall segments 5, 7, 9 and 10 at
   FIG. 12 and FIG. 13 show top views of two different             45   least partially fitting into slot 29, and the bottom of beam 23
embodiment present invention anchoring biscuit devices hav              resting onjoist 25. By this method, device 1 attaches all three
ing compressive elements located below the substantially flat           boards to one another as the side wall aspects are sufficiently
top element;                                                            tight-fitting to anchor the boards. Thus, for example, decking
  FIGS. 14 and 15 show additional alternative embodiment                boards may be attached without the need for nails or screws
present invention anchoring devices, in their side views; and,     50   entering the beams from the top, creating a hidden fastening
  FIGS. 16 and 17 show more present invention alternatives              system.
in their side views; and,                                                  Compressive elements 8(and 6, not shown in FIG. 4) place
  FIGS. 18, 19, 20, and 21 show top, side, end and embossed             beam 23. In other words, the compressive elements 6, 8, 16,
top views of another preferred embodiment present invention             18 space the beams 21 and 23 further apart than the vertical
anchoring device.                                                  55   support members 15 and 17 would in their absence. These
                                                                        beams 21 and 23 might expand due to damp weather, rain,
     DETAILED DESCRIPTION OF THE PRESENT                                capture of moisture, high humidity, seasonal changes, shifts,
                 INVENTION                                              etc. When this occurs, compressive elements will be pushed
                                                                        toward one another and collapse, e.g. in excess of 10 foot
   In FIG. 1, there is shown a top view of present invention       60   pounds psi, or some other preset parameter. The collapse of
anchor biscuit device 1. Device 1 includes a top element 3              compressive elements permits the beams to close in on one
having a flat top surface as shown, and a top view shape of a           another to the sides of the vertical support members. This is
biscuit. It also includes a first wall with segments 5, 7, 9 and        clearly illustrated for the FIG. 4A embodiment, in FIG. 4B.
10, with wall segments 5 and 7 in the shape of arcs having              Here, compressive elements have been forced to collapse
predetermined radii and predetermined arc lengths, and wall        65   inwardly by expanding beams 21 and 23, as exemplified by
segments 7 and 9 having flat edges (straight surfaces). There           collapsed compressive elements 8 and 16. All parts are iden
is a second, opposite wall having segments 33, 35 and 37,               tically numbered as shown in the foregoing Figures.
                                                                                                                                IC-App-0031
                                                    US 8,161,702 B2
                                7                                                              8
   FIG. 5 shows an alternative embodiment present invention center. Screw hole 173 has a bevel cut 175 at its top. This
device 51 which has multiple screw holes 43, 53 and 55 enables the user to nail or screw device 161 into a joist with
located in a straight line on center of top element 47. It the screw or nail being installed vertically, or, more prefer
includes front and back ends 41 and 49, and it has a plurality ably, at an angle.
of vertical support members 45, 47, 57 and 59, on top under- 5 Vertical support members 177 and 179 also include out
side 36 with spaces therebetween for screw or nail insertions. wardly extending, angled tails 181, 183, 185, and 187 and
Vertical support members 45 and 57 include compressive these are the collapsible compressive elements.
elements 34 and 32, as shown. FIG. 6 shows a bottom view          In FIG. 13, there is shown a top view of present invention
with identical numbering. Note that compressive elements 32 anchor biscuit device 190, in the shape of an octagon biscuit.
and 34 are essentially hollow cylinders in this embodiment. 10 Device 190 includes a top element 198 having a flat top
The side walls have a footprint of sawteeth on both sides. On surface as shown, and a top view shape with eight equal
the side out of the drawing, segments 52, 53, 54, 43,46, 47,    segments; a first side with wall segments 193, 197, and 195,
55, 56 and 44 form the sawteeth. Segments directly opposite and an opposite side with wall segments 207, 209, and 211. In
one another are mostly non-parallel. Device 51 is used in the this case, they are perfectly symmetrical and have flat end
same manner as device 1 described above with respect to 15 walls 199 and 201. Top element 198 also includes an attach
FIGS. 4A and B, except that the compressive elements 32 and ment means, screw hole 203 located on center. Note that
34 collapse on the underside of the device, inwardly between screw hole 203 is elongated and has a beveled top 205. Under
portions of a single vertical support member.                   side of top element 198 are two curved collapsible compres
   FIGS. 7 and 8 show top and side views of an alternative sive elements 221 and 223. These function similarly to those
embodiment present invention anchoring device 71. In FIG. 20 described above.
7, there is shown a top view of present invention anchor          FIG. 14 shows afront view of present invention device 240.
biscuit device 71. Device 71 includes a top element 73 having Thus, device 240 includes a single vertical support member
a substantially flat top surface as shown, and a top view shape 245 with a space cut out 243 to permit a screw or nail to pass
of a biscuit. Thus, it includes wall segment (an arc), on one through beveled screw hole 253 and through vertical support
side and wall segments 77 (an opposing arc), and on the 25 member 245 into a joist or support board. There are two
opposite side. Segment 62, for example, is non-parallel to collapsible fins on each side of the vertical support member
segment 66. There are flat ends 79 and 81, as shown.            245, two shown as fins 249 and 251. These are about 3/64 inch
   Top element 71 of device 71 in FIG. 7 also includes an away from member 245 and act as collapsible compressive
attachment means, in this case, screw hole 83 located on           elements in a manner similar to those shown above. Vertical
center. It also includes fount chevron-shaped compressive 30 support member 245 has a predetermined height so as to rest
elements 91, 93, 95, and 97. These compress if adjacent on the side of a beam into which device 240 may be inserted
boards expand and enable extra spacing to be achieved during and, optionally, so as to rest on a joist in such a way as to
installation to accommodate any future wood expansion that establish biscuit top element 247 at a predetermined height
may occur.                                                         from the joist for attachment of two adjacent boards thereto
   In FIG. 8, there is shown a side view of the present inven- 35 which have pre-cut biscuit slots corresponding thereto. Side
tion anchor biscuit device 71. Device 71 includes a top ele walls may be irregular or regular, and may have any top view,
ment 73, showing the height and depth of compressive ele workable footprint similar to that shown in the segments that
ments 91, 93, 95, and 97.                                          will fit into beam grooves or continuous straight grooves, e.g.
   FIG.9Ashows a top view of device 71 with installed beams biscuit cuts, half circle or arc cuts, square or rectangular cuts.
101 and 103, and these are not swollen. In FIG.9B, the same 40 FIG. 15 shows afront view present invention of device 261,
beam 101 and 103 have swollen, and the compressive ele which includes a single off-center vertical support member
ments 91, 93, 95, and 97 have collapsed, as shown.                 265 with a space underneath beveled screw hole 263 to permit
   FIG. 10 shows a top view and FIG. 11 shows a side view of a screw or nail to pass through screw hole 263 into a beam
present invention device 120. It includes a substantially flat and/or joist or support board. Top 267 has opposite ends 269
top element 121, that has a top view footprint of a circle, and 45 and 271 as shown, with support member 265 biased to the left
two vertical support members 125 and 127, that project down toward end 269, as shown. On the right underside of top 267
wardly on each side of beveled attachment orifice 129. The are two fins 281 and 283, that have lengths (into the page, at
sides of device 20’s top 121 are vertical and basically are right angle to vertical support member 265), that is greater
made up of a plurality of connected (continuous) arcs to form than the thickness of member 265. They are collapsible and
a circle. On the top side of device 120 are eight compressive 50 act as compressive elements with respect to adjourning
elements 131, 133, 135, 137, 139, 141, 143, 145, and 147.          boards. Top 263 has a topography with flat sides, such as side
These are thin cylindrical protrusions that will collapse under 273, and is in the shape of a rectangle, e.g. a square.
compression, e.g. from expanding boards. As shown in FIG.             FIG. 16 shows device 300 with top 301 having a generally
10, they are further apart than the thickness of the vertical barbell-shaped footprint. There is a first side having wall
support members to create space between beams for expan- 55 segments 303 and 305 that are arcs and are connected by flat
S1011.                                                             segment 307. The opposite wall includes arcs 309 and 311
   FIGS. 12 and 13 show top views of alternative embodiment and are separated by flat segment 313. Wall segments 303 and
present invention anchoring devices 161 and 190 respec 309 are opposite one another and are non-parallel. There is a
tively. In FIG. 12, there is shown a top view of present inven beveled orifice 315 which is attaching device 300 in a manner
tion anchor biscuit device 163 having a flat top surface as 60 described above as well as vertical segments 317 and 319
shown, and a top view shape of an elongated octagon biscuit. extending downwardly from top 301 on opposite sides of
Thus, it includes wall segments 164, 165, and 166 on one side orifice 315. There are two collapsible compressive element
wall and wall segments 162, 167, and 163 on the opposite ovals 321 and 322 extending upwardly. These space beams
side. Segments 162, for example, is non-parallel to segment further apart than would members 317 and 319, in their
166. There are flat ends 169 and 177, as shown.                 65 absence, and thus accommodate wood expansion.
   Top element 163 of device 161 in FIG. 12 also includes an          FIG. 17 shows a triangular shaped present invention
attachment means, in this case, screw hole 173 located on          anchoring device 400. It has a top 401, an orifice 409 for
                                                                                                                        IC-App-0032
                                                      US 8,161,702 B2
                                                                                                       10
attachment and a vertical support 411. One wall has flat                  7. The anchoring device according to claim 1, wherein the
segments 403 and 405 and the opposite wall has a single flat            one or more compression members include one or more fins
segment 407. There is a collapsible compressive element 415             projecting from the top element.
on top to function in a manner similar to those previously                8. The anchoring device according to claim 1, wherein the
described.                                                              support memberincludes at least two planar structures spaced
   FIGS. 18, 19 and 20 illustrate preferred embodiment                  from each other, the at least two planar structures being posi
present invention anchoring device 500, in its top, side and            tioned substantially along a single plane.
end views respectively. Device 500 includes top 501 with                  9. The anchoring device according to claim 1, wherein the
beveled screw orifice 503 on center. Opposing sides 505 and             support member is a monolithic structure.
507 are arcuate and ends 509 and 511 are flat. Extending           10
                                                                           10. The anchoring device according to claim 1, wherein the
downwardly are vertical support members 513 and 515,                    opening has an elongated shape.
located on-center and on opposite sides of orifice 503. The                11. An decking system comprising:
vertical support member 513 and 515 each have one thin                    at least two slotted boards adjacent to each other, each
walled tubular compressive element, shown as compressive
elements 517 and 519, respectively. Further, FIG. 21 shows         15         slotted board including a slot and at least one vertically
top view of the same device as in FIGS. 18, 19, and 20, except                extensive surface and at least one horizontally-extensive
that the top is embossed or stamped. Here, device 500a                       surface; and
includes top 501a with embossments such as word 531, that                 an anchoring device having an opening adapted to receive
can be production information, size, model number, installa                 a fastener so that the fastener extends downwardly
tion instructions or other useful information. These are pref      20       toward a joist, the anchoring device comprising:
erably indented and may be established in a forming mold for                a horizontally-extending top element having a center
the device.                                                                    line and side portions extending from the centerline in
  All of these devices may be installed in accordance with the                 opposite lateral directions transverse to the center
descriptions for previous present invention devices described                   line;
above. However, device 260 shown in FIG. 14 should have the        25        a support member extending downwardly from the top
arrowed wall inserted first so that the biased beveled orifice                  element adjacent the center line, the side portions of
296 is utilized maximally and receiving an attachment screw.                    the top element projecting in the lateral directions
   Obviously, numerous modifications and variations of the                      beyond the support member; and
present invention are possible in light of the above teachings.              one or more at least partially collapsible compression
It is therefore understood that within the scope of the            30           members projecting from the top element, the com
appended claims, the invention may be practiced otherwise                       pression members defining engagement surfaces
than as specifically described herein.                                          remote from the center line, the engagement surfaces
                                                                                being constructed and arranged to confront the at least
  The invention claimed is:                                                     one vertically extensive surface of each slotted board
  1. An anchoring device comprising:                               35           engaged with the top element so that the top element
  a horizontally-extending top element having a center line                     extends into the slots in the boards.
     and side portions extending from the centerline in oppo               12. The decking system according to claim 11, wherein the
     site lateral directions transverse to the center line;             horizontally-extending top element has a shape selected from
  a support member extending downwardly from the top                    the group consisting of square, rectangular, circular, and oval.
    element adjacent the center line, the side portions of the     40      13. The decking system according to claim 11, wherein the
    top element projecting in the lateral directions beyond             opening extends through the horizontally top element.
    the support member; and                                                14. The decking system according to claim 11, wherein the
  one or more at least partially collapsible compression                opening is located adjacent the centerline of the horizontally
    members projecting from the top element, the compres                extending top element.
    sion members defining engagement surfaces remote               45      15. The decking system according to claim 11, wherein the
    from the center line, the engagement surfaces being                 one or more compression members are attached to the support
    constructed and arranged to confront vertically-exten               members.
    sive surfaces of slotted boards engaged with the top                   16. The decking system according to claim 11, wherein the
    element so that the top element extends into slots in the           one or more compression members includes one or more
     boards;                                                       50   hollow cylinders.
  the anchoring device having an opening adapted to receive                17. The decking system according to claim 11, wherein the
      a fastener so that the fastener extends downwardly                one or more compression members include one or more fins
      toward a joist.                                                   projecting from the top element.
   2. The anchoring device according to claim 1, wherein the               18. The decking system according to claim 11, wherein the
horizontally-extending top element has a shape selected from       55   support memberincludes at least two planar structures spaced
the group consisting of square, rectangular, circular, and oval.        from each other, the at least two planar structures being posi
   3. The anchoring device according to claim 1, wherein the            tioned substantially along a single plane.
opening extends through the horizontally top element.                      19. The decking system according to claim 11, wherein the
   4. The anchoring device according to claim 1, wherein the            support member is a monolithic structure.
opening is located adjacent the centerline of the horizontally     60     20. The decking system according to claim 11, wherein the
extending top element.                                                  opening has an elongated shape.
   5. The anchoring device according to claim 1, wherein the              21. An anchoring device comprising:
one or more compression members are attached to the support               a horizontally-extending top element having a center line,
members.                                                                      side portions extending from the center line in opposite
  6. The anchoring device according to claim 1, wherein the        65         lateral directions transverse to the center line, opposite
one or more compression members includes one or more                          sidewalls and opposite end walls, the center line extend
hollow cylinders.                                                             ing between the opposite end walls, at least a portion of
                                                                                                                              IC-App-0033
                                                 US 8,161,702 B2
                           11                                                                 12
  one of the end walls being non-parallel relative to a            22. The anchoring device according to claim 21, wherein at
  corresponding portion of the other end wall directly least one of the opposite end walls has an arc-shape.
  opposite thereto;                                                23. The anchoring device according to claim 21, further
a support member extending downwardly from the top comprising one or more compression members projecting
  element adjacent the center line, the side portions of the 5
  top element projecting in the lateral directions beyond from         the horizontally-extending top element.
  the support member, the support member being con the oneThe      24.
                                                                          or
                                                                             anchoring device according to claim 23, wherein
                                                                             more compression members have an oval cross
   structed and arranged to be positioned between verti
  cally-extensive surfaces of slotted boards engaged with section.
  the top element so that the top element extends into slots 10 the25.  The anchoring device according to claim 21, wherein
                                                                    opening has a beveled top.
  in the boards; and
the anchoring device having an opening adapted to receive
  a fastener so that the fastener extends downwardly
  toward a joist.                                                                     #:   :#:   :::   :::   :#:




                                                                                                                    IC-App-0034
Exhibit C
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Exhibit F
Wood Fasteners, Joinery, & Adhesives                                                        Introduction to Engineering Design
                                                                                      Unit 3 – Lesson 3.3 – Structural Analysis




                                                                           Wood Fasteners,
                                                                              Joinery,
                                                                                and
                                                                             Adhesives




         Joinery                                                    Butt Joint
         • The process of connecting or joining two pieces of       • An easy but often weak
           wood together through the use of various forms of          technique for joining two
           wood joints.                                               boards together simply by
                                                                      gluing and pressing two flat
         • In basic materials processing, common forms of             surfaces together.
           joinery include dovetail joints, mortise-and-tenon
           joints, biscuit joints, lap joints, and spline joints.
                                                                    • Typically made by gluing an
                                                                      end to an adjoining flat
                                                                      surface.




                                                                                                     IC-App-0498
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         Biscuit Joint                        Dado Joint
         • A butt joint that is reinforced    • A joint where one piece is
           with football- or lozenge-           grooved to receive the piece
           shaped wooden "biscuits."            which forms the other part of
         • Biscuits are usually made from       the joint.
           compressed wood, frequently
           birch wood.                        • Dado (definition)
         • When the biscuit comes into           – A groove which is cut across the
                                                   grain to receive the butt end or
           contact with glue in the biscuit        edge of a second piece.
           slot, it swells thus creating a
           tighter joint.
         • Sometimes called a plate joint.




         Dovetail Joint                       Lap Joint
         • Joining two boards in which        • A joint where one piece of
           alternating slots (or tails) and     wood is crossed over another.
           protrusions (or pins), each
           resembling in shape the v-
           shaped outline of a bird's tail,
           are snugly fitted together,
           thus increasing the gluing
           area.
         • Produces a joint that, even
           without glue, can be difficult
           to pull apart.
         • Regarded as one of the
           strongest and most reliable
           forms of wood joinery.




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         Miter Joint                              Mortise-and-Tenon Joint
         • The woodworking joint                  • A joinery technique where the cut
           created when two boards are              end (tenon) from one board fits
                                                    into the matching opening
           cut at an angle to one another.          (mortise) of another.
                                                  •   Mortise (definition)
         • The most common miter joint                 – An opening chiseled, drilled or routed into
                                                          a board to receive the end of an
           is the 45-degree miter such as                 intersecting board.
           the cuts used to build square               – The opening or socket that receives the
                                                          tenon in the classic woodworker's mortise-
           or rectangular picture frames.                 and-tenon joint.
                                                       – The female part of a mortise-and-tenon
                                                          joint.

                                                  •   Tenon (definition)
                                                       – The end of a board, cut to a specific size
                                                          and shape, that is inserted into the mortise,
                                                          or opening, in a second board.
                                                       – The male part of a mortise-and-tenon joint.




         Rabbet Joint                             Scarf Joint
         • A joinery technique where an           • A joinery technique where two
           “L” groove across the end of             wedge-shaped pieces have
           the edge of one piece of wood            been cut to correspond to one
           fits into a edge or end of               another.
           another board with an “L”
           groove.

         • Rabbet (definition)
            – A rectangular, stepped recess cut
              along the edge of a section of
              wood. (May be used as a verb or
              noun.)




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         Finger Joint                                                         Joinery Reinforcements
         • A joinery technique used                                           • Key (or Biscuit)
           mostly in industry where                                              – A small, flat lozenge-shaped dowel for
           small “fingers” are cut into                                            edge or corner-jointing. Wood biscuits
                                                                                   are fitted into slots that are created
           corresponding pieces that will                                          with a biscuit jointer.
           be joined together.
                                                                              • Dowel pin
         • Finger joints are used to                                             – Pegs of wood that fit into two matching
           making wide boards, in                                                  holes to strengthen a joint.
           extending the length of
           dimensional lumber, and in                                         • Spline
           laminated construction.                                               – A thin piece of wood that fits in the
                                                                                   mating grooves cut into two pieces of
                                                                                    wood.




         Wood Fasteners                                                       Nails
         • What fastener is best to use?                                      • The nail has been around for
                                                                                thousands of years.
         • There are a few questions you need ask to determine which
           type of fastener you need to use.
            – What materials need to be joined? Wood, metal and masonry       • The first versions were heat-
              all require different fasteners.                                  forged. When machinery entered
            – What is the thickness of the material to be joined? For a
              secure connection, the fastener must be the correct length.       the picture, they were cut from
            – What weight or strength requirements are there? From framing      sheets of metal.
              a house to hanging a picture, there's a fastener for the job.
            – How permanent will the connection be? If the work will be
              disassembled at some point, use a screw.                        • Today, most nails are drawn and
            – Will the work be indoors or outdoors? There are specific          cut from rolls of wire.
              fasteners for both types of applications.




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         Nail Size                                         Nail Styles
         • Nails are sold by weight or length.
                                                           • Nail points vary, but the four-sided
         • Wood nails are measured, or sized,                diamond point is the standard point
           according to length.                              found on most nails.
            – This is expressed by the letter "d"
              (called penny). The symbol is
              English, signifying a pound in               • Nail heads also vary.
              weight, related to the weight in                – Smaller heads can be driven in and
              pounds of 1000 nails.
                                                                painted over.
            – Sizes run from 2d (2-penny/1" long)
              to 60d.                                         – Large framing nails have corrugated
                                                                heads to reduce the danger of a
         • Nails generally are 1" to 6" in                      hammer slipping and causing injury
           length, usually getting thicker as                   or damage.
           they get longer.
                                                           • Regular wood nails are often
         • Nails larger than 6" are sometimes
           called spikes.                                    referred to as wire nails.




         Common Nail                                       Box Nail
            – Thick, heavy-duty, general-purpose nail.        – Short, thin shaped nail with a blunt tip.

            – Large, flat head for performing rough work      – Used to fasten smaller stock when
              such as construction framing.                     common nails are too large.




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         Finishing Nail                                   Brad
           – Small nail with cupped head for fastening     – Smaller version of the finishing nail up to
             trim when nail heads should not show.           about 1" long.

           – Can be countersunk with a nailset, then       – Used for detail work such as attaching
             filled over.                                    molding or trim.




         Casing Nail                                      Tack
           – Similar to finishing nail, but thicker and    – Very short nail with relatively large head
             heavier.                                        and very sharp point.

           – Used to attach case molding or rough trim     – Used to fasten upholstery or carpet or to
             where strength and concealment are              perform other light fastening jobs.
             required.




                                                                                         IC-App-0503
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         Upholstery Tacks                              Screws
            – Short nails with ornamental or colored   • For fastening, screws are stronger
              heads.                                     than nails.

                                                       • They can be removed with less
            – Used for attaching upholstery where        damage to the material (especially
              fasteners will show.                       wood) than nails.

                                                       • When using with wood, best practice
                                                         is to pre-drill a “pilot” hole to guide
                                                         the screw into position.




         Screw Slot Types                              Screw Head & Thread Types
         • Slotted                                     • Head Types
            – Conventional single-groove screwhead.       – Oval
            – Applied with a flathead screwdriver.           • Lower portion is countersunk and top is rounded.
                                                             • Easier to remove & better looking than flathead
         • Phillips                                            screws.
            – Cross-slotted screwheads with U or V-       – Round
              Shaped slots of uniform width.                 • Used where the fastened piece is too thin to permit
                                                               countersinking.
            – Driven with a Phillips screwdriver.            • Also used on parts that may require a washer.
         • Torx™                                          – Flat
            – Require special drivers with six point         • Used in applications where the head needs to be
                                                               flush with the surface.
              heads.                                         • Slotted and Phillips type are available.
            – Commonly used in electronics, metal or
              automotive applications.                 • Thread Styles
                                                          – Fine-thread
                                                             • Work best for hardwoods.
                                                          – Coarse-thread
                                                             • Intended for soft woods.




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         Wood Glues & Adhesives                                       Animal Glues
         • By definition, glue is made from animal                     – Used mostly for furniture making and woodworking.
           byproducts such as skins and bones.
         • An adhesive is any product that joins                       – They are easy to work with, but less resistant to heat or
           materials together.                                           cold.
         • Today, the words "glue" and "adhesive"                         • Hide glue
           have become interchangeable.                                            » Made from bones, hoofs and skin from animals and
                • Natural Glues are made from animal                                 fish.
                  byproducts (hide glue and casein) or plant
                  sources (paste, cellulose and rubber).                           » Dry form is mixed and heated (in a glue pot) into a
                • Synthetic Adhesives include polyvinyl acetate                      gelatinous mixture that is applied with brush.
                  (PVA), aliphatic resin, contact cement, hot melt,         • Casein
                  and polyurethane.                                                » Made from milk, powdered and reformulated with
         • Whether natural or synthetic, the bond is                                 water.
           formed as the liquid dries and hardens.                                 » Creates a waterproof bond.
         • Adhesives are often used in conjunction
           with fasteners to strengthen wood joints.




         White Glue                                                   Yellow or Carpenter’s Glue
         (polyvinyl acetate)                                          (aliphatic resin)
            – For wood, engineered wood, paper,                        –   For woodworking.
              crafts and simple projects.                              –   "Refined" version of PVA.
            – Most commonly available in plastic                       –   Packaged in squeeze bottles.
              squeeze bottles.                                         –   Varieties typically come in yellow
            – Begins to set within one hour, dries                         or brown.
              clear.                                                   –   Begins to set within 15 minutes.
            – Has easy clean up, doesn't stain,                        –   Water-resistant nontoxic,
              nontoxic, nonflammable.                                      nonflammable.
                                                                       –   More resistant to temperature and
            – Is not waterproof.                                           water than white glue.
            – Requires work to be clamped for                          –   Work needs to be clamped for
              best results.                                                best results.
                                                                       –   Used for indoor and outdoor
                                                                           applications.




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         Contact Cement                            Hot Melt
           – For bonding wood veneer and            – For crafts, general projects and
             plastic laminates to countertops.        repair.
           – Water-resistant.
           – Applied to both surfaces needing       – Requires an electric glue gun.
             to be bonded.
           – After a designated curing time, the    – Adhesive is a 2-4" glue stick that is
             two work pieces are put together.        inserted into the gun. Heat converts
           – Forms an instant bond, leaving no        solid to liquid for application.
             margin for error.
           – Water-based versions are               – Begins to set in about a minute as it
             nonflammable.                            cools and solidifies.

                                                    – Fills gaps for good adhesion.




         Polyurethane
           – For woodworking.

           – Synthetic plastic-based material.

           – Requires moistening of one or
             both sides of the materials to be
             joined.

           – Creates a strong bond.

           – Can be difficult to clean up.




                                                                                         IC-App-0506
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Exhibit G
9/18/2017                                                   Marking Guide Puts Biscuits in Right Place



Home ▸ Joinery ▸ Biscuit Joinery




Marking Guide Puts Biscuits in Right
Place




Eliminate the guesswork when it comes to figuring out where the biscuit slot should
go. Follow these simple steps and you'll avoid making careless mistakes.




                                                                                                         IC-App-0507
http://www.woodmagazine.com/woodworking-tips/techniques/joinery/biscuits-marking-guide                                 1/2
 I
9/18/2017                                                   Marking Guide Puts Biscuits in Right Place

   used to guess where a biscuit slot should go, but now I make sure. With my biscuit joiner, I cut slots
   for #0, #10, and #20 biscuits into a piece of scrapwood. Then, I mark the centerline on some
matching biscuits and glue them into the slots. Now I have a handy guide that shows me where to cut
when there's no room for guesswork.
- David Whitting, Townsend, Mass.


            By WOOD Magazine Staff




                                                                                                         IC-App-0508
http://www.woodmagazine.com/woodworking-tips/techniques/joinery/biscuits-marking-guide                                 2/2
Exhibit H
9/18/2017                                                  EB-TY® Hidden Deck Fasteners™ - eDeck.com



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            EB-TY® Hidden Deck Fasteners™                               Home / Accessories / EB-TY® Hidden Deck Fasteners™




            Simpson Strong-Tie’s EB-TY® Hidden Deck Fasteners™are one of the most reliable, long-
            lasting hidden fasteners on the market. Made in the USA, the dark, ultra-violet resistant
            polypropylene hidden deck fasteners will not rust or shrink. Even at temperatures over 200
            degrees Fahrenheit, EB-TY® will neither crack nor soften. Given its approximated life span
            of 100 years, the fastener saves the homeowner money on deck repair.

            The EB-TY® Hidden Deck-Fastening System™consists of black biscuits that are inserted
            into slots or kerfs cut by a biscuit joiner, or router bit, at each joist. One stainless steel #7 2-
            1/4″ screw holds each biscuit tight. After applying beads of exterior construction glue to
            each joist, the next deck board slips over the exposed EB-TY® fasteners.

            You work from the top surface when using EB-TY® fasteners, so you can build decks as
            close to the ground as you want, or even oat them over at roofs. Installation takes only
            one EB-TY® hidden deck fastener and one screw wherever a deck board intersects with a
            joist.

            Which EB-TY size is right for your deck?
                                                                                                              IC-App-0509
http://edeck.com/accessories/ebty-hidden-deck-fasteners/                                                                     1/2
9/18/2017                                                    EB-TY® Hidden Deck Fasteners™ - eDeck.com

            Air-dried (AD) decking such as Ipe Massaranduba: Original EBE004 hidden deck fastener
            with 3/32″ spacing is recommended for 4/4″ and 5/4″ deck boards.

            Kiln-dried (KD) decking such as Garapa, or spaces where you have limited air ow:
            EBE005LC hidden deck fastener with a 1/4″ spacing is recommended for 4/4″ and 5/4″ deck
            boards.




              Installing an IPE deck with EBTY Hidden Composite Deck Fasteners




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http://edeck.com/accessories/ebty-hidden-deck-fasteners/                                                                                 2/2
Exhibit I
9/18/2017                                                                How to Use a Biscuit Joiner | how-tos | DIY




   How To  Skills and Know-How  Carpentry and Woodworking




      MAKE IT

   How to Use a Biscuit Joiner
     A biscuit joiner can be used to make edge-to-edge joints as
     well as perpendicular joints. Here's how it works.

     TOOLS                                                    MATERIALS
     pencil                                                   biscuits
     ruler or straightedge                                    pieces of wood to be joined
     biscuit joiner
                                                              Show All
     Show All


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                                                                                                                                                       Dream Kitchen
      WOODWORKING (HTTP://WWW.DIYNETWORK.COM/HOW-TO/TOPICS/WOODWORKING)
                                                                                                                   Online Kitchen Design Plans That Fit Your Style &
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                                                                                                                   Step 2:Draw a Triangle Across the Boards

                                                                                                                   Step 3:Mark Each Joint Lightly with a Pencil

                                                                                                                   Step 4:Insert the Biscuits into the Slots

                                                                                                                   Step 5:Make Pencil Marks 6 Inches Apart for
                                                                                                                   Perpendicular or T-Joints

                                                                                                                   Step 6:Cut Matching Slots into both Pieces of
                                                                                                                   Wood, Join and Clamp




                                                                                                                 What's New

                                                                                                                                                          IC-App-0511
http://www.diynetwork.com/how-to/skills-and-know-how/carpentry-and-woodworking/how-to-use-a-biscuit-joiner                                                                  1/6
9/18/2017                                                            How to Use a Biscuit Joiner | how-tos | DIY
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                                                                                                                Ideas From Our Blog
     Line up the Wood Pieces                                                                                    Get quick inspiration from Made + Remade each week.
                                                                                                                Privacy Policy
     Line up the pieces of wood to be joined, with their grains facing the same way. Make sure the tree         (http://www.scrippsnetworksinteractive.com/privacy-
                                                                                                                policy/)
     rings on the edges of the wood are in the shape of an arch, with the open end of the curves facing
     downward. This positioning will prevent the wood from curving when humidity is high.
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       STEP 2                                                                                                   Most Popular in Landscaping

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                                                                                                                    landscape-design-pictures)
                                                                                                                   Tired of Mowing? Try These Plants and Groundcovers
                                                                                                                    (http://www.diynetwork.com/how-
                                                                                                                    to/outdoors/landscaping/tired-of-mowing-try-these-
                                                                                                                    plants-and-groundcovers-instead-pictures)
                                                                                                                   10 Things You Must Know About Landscaping
                                                                                                                    (http://www.diynetwork.com/how-
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                                                                                                                    pictures)
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                                                                                                                    to/outdoors/landscaping/a-magical-landscape-
                                                                                                                    makeover-pictures)
     Draw a Triangle Across the Boards                                                                             America's Most Desperate Landscape 2015: Before and
                                                                                                                    After Pictures
     Using a pencil, draw a triangle across the width of the boards to be joined. This triangle will act as a
                                                                                                                    (http://www.diynetwork.com/shows/americas-most-
     guide for placing the boards back together in their correct positions.
                                                                                                                    desperate-landscape/americas-most-desperate-
                                                                                                                    landscape-2015-before-and-after-pictures-pictures)
                                                                                                                   How to Design a Great Yard with Landscape Plants
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http://www.diynetwork.com/how-to/skills-and-know-how/carpentry-and-woodworking/how-to-use-a-biscuit-joiner                                                                  2/6
9/18/2017                                                          How to Use a Biscuit Joiner | how-tos | DIY
                                                                                                               to/outdoors/landscaping/how-to-design-a-great-yard-
                                                                                                               with-landscape-plants)
       STEP 3                                                                                                 How to Landscape a Shady Yard
                                                                                                               (http://www.diynetwork.com/how-
                                                                                                               to/outdoors/landscaping/how-to-landscape-a-shady-
                                                                                                               yard)
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                                                                                                               to/outdoors/gardening/making-a-checkerboard-patio-
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                                                                                                               to/outdoors/gardening/add-interest-to-your-lawn-with-
                                                                                                               ornamental-grasses-pictures)




     Mark Each Joint Lightly with a Pencil
     Make pencil marks along each joint where you want to put a biscuit (Image 1). The biscuits should
     be about 6" apart. Spread the boards apart. Using a biscuit joiner, cut a slot at each mark, making
     sure to center the cuts according to the marks (Image 2). Apply a little bit of wood glue along the
     length of the edge to be joined as well as inside the slots.




       STEP 4




                                                                                                                                             IC-App-0513
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     Insert the Biscuits into the Slots
     Insert the biscuits into the slots of one piece of wood. Then slide the biscuits into their
     corresponding slots on the second piece of wood. Clamp the pieces of wood together and allow
     them to dry.




       STEP 5




     Make Pencil Marks 6 Inches Apart for Perpendicular or T-Joints
     For perpendicular joints, such as in the construction of bookshelves where the edge of one board is
     fastened to the face of another, hold the boards to be joined together and make pencil marks on
     both boards to indicate where the biscuit cuts should be made. Space the cuts about 6" apart. Place
     the two boards parallel on top of each other, with the top of the horizontal board aligned with the
     line you just drew. Clamp the two boards together in this position.

                                                                                                                IC-App-0514
http://www.diynetwork.com/how-to/skills-and-know-how/carpentry-and-woodworking/how-to-use-a-biscuit-joiner                    4/6
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       STEP 6

     Cut Matching Slots into both Pieces of Wood, Join and Clamp
     Use the biscuit joiner to cut slots in the end of the top piece of wood. Turn the joiner to a vertical
     position, and cut matching slots in the bottom piece of wood. Assemble with biscuits and a small
     amount of wood glue. Clamp the joint together and allow the glue to dry.




     NEXT UP
                                              How to Use a Biscuit Joiner
                                              (http://www.diynetwork.com/how-
                                              to/skills-and-know-how/tools/how-to-
                                              use-a-biscuit-joiner)
                                              Biscuits are a quick and simple way to join wood. They can
                                              be used in many situations where a strong, inconspicuous
     to-use-a-biscuit-joiner)
     to/skills-and-know-how/tools/how-
     (http://www.diynetwork.com/how-          joint is required.




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9/18/2017                                                         How to Use a Biscuit Joiner | how-tos | DIY
     How to Make a Cross-cut Platform                                  How to Draw Angles and Circles
     for your Circular Saw 8 Steps                                     6 Steps
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IC-App-0517
Exhibit J
9/18/2017                                                                            Use Your Router as a Biscuit Joiner




  Router Tips




  Use Your Router as a Biscuit Joiner
  Recently I picked up a biscuit cutter set from Dimar Canada (photo 1) and couldn’t wait to give
  it a try.

  Many projects need some form of joint. Biscuits not only hold projects together but also make
  aligning your stock very easy. The kit as pictured is set up for standard #0, #10 and #20
  biscuits. It comes with: a ¼” or ½” shank; a 5/32” slot cutter; three sizes of bearings for the
  different size biscuits; and a sample of each biscuit.

  To assemble the kit for routing, first you must choose the proper size bearing for the biscuit
  that you require. The large bearing is for the #0 biscuits, medium for #10 and small for #20.

  Photo 2 shows how to assemble the cutter and bearing to the shaft. I used using the #10
  biscuit bearing for my cuts.




  Safety Note: the nature of this cutter allows the user to possibly assemble the slot so that it
  will spin backwards on your router. BE VERY CAREFUL during assembly. The carbide should be
  facing you and should turn in a counter clockwise direction in your router.

  Now that you have chucked up the cutter you must align it to the centre of your stock. Set up
  you router fence and isolate your bearing flush with the edge of your fence. Using a test piece,
  mark the centre of your board. Now align the centre of the carbide to the centre line that you
  have drawn (photo 3).




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9/18/2017                                                                                Use Your Router as a Biscuit Joiner

  Test this set up by cutting a small groove into your stock (photo 4). Now flip the board over
  and check to see if the cutter goes into the slot from the other side (photo 5). If it doesn’t
  slide right into the slot, you are half the distance off. Either raise or lower your cutter half of
  the distance that you are off and run another test.




  You are now ready to start cutting your biscuit slots. If you simply press your stock into the
  cutter you will find that the depth is right but the length is too short (photo 6). To compensate
  for this you must start your cut and then move your stock across the cutter to get the right
  length. The safest way to do this is to have stops on your fence (photo 7). Press your stock
  against the rear stop, pivot into the cutter and slide the board forward to the front stop. Now
  pivot off the cutter.




  Unless you have a very long fence you probably won’t be able to start and stop this way, so
  you will have to make some marks on your stock and on your fence. The length of cut for this
  cutter it 1 ⅜” on either side of centre for a #10 biscuit (photo 9).




  First make marks on your stock where you want to cut your biscuits (photo 10). Now make
  marks on your fence that are the same distance from centre as the length of your cut (photo
  11).




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9/18/2017                                                                             Use Your Router as a Biscuit Joiner




  Pivot your stock into the cutter using your marks on your stock and the marks on the fence
  (photo 12). Slide your stock across to the second mark and pivot out.

  This will make a perfect cut that will allow you to slide your biscuit back and forth the make
  alignment easier (photo 13).




  A biscuit will assist in the alignment of your stock, but if you don’t have a good jointed edge
  to start with you won’t get a better joint with the biscuit in place (photo 14).

  Try using your cutter for face frames and mitres. Make sure that you use start and stop blocks
  for these cuts (photo 15).




  When you are using it for mitres, make an angled jig (photo 16), and then reverse it for the
  second cut (photo 17 & 18).




  Note: The router is a versatile tool that can be used to do a lot more than most woodworkers
  realize. Watch for future articles where I will show you a variety of ways to get the most out of
  your router. Next issue I will show you how to use your router as a jointer.

  Guidelines to proper insertion of the Arbor into the Router Collet:
  Insert the Arbor all the way into the collet, and pull it back to the maximum so that it is more
                                                                                                                            IC-App-0520
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9/18/2017                                                                           Use Your Router as a Biscuit Joiner
  than the diameter of the Arbor. For example:

  If you use ¼” shank arbor, maximum pull back after shank has been fully inserted into collet,
  is ¼”.

  If you use ½” shank arbor, maximum pull back after shank has been fully inserted into collet,
  is ½”.

  The DIMAR bit may be run at the max RPM of your router machine.

  If you find that the groove produced is too wide for the biscuits provided, stop using the
  machine and check your router machine and router bit for run-out.

  After extensive usage, the carbide tipped groover (fly cutter) will need to be resharpened by a
  qualified person.

  Use only brand name, quality wood biscuits made of Beech wood. They will be stronger,
  consistent in thickness and will ensure proper assembly and ease of use.




                                        MARK EATON is founder of The National Router Academy
                                                                               nra@cogeco.ca




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BISCUIT JOINER




                                                                           IC-App-0522
Exhibit K
9/18/2017                                                             Making Strong Wood Joints




  Here are tips and instructions on how to make strong and inconspicuous joints in wood. Read these instructions
  carefully to help save you time and money. In this document you will find:

            Making Corner Joints
            Joining a Top Piece of Wood to a Side Piece
            Joining One Board in the Center of Another

   You need the Flash plugin to view
   animations. Click to install Flash.




                                                  MAKING CORNER JOINTS
                                                      On almost any woodworking job, you occasionally need to make a strong corner joint. But
                                                      there are many types of corner joints. Which type is best for the job you are undertaking?


                                                      The simple butt joint is most commonly used (Fig. 1). This joint is formed by nailing or
                                                      screwing the end of one piece of wood to the end of the other. While this is simple, fast and
                                                      effective, the butt joint cannot be used on many types of end joints.

                                                      A simple butt joint leaves the heads of the screws or nails exposed. Of course, the heads can
                                                      be countersunk and covered with water putty or wood filler if desired.
  FIG. 1 - A simple butt joint is formed by
  nailing or screwing two ends together.              The dowel joint is basically the same as the butt joint except dowels are used to hold the two
                                                      pieces of wood together instead of screws and nails (Fig. 2).

                                                      You can make the dowel joint by drilling holes completely through one piece of wood and
                                                      into the other. Dowels are driven into these holes, completely through one piece of wood and
                                                      deeply into the other. Then glue the dowels firmly into position to provide strength and
                                                      prevent slippage.

                                                      Construct blind dowel joints by drilling the holes only partway into each piece of wood.
                                                      Then drive the dowels into these holes and glue them into position. The dowels are not
                                                      visible.
  FIG. 2 - Use a drill to start the holes for a
  dowel joint.                                        While dowel joints have the advantage of being inconspicuous, they do not provide the
                                                      structural strength of a simple butt joint.

                                                      The end lap joint is made by sawing halfway through each piece of wood and then knocking
                                                      out or sawing away half of this area (Fig. 3).

                                                      Now you can put the two pieces of wood together with screws, nails, corrugated nails, etc.

                                                      The end lap joint provides a great deal of strength, but the heads of the nails, screws or
                                                      corrugated nails are exposed.

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                                                   The through mortise and tenon joint is easy to make with a power saw and a dado head (Fig.
                                                   4). A through mortise and tenon joint is suitable for various woodworking jobs.

                                                   To form this joint, saw a slot into one piece of wood. The end of the other piece of wood is
                                                   then notched out to fit the slot in the first piece (Fig. 4).

                                                   Insert the notched piece of wood into the slotted piece of wood and glue, nail or screw the
                                                   piece into position.

  FIG. 3 - The end lap joint provides a great      When making a through mortise and tenon joint, be sure to measure the areas to be notched
  deal of strength.                                and slotted before making any cuts.

                                                   You can make an open mortise and tenon joint by cutting the slot or mortise only partway
                                                   into one piece of wood. Then create a notched-out area on the other piece that fits into the
                                                   slotted area in the first piece of wood (Fig. 5).

                                                   The open mortise and tenon cut creates a stronger joint than the through mortise and tenon
                                                   joint. It can easily be cut with a mortising chisel on a drill press.

                                                   Although the open mortise and tenon joint provides more structural strength, it is a little
                                                   more difficult to make than the through mortise and tenon joint. However, with a little
                                                   practice and the proper tools, you can make either joint easily.
  FIG. 4 - The through mortise and tenon joint
  is easy to make with a power saw and a
  dado head.
                                                   The conventional miter joint is widely used for making corners in various types of
                                                   woodwork (Fig. 6). However, it is not recommended where the joint is subject to excessive
                                                   weight or unusual strain.

                                                   The conventional miter joint is made by mitering each corner at a 45-degree angle (Fig. 6).
                                                   If you'll be using many miter joints, you'll need a regular miter box or a homemade miter
                                                   box.

                                                   Use nails, screws or corrugated nails to attach the two pieces of wood in a conventional
                                                   miter joint.

                                                   The conventional miter joint is common for making trims around cabinet doors and other
  FIG. 5 - Use a mortising chisel on a drill       trim pieces.
  press to make an open mortise and tenon
  joint.
                                                   A miter joint with a spline is easy to make and adds great strength to a common miter joint
                                                   (Fig. 7).

                                                   First cut a regular 45-degree-angle miter joint. Then cut a groove in each end of the pieces to
                                                   be mitered. Or if you prefer, you can lay out the 45-degree angle on each piece of wood.
                                                   This will show you how deep the groove needs to be. Go ahead and cut the groove while the
                                                   end of the wood is still square. This makes cutting the groove much safer and much easier.
                                                   Next cut the 45-degree angle.

                                                   After sawing the grooves, saw a spline to fit the grooves.

                                                   Use a top-grade adhesive to hold the spline in the mitered joint in position. Or if appearance
                                                   isn't important, it can be nailed or screwed into position.
  FIG. 6 - The conventional mitered joint is
  made by mitering each corner at a 45-
  degree angle.                                    A newer version of the spline is a biscuit, a football-shaped spline. The biscuit requires a
                                                   power biscuit jointer tool that is easy to use and produces excellent results. Biscuits can be
                                                   used on almost any type of joint (Fig. 8).




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  FIG. 7 - A mitered joint with a spline adds
  great strength to the joint.




  FIG. 8 - Biscuit joints can be used in any
  number of applications.


    Click on drawing above to
         view animation.




                                                JOINING A T OP PIECE OF WOOD T O
                                                A SIDE PIECE
                                                    In working with wood, all joints are not corner joints. You occasionally need to join a top
                                                    piece of wood to a side piece.


                                                    Again, the standard butt joint is the most commonly used (Fig. 1).

                                                    The standard butt joint can be nailed or screwed together if appearance is not important. This
                                                    provides a strong joint and is completely satisfactory for ordinary jobs.
  FIG. 9 - You need a power saw to make a
  lock miter joint.

                                                    If you are an experienced handyman, you might want to use the lock miter joint for joining a
                                                    top or bottom to side pieces of wood (Fig. 9). You need a power saw to make the lock miter
                                                    joint.

                                                    Accuracy is important when sawing the lock miter joint. When sawed correctly and properly
                                                    grooved, the lock miter joint is strong and inconspicuous.


                                                    The mitered rabbet joint is similar to the lock miter joint, and it too must be made with
                                                    power equipment (Fig. 10). Accuracy in sawing and rabbeting is important.  IC-App-0525
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                                                   The two pieces of wood on a mitered rabbet joint can be held together with screws, nails,
                                                   adhesives or dowels.


                                                   Regardless of how the mitered rabbet joint is secured, it provides an excellent joint with a
                                                   professional look and a great deal of strength.

                                                   The regular rabbet joint is much easier to make than the mitered rabbet joint. Although
                                                   power equipment is helpful, you can make a regular rabbet joint with ordinary hand tools
                                                   (Fig. 11).
  FIG. 10 - The mitered rabbet joint is similar
  to the lock miter joint.

                                                   The rabbet can be cut into either the side piece or the top piece when two pieces of wood are
                                                   joined with a rabbet joint.

                                                   The position of the rabbet cut depends largely on where you want the half-section of grained
                                                   end to appear. With a rabbet joint, the grained end of one piece of wood is completely
                                                   hidden.


                                                   Rabbet joints are normally held together with adhesives, but you can use screws, nails and
                                                   dowels. Again, it is a matter of how important the appearance is to you.

                                                   The box corner joint is one that should be undertaken only by the skilled craftsman (Fig. 12).
                                                   It requires sawing a groove in one piece of wood and a tongue or flange in the other.
  FIG. 11 - You can use ordinary hand tools to
  make a rabbet joint.

                                                   The box corner joint provides a strong joint that can be held together with adhesives, nails or
                                                   screws. In most cases, adhesive alone is used.

                                                   Use power equipment to construct the box corner joint. If you have the required skill and
                                                   time, this is a very strong corner joint and leaves no end grain showing.


                                                   The milled corner joint also creates a corner with no end grain visible. This is highly
                                                   desirable on some types of woodwork (Fig. 13).

                                                   The milled corner joint is widely used with drawers. This joint is much stronger than the box
  FIG. 12 - Only the skilled craftsman should      corner joint and is less likely to crack.
  undertake a box corner joint.



                                                   Use power equipment to make a milled corner joint. Be sure to saw the tongues and grooves
                                                   accurately.

                                                   The half-blind dovetail joint is used almost exclusively for making drawers (Fig. 14). Don't
                                                   undertake this joint without some experience and good power tools.


                                                   Hold together the half-blind dovetail joint with adhesives to provide an excellent joint with
                                                   no end grain visible.
  FIG. 13 - The milled corner joint creates a
  professional-looking corner with no end grain    You can make a complete open dovetail joint by simply cutting through the second piece of
  visible.                                         wood. This joint is equally strong, but the end grain is visible on both sides of the joint. You
                                                   might or might not want this.




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  FIG. 14 - The half-blind dovetail joint is used
  almost exclusively for drawers.




                                                    JOINING ONE BOARD IN THE CENTER
                                                    OF ANOTHER
                                                        Some woodworking jobs require a joint where the end of one board butts against the center
                                                        of another. Again, you have a choice of several joints.


                                                        The regular butt joint is again the most commonly used (Fig. 15). Secure this type of joint
                                                        with nails, screws or adhesives.

                                                        A butt joint provides a lot of strength, and if the heads of nails or screws are not
  FIG. 15 - You can use nails, screws or                objectionable, it will do the job well.
  adhesives to secure a butt joint.


    Click on drawing above to                           To make a dado joint, cut a slot into one piece of wood to match the end of the other (Fig.
         view animation.                                16). The dado joint is much stronger than the butt joint and creates a more professional
                                                        appearance.

                                                        You can cut a dado into the board with a dado head on a power saw, a regular handsaw, a
                                                        dado plane or even a chisel and a mallet.


                                                        Use wood screws, nails or dowels to hold dado joints.

                                                        The stopped dado joint is a modified version of the regular dado joint (Fig. 17).


                                                        The stopped dado joint is a little more difficult to make by hand, but is quite easy with the
                                                        proper power tools.
  FIG. 16 - Make a dado joint by cutting a slot
  into one piece of wood to match the end of
  the other.                                            The stopped dado joint has a neater appearance than the regular dado joint because the front
                                                        edge is uncut. Thus, the slotted area is not visible from the front side.


                                                        Use ordinary wood adhesives, wood screws, nails or dowels to hold the two pieces of wood
                                                        together in a stopped dado joint.

                                                        The biscuit joint works quite well for joining one board to the center of another. For this
                                                        joint, extra care must be taken to align the biscuit slots to ensure a straight center board (Fig.
                                                        18). Measure the work pieces carefully. Check the joint by assembling it without adhesive.


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  FIG. 17 - The stopped dado joint is a
  modified version of the regular dado joint.




  FIG. 18 - Careful planning, measuring and
  cutting result in attractive strong joints.




                                                TOOL AND MA TERIAL CHECKLIST
         Chisel                                                              Power Saw
         Carpenter's Pencil                                                  Dado Head for Power Saw
         Wood Screws                                                         Hammer
         Miter Box                                                           Corrugated Nails
         Vise                                                                Mallet
         Folding Rule                                                        Handsaw
         Wood Adhesive                                                       Nails
         Screwdriver                                                         Dowels
         Sandpaper                                                           C-Clamp
         Drill


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Woodworking Terms                                                                                     91 terms    mtegtmeier




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Adhesive                                          A substance that is capable of bonding material together
                                                  by surface attachment.




Air Dried                                         Lumber stacked and stored so that it is dried naturally by
                                                  the exposure to air.




                                                                                                            IC-App-0530
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Allen Head                                        A screw head with a recess requiring a hexagon shaped
                                                  key, used mainly on machinery. These may be in metric or
                                                  SAE sizes.




Annual Growth Ring                                The layer of growth to the circumference of a tree in a
                                                  season, easily recognizable in many woods by the
                                                  difference in cells formed during the early and late parts
                                                  of the season.




Apron                                             A frame around the base of a table to which the top and
                                                  legs are fastened.




Arbor                                             A stub shaft on a machine to turn blades or other cutting
                                                  wheels.

Awl                                               Pointed instrument that looks like an ice pick, useful for
                                                  marking positions when laying out a project.




Bark                                              The outer protective layer of a tree.




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Birds-eye Figure                                  A figure on wood, usually maple and a few other species,
                                                  composed of many small rounded areas resembling a
                                                  birds eye.




Biscuit Joint                                     An oval shaped disk that when inserted in a slot with glue
                                                  swells to form a tight bond. A special tool is required to cut
                                                  the slot.




Board Foot                                        Measurement of lumber equal to one square foot an inch
                                                  thick or 144 cubic inches. Multiply width in inches X length
                                                  in inches X thickness in inches, divide by 144 for total board
                                                  feet.




Bookmatch                                         Successive layers of veneer are arranged side by side to
                                                  resemble a mirror image of each other.




Bow                                               A warp along the length of a board.



                                                                                                         IC-App-0532
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Box Joint                                         Square shaped finger joints used to join pieces at right
                                                  angles.




Butt Joint                                        A joint where the edges of two boards are against each
                                                  other.




Branding Iron                                     A tool for burning a name or logo on to wood, electric or
                                                  flame heated.




Carbide Tipped                                    Extremely hard steel pieces with sharp cutting edges
                                                  fastened to cutting tools such as saw blades, and router
                                                  bits.

Chamfer                                           To bevel the corner of a board at a 45° angle.




Check                                             A defect caused by uneven shrinking of the wood during
                                                  drying, a checked board has splits which develop
                                                  lengthwise across the growth rings.

                                                                                                       IC-App-0533
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Chuck                                             An attachment to hold work or a tool in a machine, lathe
                                                  chucks and drill chucks are examples.




Collet                                            A type of chuck that accepts a fixed shaft size, commonly
                                                  used on routers.




Common Grade                                      Lumber with obvious defects, used in construction framing.
Lumber

Cross Cut                                         A cut which runs across the board, perpendicular to the
                                                  grain.

Cupping                                           This is when the edges of a board bend with the grain
                                                  away from the center to form a concave shape.




Dado                                              A groove in the face of a board, usually to accept another
                                                  board at 90 degrees as in shelf uprights.




Deciduous                                         Trees that shed their foliage annually, commonly referred
                                                                                                      IC-App-0534
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                                                  to as hardwood.




Dovetail Joint                                    A joint where the fingers are shaped like a doves tail, used
                                                  to join pieces at 90 degrees.




Dowel                                             A wood pin used to align and hold two adjoining pieces.




Dressed Size                                      The dimension of lumber after being surfaced by a planer.

Epoxy Glue                                        A two part glue that practically glues anything to anything,
                                                  including metal to metal.




Face                                              When a board has one side that is wider than the other, the
                                                  wider side is referred to as the face (as opposed to the
                                                  edge). May also refer to the side that is to be visible in the
                                                  finished item.

Face Frame                                        A flat frame attached to the front of a cabinet, usually to
                                                  conceal the exposed edges of plywood, or to give a
                                                  decorative appearance.



                                                                                                          IC-App-0535
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9/18/2017                                                    Woodworking Terms Flashcards | Quizlet




Featherboard                                      Pieces of wood with fingers used to hold material against a
                                                  fence and or down against the table on power tools such
                                                  as a table saw.




Fence                                             A straight guide on a tool such as a table saw or router
                                                  table to keep the material a set parallel distance from the
                                                  blade or cutter.




Fiddleback                                        Describes wood, usually maple or mahogany but can be
                                                  any wood, with Curl or Tiger grain material with fine grain
                                                  used in the manufacture of violins, hence the name.

Filler                                            A substance that is used the fill pores and irregularities on
                                                  the surface of material to decrease the porosity before
                                                  applying a finishing coat.




Finger Joint                                      Long tapered fingers used to join material lengthwise,
                                                  often used in manufacturing molding to join short lengths.




                                                                                                         IC-App-0536
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                             7/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet

Flat-sawn                                         A method of sawing lumber where the log is cut tangential
                                                  to the growth rings, also called plain-sawn.


Grain                                             The appearance, size and direction of the alignment of the
                                                  fibers of the wood.




Green Lumber                                      Freshly cut lumber that has not been dried.

Grit                                              The grade of particles in sandpaper or sharpening stones
                                                  which determines the aggressiveness of the cut.

Hardwood                                          Lumber from the group of trees with broad leaves, this has
                                                  no reference to the actual hardness of the wood.

Heartwood                                         The wood from the pith extending to the sapwood, darker
                                                  in color due to gum, resins, and other materials which
                                                  make it less susceptible to rot.

Hinge                                             A mechanical device that connects two solid objects,
                                                  allowing rotation between them.




Infeed                                            The side of a power tool where a board enters.

Jig                                               A device used to hold work or act as a guide in
                                                  manufacturing or assembly.




Kerf                                              The width of a saw cut, determined by the thickness and
                                                  set of the blade.
                                                                                                      IC-App-0537
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                          8/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet




Kick Back                                         This is when a workpiece is thrown back by a cutter,
                                                  prevented using anti-kick back devices on power tools
                                                  such as table saws.

Kiln                                              A heated chamber for drying lumber where the air flow,
                                                  heat and relative humidity can be controlled.




Knot                                              The portion of a branch or limb that is embedded in the
                                                  wood.




Laminate                                          The product of bonding layers together as in beams or
                                                  plywood.




Linseed Oil                                       Is an amber-colored, fatty oil extracted from the cotyledon
                                                  and inner coats of the linseed. Used to preserve or refinish
                                                  wood.




                                                                                                         IC-App-0538
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                             9/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet

MDF                                               Medium density fiberboard, very stable underlay for
                                                  counter tops etc. to be covered with laminate.




Miter Box                                         An apparatus to guide a saw to make miter joints.




Miter Gauge                                       A guide with an adjustable head that fits in a slot and slides
                                                  across a power tool table to cut material at an angle.




Miter Joint                                       Pieces are cut on an angle to make a joint.




Molding (Moulding)                                A strip of material with a profile cut on the facing edges,
                                                  used for trimming.




Mortise                                           A cavity or hole cut to allow a tenon to pass through to
                                                  make a joint.



                                                                                                         IC-App-0539
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                             10/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet




Muntin                                            A strip of wood or metal separating and holding panes of
                                                  glass in a window or door.




Nominal Size                                      The rough sawn dimension a finished piece of material is
                                                  referred to, for example what is referred to as a 2 X 4 is
                                                  actually 1 1/2" X 3 1/2".

Particle Board                                    A generic term for material manufactured from wood
                                                  particles and bound together with glue.




Pilot Bit                                         A router bit with a bearing at the end of the cutter that
                                                  rides against the edge the material or a template to guide
                                                  the cut.




TPI                                               The number of teeth on a saw blade per inch.




Pith                                              The soft core in the center of a log.



                                                                                                         IC-App-0540
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                             11/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet




Plain Sawn                                        Boards are sliced from the log with the cut tangent to the
                                                  growth rings.




Plumb                                             A term used to describe something that is perfectly
                                                  perpendicular to the earth relative to gravity. A plumb bob
                                                  on the end of a string will give you a line that is plumb or
                                                  straight up and down.

Plywood                                           A glued wood panel usually 4' X 8' made up of thin layers
                                                  of wood laid at right angles to each other.




Pocket Hole                                       A hole drilled on an angle with a step bit to make a butt
                                                  joint. The larger hole is for the screw head to enter, and the
                                                  smaller hole is for the shank.




Quarter Sawn                                      Boards which have been cut so that the wide surfaces are
                                                  approximately 90 degrees to the annual growth rings, this
                                                  type of cut reduces cupping of the boards.




                                                                                                         IC-App-0541
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                             12/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet

Rabbet                                            A groove in the edge or face of a board, usually a rabbet is
                                                  referred to on the edge, a dado is referred to on the face.




Rail                                              A horizontal member between chair legs or between
                                                  styles or vertical members of a door frame.




Raised Grain                                      The roughened condition of sanded wood when the hard
                                                  latewood rises above the soft earlywood when moisture is
                                                  applied.

Rip Cut                                           A cut which runs through the length of a board parallel to
                                                  the grain.

Rough Lumber                                      Boards which are sawn, edged and trimmed but not run
                                                  through a planer.




Sapwood                                           The wood lighter colored wood on the outside of a log,
                                                  this wood is more susceptible to rot than heartwood.




Seasoning                                         The time it takes for wood to dry. Wood air-dries and takes
                                                  one year for every inch of thickness. It refers to a year, a
                                                  season.                                                 IC-App-0542
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                              13/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet

Shellac                                           Resin flakes dissolved in alcohol used as a finish for wood.




Snipe                                             The tendency to gouge the trailing end of material when
                                                  running it through a joiner.




Softwood                                          Wood manufactured from trees with needles or scale like
                                                  leaves, has no reference to actual hardness of the wood.




Spline                                            A thin strip of wood fitted between two grooves to make a
                                                  joint.




Stickers                                          Strips placed between layers of lumber for drying.




Style or Stile                                    A vertical member of a door framework attached to the
                                                  horizontal rails.



                                                                                                        IC-App-0543
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                            14/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet




Tack Cloth or Tack Rag                            A cloth permeated with a sticky substance to wipe up the
                                                  dust from sanding when finishing a project.




Tearout                                           The tendency to splinter the trailing edge of material when
                                                  cutting across the grain.




Tenon                                             A projection made at the end of a board, by cutting away
                                                  the wood around it, to insert into a mortise to make a joint.




Tongue and Groove                                 A joinery method where a board has a protruding tongue
                                                  on one edge and a groove on the other, the tongue of one
                                                  board fits into the groove of the next.




Torx Head                                         A screw head requiring a driver in the shape of a star.




                                                                                                        IC-App-0544
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                            15/16
9/18/2017                                                    Woodworking Terms Flashcards | Quizlet

Varnish                                           A liquid preparation that dries to a hard lustrous coating.




Vee Joint                                         Tongue and groove boards with their top corners beveled
                                                  so when the two boards come together a V is formed.




Veneer                                            A thin layer of expensive wood bonded to a thicker piece
                                                  of cheaper plywood to give the appearance of the
                                                  expensive wood but at a reduced price.




Warp                                              To bent or twist to the pull of the grain in the wood.




                                                                                                           IC-App-0545
https://quizlet.com/3894414/woodworking-terms-flash-cards/                                                               16/16
IC-App-0546
Exhibit M
9/18/2017                                              Compress | Definition of Compress by Merriam-Webster


               SINCE 1828        MENU




                                                  1
                                                       compress
                                           verb | com·press | \ kəm-ˈpres \

                                                      Popularity: Bottom 40% of words



      Tip: Synonym Guide 


      Examples: COMPRESS in a Sentence 




     Definition of COMPRESS
     transitive verb

     1      : to press or squeeze together

     2      : to reduce in size, quantity, or volume as if by squeezing
            file
                                                                                                          · compress a computer
     intransitive verb

     : to undergo compression

      NEW! Time Traveler
      First Known Use: 14th century
      SEE WORDS FROM THE SAME YEAR




     See compress defined for English-language learners

     See compress defined for kids
                                                                                                                    IC-App-0547
https://www.merriam-webster.com/dictionary/compress                                                                               1/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster




                                                             Explore M-W




     Examples of COMPRESS in a Sentence
     compress the air in a closed chamber

     Her lips compressed into a frown.

     a material that compresses easily

     This type of file compresses easily.




     Recent Examples of COMPRESS from the Web
     The deadly drug does its work instantly, compressing the person’s lungs, and causing
     the air to come out in a rush.
                                                                                                             IC-App-0548
https://www.merriam-webster.com/dictionary/compress                                                                        2/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster

            — Mike Newall, Philly.com, "In every heroin victim I still see my brother," 24 Aug. 2017

     The electricity used to compress the air could be produced by wind turbines, as is
     planned for The Bethel Energy Center in West Texas.
            — Molly A. Seltzer, Smithsonian, "Why Salt Is This Power Plant’s Most Valuable Asset," 4 Aug.
              2017

     In the three episodes broadcast thus far, Game of Thrones is fulfilling this prophecy
     and then some: characters are flat, timelines have been compressed, the dialogue is
     cheesy, and plots are painfully predictable.
            — Julie Kosin, Harper's BAZAAR, "Game of Thrones Season 7 Is a Disappointment So Far," 2
              Aug. 2017




     These example sentences are selected automatically from various online news sources to reflect current usage of the
     word 'compress.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
     Send us feedback.




     Origin and Etymology of COMPRESS
     Middle English, from Late Latin compressare to press hard, frequentative of Latin
     comprimere to compress, from com- + premere to press — more at PRESS




     COMPRESS           Synonyms
     Synonyms
     capsule, capsulize, collapse, compact, condense, constrict, constringe, contract,
     narrow (down), squeeze, telescope

     Antonyms


     Synonym Discussion of COMPRESS
     CONTRACT , SHRINK , CONDENSE , COMPRESS , CONSTRICT , DEFLATE
                                                                mean to decrease in bulk or
     volume.       CONTRACT     applies to a drawing together of surfaces or particles or a reduction

                        ·
     of area or length. ⟨ caused her muscles to contract ⟩         implies a contracting or a
     loss of material and stresses a falling short of original dimensions. ⟨ · the sweater
                                                                                          SHRINK


                                                                                                             IC-App-0549
https://www.merriam-webster.com/dictionary/compress                                                                        3/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster

     will shrink when washed ⟩                CONDENSE      implies a reducing of something homogeneous to
     greater compactness without significant loss of content. ⟨ condense the essay into a
     paragraph ⟩        COMPRESS      implies a pressing into a small compass and definite shape
                                                                                                 ·
                                ·
     usually against resistance. ⟨ compressed cotton into bales ⟩                                    CONSTRICT   implies a
     tightening that reduces diameter. ⟨· the throat is constricted by a tight collar ⟩
     implies a contracting by reducing the internal pressure of contained air or gas.
                                                                                                                             DEFLATE



     ⟨ · deflate the balloon ⟩




                                                  2   compress
                                          noun | com·press | \ ˈkäm-ˌpres \

     Definition of COMPRESS

     1      : a folded cloth or pad applied so as to press upon a body part

     2      : a machine for compressing



     See compress defined for English-language learners




     Recent Examples of COMPRESS from the Web
     And every day, her keepers apply cold compresses or ice her joints to help minimize
     inflammation.
            — Carolyn Wilke, sacbee, "A 14-foot-tall arthritis patient receives treatment at the
              Sacramento Zoo," 18 Aug. 2017

     The American Red Cross offers a checklist for a more robust first-aid kit that includes
     a cold compress, non-latex gloves, scissors and more.
            — OregonLive.com, "16 things to have in your car for a solar eclipse road trip," 9 Aug. 2017

     Pro tip: Put them in the fridge for a few hours before applying them for the
     additional benefit of a cold compress.
            — Eden Univer, Cosmopolitan, "Exactly How to Make Your Eyes Look Bigger and Brighter," 24
              July 2017

                                                                                                                      IC-App-0550
https://www.merriam-webster.com/dictionary/compress                                                                                    4/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster




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     word 'compress.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
     Send us feedback.




     Origin and Etymology of COMPRESS
     Middle French compresse, from compresser to compress, from Late Latin compressare




                    COMPRESS Defined for English Language Learners



                                                      compress
                                                                      verb

     Definition of COMPRESS for English Language Learners

     : to press or squeeze (something) so that it is smaller or fills less space

     : to make (something) shorter or smaller

     computers : to reduce the size of (a computer file) by using special software




                                                      compress
                                                                      noun

     Definition of COMPRESS for English Language Learners

     : a folded cloth that is pressed against a part of the body to reduce pain or stop
     bleeding from an injury



                                                                                                             IC-App-0551
https://www.merriam-webster.com/dictionary/compress                                                                        5/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster

                                           COMPRESS Defined for Kids


                                                  1   compress
                                           verb | com·press | \ kəm-ˈpres \

     Definition of COMPRESS for Students

     compressed;              compressing

     1      : to press or squeeze together                     · compressing his lips
     2      : to reduce in size, quantity, or volume by or as if by pressure
            compressing air.
                                                                                                             · The pump is for


                                                  2   compress
                                          noun | com·press | \ ˈkäm-ˌpres \

     Definition of COMPRESS for Students

     : a pad (as of folded cloth) applied firmly to a part of the body (as to stop bleeding)




                                                      Medical Dictionary


                                                  1   compress
                                   transitive verb | com·press | \ kəm-ˈpres \

     Medical Definition of COMPRESS

     1      : to press or squeeze together    · a ligament in the wrist was compressing a nerve
     2      :   to reduce in size or volume as if by squeezing · compress air




                                                                                                                   IC-App-0552
https://www.merriam-webster.com/dictionary/compress                                                                              6/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster


                                                  2   compress
                                          noun | com·press | \ ˈkäm-ˌpres \

     Medical Definition of COMPRESS

     1       : a covering consisting usually of a folded cloth that is applied and held firmly by
             the aid of a bandage over a wound dressing to prevent oozing

     2       : a folded wet or dry cloth applied firmly to a part (as to allay inflammation)




     Learn More about COMPRESS
     See words that rhyme with compress
     Thesaurus: All synonyms and antonyms for compress
     Spanish Central: Translation of compress
     Nglish: Translation of compress for Spanish speakers
     Britannica English: Translation of compress for Arabic speakers




   Seen and Heard
   What made you want to look up compress? Please tell us where you read or
   heard it (including the quote, if possible).

    SHOW 3 COMMENTS




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                                                                                                             IC-App-0553
https://www.merriam-webster.com/dictionary/compress                                                                        7/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster

                                                           W O R D O F T H E D AY




                                                  amanuensis
                                          one employed to write from dictation


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        Your email address                                                                                   SUBSCRIBE




                                                             TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                     SEE ALL




                                                         BROWSE DICTIONARY



     compresence
     compresent

     compress
     compressed
     compressed air



                                                      TEST YOUR VOCABULARY
                                                                                                             IC-App-0554
https://www.merriam-webster.com/dictionary/compress                                                                        8/12
9/18/2017                                              Compress | Definition of Compress by Merriam-Webster



                                           Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                 murky                                                                  joyous

                                 archaic                                                              cavernous



   Name That          Test your visual vocabulary with our 10-question challenge!
   Thing               TA K E T H E Q U I Z




   Word        Test Your Knowledge - and learn some interesting things along the way.
   Winder's    TA K E T H E Q U I Z
   CrossWinder




                                                            W O R D S AT P L AY



                                                             alt-59bad350d88f1




                                                      Welcome to the New Words
                                                      From 'hive mind' to 'sriracha'




                                                              image2143067130




                                                                                                                  IC-App-0555
https://www.merriam-webster.com/dictionary/compress                                                                             9/12
9/18/2017                                             Compress | Definition of Compress by Merriam-Webster




                                                9 Slang Words With Academic
                                                          Origins
                                                            Class is in session.




                                                              image624847743




                                                      8 Foods Named After Real
                                                               People
                                                        A delicious collection of
                                                           eponymous foods




                                                         ASK THE EDITORS



                                                 video-title-words-of-the-year-1066




                                                       Words of the Year: 1066
                                                 Or, Why Pig Meat is Called 'Pork'
                                                  and Cow Meat is Called 'Beef'



                                                                     payday


                                                                                                             IC-App-0556
https://www.merriam-webster.com/dictionary/compress                                                                        10/12
9/18/2017                                              Compress | Definition of Compress by Merriam-Webster




                                                       How Often Is 'Biweekly'?
                                                         Don't get us started on
                                                               'bimonthly'



                                                video-irregardless-grammar-peeve-
                                                blend-of-the-synonyms-irrespective-
                                                           and-regardless




                                                                 Irregardless
                                                 It is in fact a real word (but that
                                                 doesn't mean you should use it).




                                                              WORD GAMES



                                                  stylized-drawing-of-woman-pole-
                                                  vaulting-across-gap-to-get-trophy




                                                 Challenging Vocabulary Quiz
                                                          Returns!
                                                      No tricks, just difficult words.

                                                                 TA K E T H E Q U I Z




                                                            name-that-color-logo                              IC-App-0557
https://www.merriam-webster.com/dictionary/compress                                                                         11/12
9/18/2017                                              Compress | Definition of Compress by Merriam-Webster




                                                             Name that Color!
                                                      NEW! Additional colors! More
                                                         obscure than before!
                                                                 TA K E T H E Q U I Z




                                                               Name That Thing




                                                            Name That Thing
                                                 Test your visual vocabulary with
                                                   our 10-question challenge!
                                                                 TA K E T H E Q U I Z




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                                                            WORDCENTRAL FOR KIDS

                                                                VISUAL DICTIONARY

                                                                                                              IC-App-0558
https://www.merriam-webster.com/dictionary/compress                                                                         12/12
Exhibit N
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster


               SINCE 1828         MENU




                                                      1
                                                          collapse
                                               verb | col·lapse | \ kə-ˈlaps \

                                                      Popularity: Top 20% of words



      Examples: COLLAPSE in a Sentence 




      Definition of COLLAPSE

      collapsed;           collapsing

      intransitive verb

      1      : to fall or shrink together abruptly and completely : fall into a jumbled or
             flattened mass through the force of external pressure a blood vessel that
             collapsed
                                                                                                     ·
      2      : to break down completely :                     DISINTEGRATE


                  · …Gardner
                       his case had collapsed in a mass of legal wreckage … —Erle Stanley



      3      : to cave or fall in or give way                 · The bridge collapsed.
      4      : to suddenly lose force, significance, effectiveness, or worth
             currency may collapse
                                                                                                             · fears that the
      5      : to break down in vital energy, stamina, or self-control through exhaustion or
                          ·
             disease She came home from work and collapsed on the sofa. ; especially : to
                                                          ·
             fall helpless or unconscious He collapsed on stage during the performance.
                                                                                                                     IC-App-0559
https://www.merriam-webster.com/dictionary/collapse                                                                                1/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster

      6      : to fold down into a more compact shape                            · a chair that collapses
      transitive verb

      1      : to cause to collapse              · buildings collapsed by an earthquake
      2      :   CONDENSE
                              · collapse several stories into one
             —collapsibility               \kə-ˌlap-sə-ˈbi-lə-tē\ noun

             —collapsible               \kə-ˈlap-sə-bəl\ adjective



      See collapse defined for English-language learners

      See collapse defined for kids



                                                 Explore Merriam-Webster




      Examples of COLLAPSE in a Sentence
      The roof collapsed under a heavy load of snow.

      The chair he was sitting in collapsed.
                                                                                                             IC-App-0560
https://www.merriam-webster.com/dictionary/collapse                                                                        2/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster

      He collapsed on stage during the performance and had to be rushed to the hospital.

      She came home from work and collapsed on the sofa.

      The crying child ran to his mother and collapsed in her arms.

      The civilization collapsed for reasons that are still unknown.

      He warned that such measures could cause the economy to collapse.




                                                              My Stylist
                                                              —
                                                              SHE GETS ME
                                                              WEEKEND READY.
                                                              Free shipping. Free Returns Every Time.




      Recent Examples of COLLAPSE from the Web
      Under pressure from Trump, GOP senators were trying to revive their health care
      bill, which collapsed twice.
            — Alan Fram, The Seattle Times, "GOP senators in last-ditch try to rescue health care bill," 20
              July 2017

      Under pressure from Trump, GOP senators were trying to revive their health care
      bill, which collapsed twice.
            — Washington Post, "House GOP defiant on health bill amid Senate uncertainty," 20 July 2017

      The telegrams describing their operation were found in 1945 as Hitler’s regime
      collapsed.
            — Robert Hutton, Bloomberg.com, "Churchill Tried to Cover Up Nazi Plan to Woo Former
              King," 19 July 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'collapse.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
      Send us feedback.
                                                                                                             IC-App-0561
https://www.merriam-webster.com/dictionary/collapse                                                                         3/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster




      Origin and Etymology of COLLAPSE
      Latin collapsus, past participle of collabi, from com- + labi to fall, slide — more at                               SLEEP




      COLLAPSE         Synonyms
      Synonyms
      buckle, cave (in), crumple, founder, give, go, go out, implode, tumble, yield, give way

      Antonyms
      click, come off, deliver, go, go over, pan out, succeed, work out




                                                        2   collapse
                                                                     noun

      Definition of COLLAPSE

      1      a : a breakdown in vital energy, strength, or stamina
             collapse
                                                                                                   · suffered a mental
             b : a state of extreme prostration and physical depression (as from circulatory
             failure or great loss of body fluids)
             c : an airless state of all or part of a lung originating spontaneously or induced
             surgically

      2      : the act or action of collapsing

                  · the cutting of many tent ropes, the collapse of the canvas —Rudyard Kipling
      3      :   a sudden failure :          ,    · the collapse of the government
                                              BREAKDOWN RUIN



      4      : a sudden loss of force, value, or effect

                  · the collapse of respect for ancient law and custom —L. S. B. Leakey
                                                                                                                  IC-App-0562
https://www.merriam-webster.com/dictionary/collapse                                                                                4/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster

      See collapse defined for English-language learners




      Examples of COLLAPSE in a Sentence
      The structure is in danger of collapse.

      She was on the verge of collapse.

      The country has endured civil war and economic collapse.




      Recent Examples of COLLAPSE from the Web
      Building collapses are common in India during the monsoon season, which is June to
      September.
            — Washington Post, "Building collapses in India, killing at least 12; 25 trapped," 31 Aug. 2017

      Look, nothing says Tehran must respond to a collapse of the Iran deal by building
      nuclear weapons.
            — chicagotribune.com, "Trump's next self-inflicted crisis is a nuclear Iran," 30 Aug. 2017

      In 2009, Cohn reportedly took the same tactics that led to the subprime mortgage
      collapse and offered to apply them in Greece as that country’s economy was
      crumbling.
            — Thomas Macmillan, Cosmopolitan, "Who Is Gary Cohn? 9 Things You Should Know About
              the White House Economic Adviser.," 25 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'collapse.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
      Send us feedback.




      Origin and Etymology of COLLAPSE
      see   1 COLLAPSE




                                                                                                             IC-App-0563
https://www.merriam-webster.com/dictionary/collapse                                                                         5/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster




      COLLAPSE         Synonyms
      Synonyms
      burnout, fatigue, exhaustion, frazzle, lassitude, prostration, tiredness, weariness

      Antonyms
      refreshment, rejuvenation, rejuvenescence, revitalization

                     COLLAPSE Defined for English Language Learners



                                                      collapse
                                                                      verb

      Definition of COLLAPSE for English Language Learners

      : to break apart and fall down suddenly

      : to fall down or become unconscious because you are sick or exhausted

      : to completely relax the muscles of your body because you are very tired, upset,
      etc.




                                                          collapse
                                                                     noun

      Definition of COLLAPSE for English Language Learners

      : a situation or occurrence in which something (such as a bridge, building, etc.)
      suddenly breaks apart and falls down

      : a situation or occurrence in which someone suddenly falls down or becomes
      unconscious because of being sick or exhausted

      : a situation or occurrence in which something (such as a system or organization)
      suddenly fails : a complete failure or breakdown
                                                                                                             IC-App-0564
https://www.merriam-webster.com/dictionary/collapse                                                                        6/14
9/18/2017                                                 Collapse | Definition of Collapse by Merriam-Webster




                                             COLLAPSE Defined for Kids


                                                      1   collapse
                                               verb | col·lapse | \ kə-ˈlaps \

      Definition of COLLAPSE for Students

      collapsed;           collapsing

      1      : to break down completely : fall in
             collapsed.
                                                                           · He escaped from the mine before it
      2      : to completely relax    · I collapsed onto the sofa.
      3      :   to suffer a physical or mental breakdown · She collapsed from exhaustion.

      4      :   to fail or stop working suddenly · The ancient civilization collapsed.

      5      :   to fold together · The umbrella collapses to a small size.




                                                            2   collapse
                                                                         noun

      Definition of COLLAPSE for Students

      : the act or an instance of breaking down                              · The building is in danger of collapse.

                                                      Medical Dictionary


                                                      1   collapse
                                               verb | col·lapse | \ kə-ˈlaps \

                                                                                                                 IC-App-0565
https://www.merriam-webster.com/dictionary/collapse                                                                            7/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster

      Medical Definition of COLLAPSE

      collapsed;           collapsing

      intransitive verb

      1      : to fall or shrink together abruptly and completely : fall into a jumbled or
             flattened mass through the force of external pressure a blood vessel that
             collapsed
                                                                                                     ·
      2      : to break down in vital energy, stamina, or self-control through exhaustion or
             disease; especially : to fall helpless or unconscious

      transitive verb

      : to cause to collapse              · collapsing an infected lung
             —collapsibility               \-ˌlap-sə-ˈbil-ət-ē\ noun

             —collapsible               \-ˈlap-sə-bəl\ adjective




                                                        2   collapse
                                                                     noun

      Medical Definition of COLLAPSE

      1      : a breakdown in vital energy, strength, or stamina : complete sudden
             enervation

                  · the daughter's mental collapse through mounting frustration —Leslie Rees
      2      : a state of extreme prostration and physical depression resulting from
             circulatory failure, great loss of body fluids, or heart disease and occurring
             terminally in diseases such as cholera, typhoid fever, and pneumonia

      3      : an airless state of a lung of spontaneous origin or induced surgically — see
             ATELECTASIS



      4      : an abnormal falling together of the walls of an organ
             vessels
                                                                                                      · collapse of blood
                                                                                                                    IC-App-0566
https://www.merriam-webster.com/dictionary/collapse                                                                               8/14
9/18/2017                                              Collapse | Definition of Collapse by Merriam-Webster




      Learn More about COLLAPSE
      See words that rhyme with collapse
      Thesaurus: All synonyms and antonyms for collapse
      Spanish Central: Translation of collapse
      Nglish: Translation of collapse for Spanish speakers
      Britannica English: Translation of collapse for Arabic speakers




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                                                           W O R D O F T H E D AY




                                                      amanuensis
                                           one employed to write from dictation


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                                                                                                              IC-App-0567
https://www.merriam-webster.com/dictionary/collapse                                                                         9/14
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                                                            TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                    SEE ALL




                                                       BROWSE DICTIONARY



     colla parte
     collapsar

     collapse
     collapse breccia
     collapse therapy



                                                      TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  archaic                                                               murky

                                  joyous                                                              cavernous



    Name That          Test your visual vocabulary with our 10-question challenge!
    Thing              TA K E T H E Q U I Z                                                                       IC-App-0568
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9/18/2017                                               Collapse | Definition of Collapse by Merriam-Webster




    Word        Test Your Knowledge - and learn some interesting things along the way.
    Winder's    TA K E T H E Q U I Z
    CrossWinder




                                                            W O R D S AT P L AY



                                                             alt-59bad350d88f1




                                                      Welcome to the New Words
                                                      From 'hive mind' to 'sriracha'




                                                              image2143067130




                                                  9 Slang Words With Academic
                                                            Origins
                                                             Class is in session.




                                                               image624847743



                                                                                                               IC-App-0569
https://www.merriam-webster.com/dictionary/collapse                                                                          11/14
9/18/2017                                              Collapse | Definition of Collapse by Merriam-Webster




                                                      8 Foods Named After Real
                                                               People
                                                        A delicious collection of
                                                           eponymous foods




                                                         ASK THE EDITORS



                                                  video-title-words-of-the-year-1066




                                                       Words of the Year: 1066
                                                  Or, Why Pig Meat is Called 'Pork'
                                                   and Cow Meat is Called 'Beef'



                                                                      payday




                                                      How Often Is 'Biweekly'?
                                                        Don't get us started on
                                                              'bimonthly'



                                                 video-irregardless-grammar-peeve-
                                                 blend-of-the-synonyms-irrespective-                          IC-App-0570
https://www.merriam-webster.com/dictionary/collapse                                                                         12/14
9/18/2017                                                Collapse | Definition of Collapse by Merriam-Webster

                                                                  and-regardless




                                                                  Irregardless
                                                  It is in fact a real word (but that
                                                  doesn't mean you should use it).




                                                               WORD GAMES



                                                      stylized-drawing-of-woman-pole-
                                                      vaulting-across-gap-to-get-trophy




                                                  Challenging Vocabulary Quiz
                                                           Returns!
                                                      No tricks, just difficult words.

                                                                  TA K E T H E Q U I Z




                                                             name-that-color-logo




                                                              Name that Color!
                                                      NEW! Additional colors! More
                                                         obscure than before!
                                                                  TA K E T H E Q U I Z
                                                                                                                IC-App-0571
https://www.merriam-webster.com/dictionary/collapse                                                                           13/14
9/18/2017                                             Collapse | Definition of Collapse by Merriam-Webster

                                                             Name That Thing




                                                          Name That Thing
                                                  Test your visual vocabulary with
                                                    our 10-question challenge!
                                                               TA K E T H E Q U I Z




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                                              MERRIAM-WEBSTER'S UNABRIDGED DICTIONARY

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Exhibit O
9/18/2017                                                 Support | Definition of Support by Merriam-Webster


               SINCE 1828         MENU




                                                      1
                                                          support
                                                verb | sup·port | \ sə-ˈpȯrt \

                                  Popularity: Top 10% of words                 | Updated on: 26 Jul 2017



      Tip: Synonym Guide 


      Examples: SUPPORT in a Sentence 




      Definition of SUPPORT
      transitive verb

      1      : to endure bravely or quietly :                      BEAR



      2      a (1) : to promote the interests or cause of (2) : to uphold or defend as valid or
                                      ·
             right : ADVOCATE supports fair play (3) : to argue or vote for supported the
             motion to lower taxes
                                                                                                               ·
                                          ·
             b (1) : ASSIST , HELP bombers supported the ground troops (2) : to act with (a star
             actor) (3) : to bid in bridge so as to show support for
             c : to provide with substantiation :                         CORROBORATE
                                                                                            · support an alibi
                                                                   · support a family
                                                                                              L E A R N M O R E F RO M M -W
      3      a : to pay the costs of :               MAINTAIN

             b : to provide a basis for the existence or subsistence of                                              Words of the Year:

                  · the island could probably support three —A. B. C. Whipple                                        1066


                  · support a habit
      4      a : to hold up or serve as a foundation or prop for
                                                                                                                              IC-App-0573
https://www.merriam-webster.com/dictionary/support                                                                                          1/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster

             b : to maintain (a price) at a desired level by purchases or loans; also : to
             maintain the price of by purchases or loans

      5      : to keep from fainting, yielding, or losing courage :                             COMFORT



      6      : to keep (something) going


             —supportability                 \sə-ˌpȯr-tə-ˈbi-lə-tē\ noun

             —supportable                 \-ˈpȯr-tə-bəl\ adjective

             —supportive                \-ˈpȯr-tiv\ adjective

             —supportiveness                   \-nəs\ noun



      See support defined for English-language learners

      See support defined for kids



                                                 Read the Latest from M-W




      Examples of SUPPORT in a Sentence
                                                                                                          IC-App-0574
https://www.merriam-webster.com/dictionary/support                                                                      2/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster

      I completely support your decision to stay.

      She no longer supports the war.

      The senator says that he supports the proposed legislation.

      Which presidential candidate do you support?

      The study is supported by the American Medical Association.

      The country's citizens were asked to support the war effort.

      Her friends supported her by signing her petition.

      The charity supports needy families.

      Bombers were called in to support the ground troops.

      The planet's atmosphere cannot support human life.




                                                             My Stylist
                                                             —
                                                             SHE GETS ME
                                                             TIME WITH MY KIDS.




      Recent Examples of SUPPORT from the Web
      Now, to support animals in need after Hurricane Harvey, the MuttNation team has
      been on the ground in Houston since Tuesday, August 29th, working to help local
      shelters.
            — Southern Living, "Animal Rescue Groups in Texas Need Your Help—Here’s What You Can
              Do," 30 Aug. 2017

      The S&WB also argued it had not been given enough time to uncover evidence to
      support its case.

                                                                                                          IC-App-0575
https://www.merriam-webster.com/dictionary/support                                                                      3/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster

            — Richard Rainey, NOLA.com, "Court won't let Sewerage & Water Board shift blame for
              damage from Uptown drainage projects," 30 Aug. 2017

      On hand to support the artist was Shant Sahakian, commissioner on the Glendale Art
      and Culture Commission and Glendale Unified board member.
            — Ruth Sowby, Glendale News-Press, "On the Town: Bingo night sells out, raises funds for
              veterans’ programs," 29 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'support.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      Origin and Etymology of SUPPORT
      Middle English, from Anglo-French supporter, from Late Latin supportare, from Latin,
      to transport, from sub- + portare to carry — more at FARE




      SUPPORT         Synonyms
      Synonyms
      advocate, back, champion, endorse (also indorse), patronize, plump (for), plunk (for)
      or plonk (for), go in for, go to bat for, hold a brief for, stand up for, stick up for, foot
      the bill (for), take care of



      Synonym Discussion of SUPPORT
      SUPPORT , UPHOLD , ADVOCATE , BACK , CHAMPION      mean to favor actively one that meets
      opposition.        SUPPORT     is least explicit about the nature of the assistance given.

       ·
      ⟨ supports waterfront development ⟩ UPHOLD implies extended support given to
                                           ·
      something attacked. ⟨ upheld the legitimacy of the military action ⟩ ADVOCATE stresses

                                       ·
      urging or pleading. ⟨ advocated prison reform ⟩ BACK suggests supporting by lending

                                                            ·
      assistance to one failing or falling. ⟨ refusing to back the call for sanctions ⟩ CHAMPION
      suggests publicly defending one unjustly attacked or too weak to advocate his or her

                          ·
      own cause. ⟨ championed the rights of children ⟩
                                                                                                          IC-App-0576
https://www.merriam-webster.com/dictionary/support                                                                           4/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster




                                                       2   support
                                                                   noun

      Definition of SUPPORT

      1      a : the act or process of supporting : the condition of being supported
             b : assistance provided by a company to users of its products
             support
                                                                                                          · customer
      2      : one that supports —often used attributively                           · a support staff
      3      : sufficient strength in a suit bid by one's partner in bridge to justify raising the
             suit



      See support defined for English-language learners




      Examples of SUPPORT in a Sentence
      The team gets a lot of support from its fans.

      I'd like to thank my parents for all of their love and support over the years.

      He depended on his wife for emotional support.

      He applied for financial support from the state.

      the company's friendly support staff

      Inspectors found that some of the bridge's supports were weak.

      She used my arm as a support and limped to the chair.

      These sneakers are designed to give your feet extra support.




                                                                                                                IC-App-0577
https://www.merriam-webster.com/dictionary/support                                                                            5/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster



      Recent Examples of SUPPORT from the Web
      National had 44 percent support in a poll published Aug. 17.
            — Tracy Withers, Bloomberg.com, "Housing Affordability Fires Up New Zealand’s Voters," 29
              Aug. 2017

      In large part, the Newseum gets support from the Freedom Forum, a nonprofit that
      focuses on First Amendment advocacy and education.
            — Sophie Haigney, New York Times, "Newseum’s Leader Resigns Amid Review of Finances," 29
              Aug. 2017

      As Americans nationwide band together to help show support for Hurricane Harvey
      victims in Texas, social media has given us a glimpse of the incredible efforts of
      heroic citizens already on the ground in Houston.
            — Southern Living, "These Incredible Everyday Heroes Are Saving Lives Through Hurricane
              Harvey," 28 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'support.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      First Known Use of SUPPORT
      14th century




      SUPPORT         Synonyms
      Synonyms
      brace, buttress, mount, mounting, prop, reinforcement, shore, spur, stay,
      underpinning

      Antonyms

                                        Financial Definition of SUPPORT
                                                                                                          IC-App-0578
https://www.merriam-webster.com/dictionary/support                                                                           6/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster



                                                        support
                                                                   noun

      What It Is
      In technical trading analysis, support is a lower limit in a price channel in which a
      security’s price tends to stay.


      How It Works
      Price channels can slope up (indicating bullish sentiment) or down (indicating
      bearish sentiment); they don’t have to simply go “sideways.” The important
      geometric characteristic is that the resistance lines (which are the opposite of
      support lines; they are the upper limits of the price channel) and support lines are
      parallel, as shown in this price channel for ChevronTexaco (CVX). The channel lines
      themselves are often based on multiday moving averages or logarithmic scales that
      reflect price movements in percentage terms. However, technical trading is as
      much an art as it is a science, and so one technical trader’s price channel might be
      different from another’s.


      When a stock’s price touches or goes below the support, this may signal a trend
      change, which is why the support level is very important to technical traders.




      Why It Matters

                                                                                                          IC-App-0579
https://www.merriam-webster.com/dictionary/support                                                                      7/17
9/18/2017                                            Support | Definition of Support by Merriam-Webster

      Price channels help tip traders off about trend changes in a stock or "unusual"
      activity when the price goes above or below the price channel lines (we call this a
      breakout). For example, a technical trader might buy when a stock hits the support
      level of an upward-sloping price channel; similarly, traders hope to be already out
      of a stock before it hits the support level on a downward-sloping price channel.


      Source: Investing Answers




                                           Phrases Related to SUPPORT


      Related Phrases
      in support of

      means of support

      moral support

      supporting cast

      technical/tech support

      visible means of support



                      SUPPORT Defined for English Language Learners



                                                     support
                                                                    verb

      Definition of SUPPORT for English Language Learners

      : to agree with or approve of (someone or something)

      : to show that you approve of (someone or something) by doing something

      : to give help or assistance to (someone or something)




                                                                                                          IC-App-0580
https://www.merriam-webster.com/dictionary/support                                                                      8/17
9/18/2017                                                   Support | Definition of Support by Merriam-Webster



                                                                support
                                                                          noun

      Definition of SUPPORT for English Language Learners

      : the act of showing that you believe that someone or something is good or
      acceptable : approval of someone or something

      : the act of helping someone by giving love, encouragement, etc.

      : help that is given in the form of money or other valuable things




                                              SUPPORT Defined for Kids


                                                        1   support
                                                verb | sup·port | \ sə-ˈpȯrt \

      Definition of SUPPORT for Students

      supported;            supporting

      1      : to hold up or in position : serve as a foundation or prop for
             the porch roof.
                                                                                                                 · Posts support
      2      : to take sides with :      · Which candidate do you support?
                                                FAVOR



      3      : to provide evidence for :      · They cannot support this claim.
                                                             VERIFY



      4      : to pay the costs of :        · His income supports a large family.
                                                     MAINTAIN



      5      : to keep going :       · There is not enough air to support life.
                                          SUSTAIN



      6      : to provide help or encouragement to · My friends supported me while I was
             sick.


             —supporter noun


                                                                                                                       IC-App-0581
https://www.merriam-webster.com/dictionary/support                                                                                   9/17
9/18/2017                                                Support | Definition of Support by Merriam-Webster



                                                           2   support
                                                                       noun

      Definition of SUPPORT for Students

      1      : the act of supporting : the condition of being supported

      2      : someone or something that supports




                                                     Medical Dictionary


                                                     1   support
                             transitive verb | sup·port | \ sə-ˈpō(ə)rt, -ˈpȯ(ə)rt \

      Medical Definition of SUPPORT

      1      : to hold up or serve as a foundation or prop for

      2      : to maintain in condition, action, or existence
             life
                                                                                          · support respiration · support


                                                           2   support
                                                                       noun

      Medical Definition of SUPPORT

      1      : the act or process of supporting : the condition of being supported
             · respiratory support

      2      :   SUPPORTER




                                                           Law Dictionary
                                                                                                                IC-App-0582
https://www.merriam-webster.com/dictionary/support                                                                            10/17
9/18/2017                                              Support | Definition of Support by Merriam-Webster




                                                         1   support
                                                     transitive verb | sup·port

      Legal Definition of SUPPORT

      1      a : to promote the interests or cause of
             b : to uphold or defend as valid or right
             c : to argue or vote for

      2      : to provide with substantiation or corroboration                               · support an alibi
      3      : to provide with the means of livelihood (as housing, food, or clothing)
             especially in accordance with an agreement or court order

      4      : to hold up or in position : maintain the physical integrity of
             one's land supported by the underlying land
                                                                                                            · the right to have


                                                         2   support
                                                                     noun

      Legal Definition of SUPPORT

      1      : the act or process of supporting : the condition of being supported
             the candidate their support
                                                                                                                    · pledged
      2      : a means of obtaining the necessities of life (as food, shelter, and clothing) : a
             source of livelihood especially in the form of alimony or child support

      3      : something that provides support




      Learn More about SUPPORT
      See words that rhyme with support
      Thesaurus: All synonyms and antonyms for support
                                                                                                                   IC-App-0583
https://www.merriam-webster.com/dictionary/support                                                                                11/17
9/18/2017                                               Support | Definition of Support by Merriam-Webster

      Spanish Central: Translation of support
      Nglish: Translation of support for Spanish speakers
      Britannica English: Translation of support for Arabic speakers




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   it (including the quote, if possible).

    SHOW 24 COMMENTS




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                                                     MERRIAM-WEBSTER UNABRIDGED




                                                           W O R D O F T H E D AY




                                                     amanuensis
                                           one employed to write from dictation


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                                                             TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
                                                                                                             IC-App-0584
https://www.merriam-webster.com/dictionary/support                                                                         12/17
9/18/2017                                             Support | Definition of Support by Merriam-Webster

            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                   SEE ALL



                                                      BROWSE DICTIONARY



     supply-side economics
     supply teacher

     support
     supportance
     supportation



                                                     TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  murky                                                              cavernous

                                  joyous                                                               archaic



    Name That          Test your visual vocabulary with our 10-question challenge!
    Thing              TA K E T H E Q U I Z




    Word        Test Your Knowledge - and learn some interesting things along the way.
    Winder's    TA K E T H E Q U I Z
    CrossWinder
                                                                                                                 IC-App-0585
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9/18/2017                                              Support | Definition of Support by Merriam-Webster




                                                          W O R D S AT P L AY



                                                           alt-59bad350d88f1




                                                     Welcome to the New Words
                                                     From 'hive mind' to 'sriracha'




                                                            image2143067130




                                                 9 Slang Words With Academic
                                                           Origins
                                                           Class is in session.




                                                             image624847743




                                                                                                            IC-App-0586
https://www.merriam-webster.com/dictionary/support                                                                        14/17
9/18/2017                                                Support | Definition of Support by Merriam-Webster

                                                       8 Foods Named After Real
                                                                People
                                                         A delicious collection of
                                                            eponymous foods




                                                          ASK THE EDITORS



                                                     video-title-words-of-the-year-1066




                                                        Words of the Year: 1066
                                                     Or, Why Pig Meat is Called 'Pork'
                                                      and Cow Meat is Called 'Beef'



                                                                       payday




                                                       How Often Is 'Biweekly'?
                                                         Don't get us started on
                                                               'bimonthly'



                                                 video-irregardless-grammar-peeve-
                                                 blend-of-the-synonyms-irrespective-
                                                            and-regardless



                                                                                                              IC-App-0587
https://www.merriam-webster.com/dictionary/support                                                                          15/17
9/18/2017                                                Support | Definition of Support by Merriam-Webster




                                                                 Irregardless
                                                     It is in fact a real word (but that
                                                     doesn't mean you should use it).




                                                              WORD GAMES



                                                     stylized-drawing-of-woman-pole-
                                                     vaulting-across-gap-to-get-trophy




                                                     Challenging Vocabulary Quiz
                                                              Returns!
                                                      No tricks, just difficult words.

                                                                 TA K E T H E Q U I Z




                                                            name-that-color-logo




                                                             Name that Color!
                                                      NEW! Additional colors! More
                                                         obscure than before!
                                                                 TA K E T H E Q U I Z




                                                               Name That Thing

                                                                                                              IC-App-0588
https://www.merriam-webster.com/dictionary/support                                                                          16/17
9/18/2017                                                Support | Definition of Support by Merriam-Webster




                                                            Name That Thing
                                                     Test your visual vocabulary with
                                                       our 10-question challenge!
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                                                           LEARNER'S ESL DICTIONARY

                                                            WORDCENTRAL FOR KIDS

                                                                VISUAL DICTIONARY

                                                            SCRABBLE ® WORD FINDER

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                                                     NGLISH - SPANISH-ENGLISH TRANSLATION



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     Browse the Dictionary: A B C D E F G H I J K L M N O P Q R S T U V W X Y Z 0-9



                                                                                                              IC-App-0589
https://www.merriam-webster.com/dictionary/support                                                                          17/17
Exhibit P
9/18/2017                                                Centerline | Definition of Centerline by Merriam-Webster


                SINCE 1828        MENU




                                                    centerline
                                            noun | cen·ter·line | \ -ˈlīn , -ˌlīn \

                                                        Popularity: Bottom 30% of words




      Definition of CENTERLINE
      : a real or imaginary line that is equidistant from the surface or sides of something

      NEW! Time Traveler
      First Known Use: 1807
      SEE WORDS FROM THE SAME YEAR




      See centerline defined for kids



                                                  Read the Latest from M-W




             Welcome to the New                            Challenging                          Trending: 'Bodega'       9 Slang W
                  Words                                  Vocabulary Quiz                          Startup Draws           Academ
                                                            Returns!                            Criticism, Mockery



                                                                                                                     IC-App-0590
https://www.merriam-webster.com/dictionary/centerline                                                                                1/7
9/18/2017                                               Centerline | Definition of Centerline by Merriam-Webster




      Recent Examples of CENTERLINE from the Web
      On the centerline of the eclipse path, the totality (the time the sun is totally eclipsed
      by the moon) will last a maximum of 2 minutes and 40 seconds.
            — Vincent Crampton, OrlandoSentinel.com, "Staring at the sun? Get some eclipse glasses," 16
              Aug. 2017

      The motorcyclist was driving a Kawasaki east on U.S. 20 near milepost 93 when a
      2015 Nissan Altima traveling the opposite direction drifted across the centerline,
      Capt.
            — Carli Brosseau, OregonLive.com, "Motorcyclist from Hillsboro dies from injuries in crash
              with car," 29 July 2017

      The only fatal accident on the highway north of Turnagain Pass this year happened
      on March 6 — a 27-year-old Nikiski man was killed when his pickup truck crossed the
      centerline, hit a power pole and flipped at Mile 81, near Portage.
            — Michelle Theriault Boots, Alaska Dispatch News, "What you need to know about Seward
              Highway crashes, closures and delays this summer," 13 July 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'centerline.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
      Send us feedback.




      First Known Use of CENTERLINE
      1807




                                                                                                                   IC-App-0591
https://www.merriam-webster.com/dictionary/centerline                                                                            2/7
9/18/2017                                               Centerline | Definition of Centerline by Merriam-Webster



      Learn More about CENTERLINE
      See words that rhyme with centerline
      Britannica English: Translation of centerline for Arabic speakers




   Seen and Heard
   What made you want to look up centerline? Please tell us where you read or
   heard it (including the quote, if possible).

    SHOW 3 COMMENTS




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                                                             W O R D O F T H E D AY




                                                    amanuensis
                                            one employed to write from dictation


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                                                                TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."
                                                                                                                   IC-App-0592
https://www.merriam-webster.com/dictionary/centerline                                                                            3/7
9/18/2017                                               Centerline | Definition of Centerline by Merriam-Webster

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                        SEE ALL



                                                           BROWSE DICTIONARY



     center jump
     centerless grinder

     centerline
     centerman
     centermost


                                                        TEST YOUR VOCABULARY



                                             Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                       Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  archaic                                                                    joyous

                                cavernous                                                                    murky



    How                Test your vocabulary with our 10-question quiz!
    Strong Is           TA K E T H E Q U I Z
    Your
    Vocabulary?
    Add                Test Your Knowledge - and learn some interesting things along the way.
    Diction             TA K E T H E Q U I Z
                                                                                                                      IC-App-0593
https://www.merriam-webster.com/dictionary/centerline                                                                               4/7
9/18/2017                                                Centerline | Definition of Centerline by Merriam-Webster




                                                              W O R D S AT P L AY



                                                                alt-59bad350d88f1




                                                        Welcome to the New Words
                                                        From 'hive mind' to 'sriracha'




                                                                image2143067130




                                                  9 Slang Words With Academic
                                                            Origins
                                                               Class is in session.




                                                                 image624847743




                                                                                                                    IC-App-0594
https://www.merriam-webster.com/dictionary/centerline                                                                             5/7
9/18/2017                                               Centerline | Definition of Centerline by Merriam-Webster

                                                        8 Foods Named After Real
                                                                 People
                                                          A delicious collection of
                                                             eponymous foods




                                                            ASK THE EDITORS



                                                   video-title-words-of-the-year-1066




                                                         Words of the Year: 1066
                                                   Or, Why Pig Meat is Called 'Pork'
                                                    and Cow Meat is Called 'Beef'



                                                                        payday




                                                        How Often Is 'Biweekly'?
                                                           Don't get us started on
                                                                 'bimonthly'



                                                  video-irregardless-grammar-peeve-
                                                  blend-of-the-synonyms-irrespective-
                                                             and-regardless



                                                                                                                   IC-App-0595
https://www.merriam-webster.com/dictionary/centerline                                                                            6/7
9/18/2017                                                Centerline | Definition of Centerline by Merriam-Webster




                                                                   Irregardless
                                                  It is in fact a real word (but that
                                                  doesn't mean you should use it).




                                                                 WORD GAMES



                                                    stylized-drawing-of-woman-pole-
                                                    vaulting-across-gap-to-get-trophy




                                                   Challenging Vocabulary Quiz
                                                            Returns!
                                                        No tricks, just difficult words.

                                                                   TA K E T H E Q U I Z




                                                               name-that-color-logo




                                                               Name that Color!
                                                        NEW! Additional colors! More
                                                           obscure than before!
                                                                   TA K E T H E Q U I Z




                                                        How Strong Is Your Vocabulary?

                                                                                                                    IC-App-0596
https://www.merriam-webster.com/dictionary/centerline                                                                             7/7
Exhibit Q
9/18/2017                                                 Along | Definition of Along by Merriam-Webster


                 SINCE 1828       MENU




                                                           1
                                                               along
                                                        preposition | \ ə-ˈlȯŋ \

                                                    Popularity: Bottom 40% of words



      Examples: ALONG in a Sentence 




      Definition of ALONG

      1      : in a line matching the length or direction of                           · walking along the road; also :                   at

                                              ·
             a point or points on a house along the river

      2      : in the course of
                                · made stops along the way
      3      :   in accordance with :
                                      · a new agreement along the lines of the first
                                                   IN



      NEW! Time Traveler
      First Known Use: before 12th century
      SEE WORDS FROM THE SAME YEAR




      See along defined for English-language learners                                       L E A R N M O R E F RO M M -W

      See along defined for kids                                                                                   Trending: 'Bodega'
                                                                                                                   Startup Draws
                                                                                                                   Criticism,
                                                                                                                   Mockery
                                                   Explore Merriam-Webster

                                                                                                                            IC-App-0597
https://www.merriam-webster.com/dictionary/along                                                                                               1/11
9/18/2017                                          Along | Definition of Along by Merriam-Webster




      Examples of ALONG in a Sentence
      We walked along the beach.

      The chairs were lined up along the wall.

      The ship sailed along the coast.

      We drove to Boston and we stopped along the way for lunch.




        My Stylist
        —
        SHE GETS ME
        READY FOR WORK.
        No subscriptions. Free shipping & returns.




      Origin and Etymology of ALONG
      Middle English, from Old English andlang, from and- against + lang long — more at
      ANTE -

                                                                                                    IC-App-0598
https://www.merriam-webster.com/dictionary/along                                                                  2/11
9/18/2017                                           Along | Definition of Along by Merriam-Webster




                                                        2   along
                                                               adverb

      Definition of ALONG

      1      :             · move along
                 FORWARD , ON



      2      : from one to another · word was passed along

      3      a : in company : as a companion · brought his wife along —often used with with
             · walked to school along with her friends
             b : in association —used with with · work along with colleagues

      4      a : sometime within a specified or implied extent of time —usually used with
                       ·
             about along about July 17
             b : at or to an advanced point · plans are far along
      5      : in addition :    —usually used with with · a bill came along with the package
                                     ALSO



      6      : at hand : as a necessary or useful item · brought an extra one along · had his
             gun along

      7      : on hand :         THERE
                                         · tell him I'll be along to see him
      See along defined for English-language learners




      Examples of ALONG in a Sentence
      We walked along beside the road.

      I was just walking along, minding my own business.

      The police told the people in the crowd to move along.
                                                                                                     IC-App-0599
https://www.merriam-webster.com/dictionary/along                                                                   3/11
9/18/2017                                          Along | Definition of Along by Merriam-Webster

      We looked at the houses as we drove along.

      Plans for a new stadium are already pretty far along.




      Recent Examples of ALONG from the Web
      His wife and 15-year-old son had fled along with nearly everyone else on Ruby Allen
      Street, a line of trailer homes on a 10-foot rise three miles from the Gulf of Mexico.
            — Washington Post, "Sam Speights’ desperate effort to stay alive during Harvey," 28 Aug.
              2017

      Provide ongoing training for individual churches along with a systematic program in
      leadership development to create, maintain and sustain community mobilization.
            — Carole Carlson, Post-Tribune, "Seeking divine intervention in Gary's violent streets," 26
              Aug. 2017

      Host Mike Drucker and comedians like Adam Conover and Zoe Quinn will—along with
      audience members!—play and make fun of terrible video games including (but not
      limited to) Shaq Fu, and Bible Adventures.
            — Marielle Wakim, Los Angeles Magazine, "These Are the 5 Best Things to Do in L.A. This
              Weekend," 25 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'along.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      First Known Use of ALONG
      14th century




      ALONG       Synonyms
      Synonyms
                                                                                                          IC-App-0600
https://www.merriam-webster.com/dictionary/along                                                                            4/11
9/18/2017                                              Along | Definition of Along by Merriam-Webster

      ahead, forth, forward, forwards, on, onward (also onwards)

      Related Words


                         ALONG Defined for English Language Learners



                                                           along
                                                              preposition

      Definition of ALONG for English Language Learners

      : in a line matching the length or direction of (something)

      : at a point on (something)




                                                             along
                                                                  adverb

      Definition of ALONG for English Language Learners

      : in a forward direction

      : at or to an advanced point

      : at a particular place : here or there




                                                   ALONG Defined for Kids


                                                       1   along
                                                     preposition | \ ə-ˈlȯŋ \

      Definition of ALONG for Students
                                                                                                        IC-App-0601
https://www.merriam-webster.com/dictionary/along                                                                      5/11
9/18/2017                                              Along | Definition of Along by Merriam-Webster

      1      : on or near in a lengthwise direction                    · Walk along the trail.
      2      : at a point on         · He stopped along the way.

                                                           2   along
                                                                  adverb

      Definition of ALONG for Students

      1      : farther forward or on               · Move along.
      2      : as a companion, associate, or useful item                         · I brought a friend along.
      3      : at an advanced point                · The project is pretty well along.
             —all along
             : all the time      · I knew it was you all along.

      Learn More about ALONG
      See words that rhyme with along
      Thesaurus: All synonyms and antonyms for along
      Spanish Central: Translation of along
      Nglish: Translation of along for Spanish speakers
      Britannica English: Translation of along for Arabic speakers




   Seen and Heard
   What made you want to look up along? Please tell us where you read or heard it
   (including the quote, if possible).

    SHOW 4 COMMENTS
                                                                                                           IC-App-0602
https://www.merriam-webster.com/dictionary/along                                                                         6/11
9/18/2017                                              Along | Definition of Along by Merriam-Webster




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                                                        W O R D O F T H E D AY




                                                   amanuensis
                                           one employed to write from dictation


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                                                          TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                  SEE ALL




                                                      BROWSE DICTIONARY


                                                                                                        IC-App-0603
https://www.merriam-webster.com/dictionary/along                                                                      7/11
9/18/2017                                              Along | Definition of Along by Merriam-Webster



     alonely
     alone time

     along
     along about
     along for the ride



                                                    TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  joyous                                                            cavernous

                                  murky                                                                 archaic



    Name That          Test your visual vocabulary with our 10-question challenge!
    Thing              TA K E T H E Q U I Z




    Word        Test Your Knowledge - and learn some interesting things along the way.
    Winder's    TA K E T H E Q U I Z
    CrossWinder




                                                        W O R D S AT P L AY



                                                         alt-59bad350d88f1




                                                                                                                  IC-App-0604
https://www.merriam-webster.com/dictionary/along                                                                                8/11
9/18/2017                                               Along | Definition of Along by Merriam-Webster

                                                    Welcome to the New Words
                                                    From 'hive mind' to 'sriracha'




                                                           image2143067130




                                                   9 Slang Words With Academic
                                                             Origins
                                                          Class is in session.




                                                            image624847743




                                                    8 Foods Named After Real
                                                             People
                                                       A delicious collection of
                                                          eponymous foods




                                                        ASK THE EDITORS



                                                   video-title-words-of-the-year-1066




                                                                                                         IC-App-0605
https://www.merriam-webster.com/dictionary/along                                                                       9/11
9/18/2017                                                Along | Definition of Along by Merriam-Webster




                                                      Words of the Year: 1066
                                                   Or, Why Pig Meat is Called 'Pork'
                                                    and Cow Meat is Called 'Beef'



                                                                     payday




                                                      How Often Is 'Biweekly'?
                                                        Don't get us started on
                                                              'bimonthly'



                                                   video-irregardless-grammar-peeve-
                                                   blend-of-the-synonyms-irrespective-
                                                              and-regardless




                                                               Irregardless
                                                   It is in fact a real word (but that
                                                   doesn't mean you should use it).




                                                            WORD GAMES



                                                    stylized-drawing-of-woman-pole-
                                                    vaulting-across-gap-to-get-trophy

                                                                                                          IC-App-0606
https://www.merriam-webster.com/dictionary/along                                                                        10/11
9/18/2017                                               Along | Definition of Along by Merriam-Webster




                                                   Challenging Vocabulary Quiz
                                                            Returns!
                                                    No tricks, just difficult words.

                                                              TA K E T H E Q U I Z




                                                         name-that-color-logo




                                                          Name that Color!
                                                    NEW! Additional colors! More
                                                       obscure than before!
                                                              TA K E T H E Q U I Z




                                                            Name That Thing




                                                         Name That Thing
                                                   Test your visual vocabulary with
                                                     our 10-question challenge!
                                                              TA K E T H E Q U I Z




                         Learn a new word every day. Delivered to your inbox!
                                                                                                         IC-App-0607
https://www.merriam-webster.com/dictionary/along                                                                       11/11
Exhibit R
9/18/2017                                             Adjacent | Definition of Adjacent by Merriam-Webster


               SINCE 1828         MENU




                                                      adjacent
                                          adjective | ad·ja·cent | \ ə-ˈjā-sᵊnt \

                                                      Popularity: Top 20% of words



      Tip: Synonym Guide 


      Examples: ADJACENT in a Sentence 




      Definition of ADJACENT

      1      a : not distant :    · the city and adjacent suburbs
                                        NEARBY

             b : having a common endpoint or border · adjacent lots · adjacent sides of a
             triangle
             c : immediately preceding or following

      2      of two angles : having the vertex and one side in common


             —adjacently adverb

      NEW! Time Traveler
      First Known Use: 15th century
      SEE WORDS FROM THE SAME YEAR




      See adjacent defined for English-language learners

      See adjacent defined for kids
                                                                                                             IC-App-0608
https://www.merriam-webster.com/dictionary/adjacent                                                                        1/9
9/18/2017                                             Adjacent | Definition of Adjacent by Merriam-Webster




                                                 Read the Latest from M-W




      Examples of ADJACENT in a Sentence
      The Harrimans owned two large adjacent houses on N Street, one for themselves and
      one for Averell Harriman's pictures. —Larry McMurtry, New York Times Review of
      Books, 23 Oct. 2003

      Hearing unexpected chords was linked to magnetic activity in a left-brain region
      known as Broca's area and in adjacent right-brain tissue. —Bruce Bower, Science
      News, 5 May 2001

      The hallways, especially those adjacent to the satellite phone, were crowded with
      journalists, avid to cover the Taliban takeover … —Michael Ignatieff, New Yorker, 24
      Mar. 1997

      Digging further in that spot and five adjacent areas, they retrieved 19 skulls, five
      eggs, over 150 jaws and hundreds of teeth, limbs and bone bits. —Natalie Angier,
      Time, 8 Oct. 1984

      their house is adjacent to a wooded park



                                                                                                             IC-App-0609
https://www.merriam-webster.com/dictionary/adjacent                                                                        2/9
9/18/2017                                             Adjacent | Definition of Adjacent by Merriam-Webster




      Recent Examples of ADJACENT from the Web
      The agency’s latest project, the LAX-adjacent Crenshaw Line, is moving at a steady,
      speedy clip.
            — Neal Broverman, Los Angeles Magazine, "The Crenshaw Line Is Taking Shape, and Suddenly
              2019 Can’t Get Here Fast Enough," 24 Aug. 2017

      The building’s common-area terraces are adjacent to the High Line, though there is
      no private access to the park.
            — Matt Gross, Bloomberg.com, "Live in Zaha Hadid's Undulating High Line Building for
              $22,500 a Month," 22 Aug. 2017

      However, those hoping the outdoor theme park might be adjacent to Disney World in
      Orlando or Disneyland in Anaheim will be disappointed.
            — Devon Ivie, Teen Vogue, "A "Hunger Games" and "Twilight" Theme Park Is Actually
              Happening," 16 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'adjacent.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors.
      Send us feedback.




      Origin and Etymology of ADJACENT
      Middle English, from Anglo-French or Latin; Anglo-French, ajesaunt, from Latin
      adjacent-, adjacens, present participle of adjacēre to lie near, from ad- + jacēre to lie;
      akin to Latin jacere to throw — more at JET




      ADJACENT          Synonyms
      Synonyms
      abutting, adjoining, bordering, conterminous, contiguous, flanking, flush, fringing,
      joining, juxtaposed, neighboring, skirting, touching, verging
                                                                                                             IC-App-0610
https://www.merriam-webster.com/dictionary/adjacent                                                                         3/9
9/18/2017                                               Adjacent | Definition of Adjacent by Merriam-Webster

      Antonyms



      Synonym Discussion of ADJACENT
      ADJACENT , ADJOINING , CONTIGUOUS , JUXTAPOSED
                                          mean being in close proximity. ADJACENT may or
      may not imply contact but always implies absence of anything of the same kind in

                ·
      between. ⟨ a house with an adjacent garage ⟩                               ADJOINING     definitely implies meeting and
      touching at some point or line. ⟨ · had adjoining rooms at the hotel ⟩
      implies having contact on all or most of one side. ⟨ · offices in all 48 contiguous
                                                                                                               CONTIGUOUS



      states ⟩          means placed side by side especially so as to permit comparison
                  JUXTAPOSED

      and contrast. ⟨ · a skyscraper juxtaposed to a church ⟩




                     ADJACENT Defined for English Language Learners



                                                       adjacent
                                                                    adjective

      Definition of ADJACENT for English Language Learners

      : close or near : sharing a border, wall, or point




                                             ADJACENT Defined for Kids



                                                       adjacent
                                          adjective | ad·ja·cent | \ ə-ˈjā-sᵊnt \

      Definition of ADJACENT for Students

      : next to or near something                     · My sister sleeps in the adjacent room.
                                                                                                                     IC-App-0611
https://www.merriam-webster.com/dictionary/adjacent                                                                                4/9
9/18/2017                                              Adjacent | Definition of Adjacent by Merriam-Webster


      Learn More about ADJACENT
      See words that rhyme with adjacent
      Thesaurus: All synonyms and antonyms for adjacent
      Spanish Central: Translation of adjacent
      Nglish: Translation of adjacent for Spanish speakers
      Britannica English: Translation of adjacent for Arabic speakers




   Seen and Heard
   What made you want to look up adjacent? Please tell us where you read or
   heard it (including the quote, if possible).

    SHOW 20 COMMENTS




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                                                           W O R D O F T H E D AY




                                                      amanuensis
                                           one employed to write from dictation


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https://www.merriam-webster.com/dictionary/adjacent                                                                         5/9
9/18/2017                                             Adjacent | Definition of Adjacent by Merriam-Webster

       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                    SEE ALL



                                                       BROWSE DICTIONARY



     adjacency
     adjacency effect

     adjacent
     adjag
     adject



                                                      TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  murky                                                                 archaic

                                cavernous                                                               joyous



    Name That          Test your visual vocabulary with our 10-question challenge!
    Thing              TA K E T H E Q U I Z


                                                                                                                  IC-App-0613
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9/18/2017                                               Adjacent | Definition of Adjacent by Merriam-Webster

    Word        Test Your Knowledge - and learn some interesting things along the way.
    Winder's    TA K E T H E Q U I Z
    CrossWinder




                                                            W O R D S AT P L AY



                                                             alt-59bad350d88f1




                                                      Welcome to the New Words
                                                      From 'hive mind' to 'sriracha'




                                                              image2143067130




                                                 9 Slang Words With Academic
                                                           Origins
                                                             Class is in session.




                                                               image624847743




                                                                                                               IC-App-0614
https://www.merriam-webster.com/dictionary/adjacent                                                                          7/9
9/18/2017                                              Adjacent | Definition of Adjacent by Merriam-Webster




                                                      8 Foods Named After Real
                                                               People
                                                        A delicious collection of
                                                           eponymous foods




                                                         ASK THE EDITORS



                                                  video-title-words-of-the-year-1066




                                                       Words of the Year: 1066
                                                  Or, Why Pig Meat is Called 'Pork'
                                                   and Cow Meat is Called 'Beef'



                                                                      payday




                                                      How Often Is 'Biweekly'?
                                                        Don't get us started on
                                                              'bimonthly'



                                                 video-irregardless-grammar-peeve-
                                                 blend-of-the-synonyms-irrespective-
                                                            and-regardless
                                                                                                              IC-App-0615
https://www.merriam-webster.com/dictionary/adjacent                                                                         8/9
9/18/2017                                                Adjacent | Definition of Adjacent by Merriam-Webster




                                                                  Irregardless
                                                  It is in fact a real word (but that
                                                  doesn't mean you should use it).




                                                               WORD GAMES



                                                      stylized-drawing-of-woman-pole-
                                                      vaulting-across-gap-to-get-trophy




                                                  Challenging Vocabulary Quiz
                                                           Returns!
                                                      No tricks, just difficult words.

                                                                  TA K E T H E Q U I Z




                                                             name-that-color-logo




                                                              Name that Color!
                                                      NEW! Additional colors! More
                                                         obscure than before!
                                                                  TA K E T H E Q U I Z




                                                                                                                IC-App-0616
https://www.merriam-webster.com/dictionary/adjacent                                                                           9/9
Exhibit S
9/18/2017                                             Remote | Definition of Remote by Merriam-Webster


                 SINCE 1828      MENU




                                                      1
                                                          remote
                                             adjective | re·mote | \ ri-ˈmōt \

                                                     Popularity: Top 40% of words



      Examples: REMOTE in a Sentence 




      Definition of REMOTE

      remoter;          remotest

      1      : separated by an interval or space greater than usual
             from the flower
                                                                                                  · an involucre remote
      2      : far removed in space, time, or relation :                       DIVERGENT
                                                                                             · the remote past
             · comments remote from the truth

      3      :   OUT - OF - THE - WAY , SECLUDED
                                                    · a remote cabin in the hills
      4      : acting, acted on, or controlled indirectly or from a distance remote computer
             operation ; also : relating to the acquisition of information about a distant object
                                                                                                         ·
             (as by radar or photography) without coming into physical contact with it
             · remote sensing

      5      : not arising from a primary or proximate action

      6      : small in degree :
             was going on
                                            SLIGHT
                                                     · a remote possibility · hadn't the remotest idea of what
             : distant in manner :              ALOOF                                                            IC-App-0617
https://www.merriam-webster.com/dictionary/remote                                                                              1/12
9/18/2017                                           Remote | Definition of Remote by Merriam-Webster

      7
             —remotely adverb

             —remoteness noun



      See remote defined for English-language learners

      See remote defined for kids



                                             Indulge Your Inner Word Nerd




      Examples of REMOTE in a Sentence
      She enjoys reading about remote lands.

      The mission is to transport medical supplies to remote areas of the globe.

      a tradition that dates back to remote antiquity

      an invention that may be available in the remote future

      There is a remote possibility that I'll be free Friday night.



                                                                                                       IC-App-0618
https://www.merriam-webster.com/dictionary/remote                                                                    2/12
9/18/2017                                           Remote | Definition of Remote by Merriam-Webster




      Recent Examples of REMOTE from the Web
      The cool, remote Prince of Wales may be weeping over the death of his former wife,
      Princess Diana, if tabloid tales are true, but the British public appears to be oddly
      unmoved by his sorrow.
            — Jennifer Amur, Washington Post, "How Britain and the world mourned Diana, the ‘People’s
              Princess,’ over 8 days in 1997," 31 Aug. 2017

      And even though extended, remote social networks are more accessible than ever for
      anyone with an internet connection, proximity still makes a difference.
            — Julie Beck, The Atlantic, "How Friends Become Closer," 29 Aug. 2017

      Two remote keyless transmitters (fobs) can be programmed with driver’s seat and
      mirror memory for two drivers to position the seat and mirrors when the door is
      unlocked using the fob.
            — Emma Jayne Williams, star-telegram, "New GMC Acadia Denali version gives this SUV the
              royal treatment," 25 Aug. 2017




      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'remote.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      Origin and Etymology of REMOTE
      Middle English, from Latin remotus, from past participle of removēre to remove




      REMOTE        Synonyms
      Synonyms
      fragile, frail, negligible, off, outside, slight, slim, small
                                                                                                          IC-App-0619
https://www.merriam-webster.com/dictionary/remote                                                                           3/12
9/18/2017                                           Remote | Definition of Remote by Merriam-Webster

      Antonyms
      good




                                                       2   remote
                                                                  noun

      Definition of REMOTE

      1      : a radio or television program or a portion of a program originating outside the
             studio

      2      :   REMOTE CONTROL       2



      See remote defined for English-language learners




      Recent Examples of REMOTE from the Web
      This model from Joby ($27) has flexible legs with magnetic bases, a mounting that
      will accommodate both iPhone and Android models, along with a Bluetooth shutter
      remote.
            — Martha C. White, PEOPLE.com, "Procrastinators: Here’s How to Get Solar Eclipse Glasses at
              the Last Minute," 17 Aug. 2017

      Malaysia, Australia and China suspended a nearly three-year search in the southern
      Indian Ocean in January after scouring 120,000 square kilometers (46,000 square
      miles) of remote seabed and failing to find any trace of Malaysia Airlines Flight 370.
            — Bloomberg.com, "U.S. Company Offers to Take Financial Risk of New MH370 Search," 11
              Aug. 2017

      Remote is an understatement when describing Tromvik—the town has no
      restaurants, cafés, or any shops at all, really.
            — Elise Taylor, Vogue, "Happy Birthday, Meghan Markle! A Look Back at the Suits Star and
              Prince Harry’s Most Swoon-Worthy Relationship Moments," 4 Aug. 2017




                                                                                                       IC-App-0620
https://www.merriam-webster.com/dictionary/remote                                                                    4/12
9/18/2017                                           Remote | Definition of Remote by Merriam-Webster

      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'remote.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      First Known Use of REMOTE
      1937




      Other Broadcasting Terms
      continuity, dissolve, fade, feed, residual, spike, wipe




                                            Phrases Related to REMOTE


      Related Phrases
      a remote chance

      remote access

      remote sensing



                       REMOTE Defined for English Language Learners



                                                     remote
                                                               adjective

      Definition of REMOTE for English Language Learners

      : far away
                                                                                                          IC-App-0621
https://www.merriam-webster.com/dictionary/remote                                                                           5/12
9/18/2017                                            Remote | Definition of Remote by Merriam-Webster

      : far away from other people, houses, cities, etc.

      : far away in time : happening a long time ago or far into the future




                                               REMOTE Defined for Kids


                                                     1   remote
                                             adjective | re·mote | \ ri-ˈmōt \

      Definition of REMOTE for Students

      remoter;          remotest

      1      : far off in place or time             · remote countries · the remote past
      2      :   SECLUDED
                           · a remote valley
                             1

      3      :   small in degree · a remote possibility

      4      : distant in manner :              ALOOF



      5      : not closely connected or related                  · remote ancestors
             —remotely adverb

             —remoteness noun




                                                         2   remote
                                                                   noun

      Definition of REMOTE for Students

      :   REMOTE CONTROL         1




                                                         Law Dictionary                                 IC-App-0622
https://www.merriam-webster.com/dictionary/remote                                                                     6/12
9/18/2017                                           Remote | Definition of Remote by Merriam-Webster




                                                        remote
                                                    adjective | re·mote

      Legal Definition of REMOTE

      remoter;          remotest

      1      a : far removed in space, time, or relation                     · ancestors of a more remote degree
             b : exceeding the time allowed under the rule against perpetuities for the
             vesting of interests

                 · Grove,
                   the residuary clause…violates the rule against remote vesting —Estate of
                          70 Cal. App. 3d 355 (1977)
             ; also : being in violation of the rule against perpetuities
             estate
                                                                                                       · a remote contingent
      2      : acting, acted on, or controlled indirectly or from a distance

      3      a : not proximate or acting directly
             b : not arising from the effect of that which is proximate

      4      : small in degree           · a remote possibility of paternity
             —remotely adverb

             —remoteness noun




      Learn More about REMOTE
      See words that rhyme with remote
      Thesaurus: All synonyms and antonyms for remote
      Spanish Central: Translation of remote
      Nglish: Translation of remote for Spanish speakers
      Britannica English: Translation of remote for Arabic speakers




                                                                                                                   IC-App-0623
https://www.merriam-webster.com/dictionary/remote                                                                                7/12
9/18/2017                                              Remote | Definition of Remote by Merriam-Webster




   Seen and Heard
   What made you want to look up remote? Please tell us where you read or heard
   it (including the quote, if possible).

    SHOW 14 COMMENTS




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            Subscribe to America's largest dictionary and get thousands more definitions and
                                       advanced search—ad free!

                                                    MERRIAM-WEBSTER UNABRIDGED




                                                          W O R D O F T H E D AY




                                                    amanuensis
                                          one employed to write from dictation


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                                                            TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind                                                                                          IC-App-0624
https://www.merriam-webster.com/dictionary/remote                                                                       8/12
9/18/2017                                             Remote | Definition of Remote by Merriam-Webster

            To take away; cancel; repeal


                                                                   SEE ALL



                                                      BROWSE DICTIONARY



     remorseful
     remorseless

     remote
     remote access
     remote control



                                                    TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                 archaic                                                             murky

                               cavernous                                                             joyous



    How               Test your vocabulary with our 10-question quiz!
    Strong Is          TA K E T H E Q U I Z
    Your
    Vocabulary?
    Add               Test Your Knowledge - and learn some interesting things along the way.
    Diction            TA K E T H E Q U I Z




                                                         W O R D S AT P L AY



                                                                                                              IC-App-0625
https://www.merriam-webster.com/dictionary/remote                                                                           9/12
9/18/2017                                              Remote | Definition of Remote by Merriam-Webster

                                                           alt-59bad350d88f1




                                                     Welcome to the New Words
                                                     From 'hive mind' to 'sriracha'




                                                            image2143067130




                                                    9 Slang Words With Academic
                                                              Origins
                                                           Class is in session.




                                                             image624847743




                                                     8 Foods Named After Real
                                                              People
                                                       A delicious collection of
                                                          eponymous foods




                                                                                                          IC-App-0626
https://www.merriam-webster.com/dictionary/remote                                                                       10/12
9/18/2017                                               Remote | Definition of Remote by Merriam-Webster




                                                          ASK THE EDITORS



                                                    video-title-words-of-the-year-1066




                                                       Words of the Year: 1066
                                                    Or, Why Pig Meat is Called 'Pork'
                                                     and Cow Meat is Called 'Beef'



                                                                     payday




                                                       How Often Is 'Biweekly'?
                                                         Don't get us started on
                                                               'bimonthly'



                                                    video-irregardless-grammar-peeve-
                                                    blend-of-the-synonyms-irrespective-
                                                               and-regardless




                                                               Irregardless
                                                    It is in fact a real word (but that
                                                    doesn't mean you should use it).

                                                                                                           IC-App-0627
https://www.merriam-webster.com/dictionary/remote                                                                        11/12
9/18/2017                                              Remote | Definition of Remote by Merriam-Webster




                                                            WORD GAMES



                                                    stylized-drawing-of-woman-pole-
                                                    vaulting-across-gap-to-get-trophy




                                                    Challenging Vocabulary Quiz
                                                             Returns!
                                                     No tricks, just difficult words.

                                                              TA K E T H E Q U I Z




                                                          name-that-color-logo




                                                           Name that Color!
                                                     NEW! Additional colors! More
                                                        obscure than before!
                                                              TA K E T H E Q U I Z




                                                     How Strong Is Your Vocabulary?




                                                                                                          IC-App-0628
https://www.merriam-webster.com/dictionary/remote                                                                       12/12
Exhibit T
9/18/2017                                              Bevel | Definition of Bevel by Merriam-Webster




               SINCE 1828         MENU
                                                        1
                                                            bevel
                                               adjective | bev·el | \ ˈbe-vəl \

                                                   Popularity: Bottom 40% of words



      Examples: BEVEL in a Sentence 




      Definition of BEVEL
      :   OBLIQUE , BEVELED
                                · a bevel edge
      NEW! Time Traveler
      First Known Use: 1609
      SEE WORDS FROM THE SAME YEAR




                                                   From the M-W Editors




                 Challenging                       Words of the Year:                   Welcome to the New       Trendin
               Vocabulary Quiz                           1066                                Words                 Startu
                  Returns!                                                                                       Criticism




                                                                                                             IC-App-0629
https://www.merriam-webster.com/dictionary/bevel                                                                             1/11
9/18/2017                                          Bevel | Definition of Bevel by Merriam-Webster




      First Known Use of BEVEL
      1609




                                                        2   bevel
                                                               noun

      Definition of BEVEL

      1      : an instrument consisting of two rules or arms jointed together and opening to
             any angle for drawing angles or adjusting surfaces to be cut at an angle

      2      a : the angle that one surface or line makes with another when they are not at
             right angles
             b : the slant of such a surface or line
             c : the surface or line at such a slant or inclination

      3      : the part of printing type extending from face to shoulder



      See bevel defined for English-language learners

      See bevel defined for kids




      Examples of BEVEL in a Sentence                                                               IC-App-0630
https://www.merriam-webster.com/dictionary/bevel                                                                  2/11
9/18/2017                                          Bevel | Definition of Bevel by Merriam-Webster

      the bevel of the mirror




      Recent Examples of BEVEL from the Web
      Because of the shape of the seat, most of the slats require bevels on one or both
      edges.
            — Neal Barrett, Popular Mechanics, "How to Build an Adirondack Chair and Table," 21 Mar.
              2017

      These example sentences are selected automatically from various online news sources to reflect current usage of the
      word 'bevel.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      Illustration of BEVEL




      Origin and Etymology of BEVEL
      Middle French *bevel, from Old French *baivel, from baïf with open mouth, from baer
      to yawn — more at ABEYANCE




      Other Hardware Terms
      adze, auger, awl, chock, ferrule, punch, tang




                                                          b                  l
                                                                                                          IC-App-0631
https://www.merriam-webster.com/dictionary/bevel                                                                            3/11
9/18/2017                                           Bevel | Definition of Bevel by Merriam-Webster


                                                         3   bevel
                                                                 verb

      Definition of BEVEL

      beveled or bevelled;                 beveling or bevelling \ˈbev-liŋ, ˈbe-və-\

      transitive verb

      : to cut or shape to a bevel

      intransitive verb

      :   INCLINE , SLANT




      See bevel defined for English-language learners




      Examples of BEVEL in a Sentence
      a tool that is used for beveling wood




      Recent Examples of BEVEL from the Web
      Another way to update classics: Here, Shaker-style cabinets, shiplap on walls and
      interior doors have been beveled to reduce the thickness of the edges.
            — Janet Eastman, OregonLive.com, "'Carefree' family farmhouse with a concrete tub: Tour the
              Street of Dreams (photos)," 1 Aug. 2017

      For the flipped effect, follow up a round-brush blowout by smoothing strands with a
      flat iron, slightly beveling the ends, says Atkin.
            — Lauren Valenti, Vogue, "Bella Hadid, Kendall Jenner, and More Are Bringing Back the
              Clueless Blowout," 19 July 2017

      Next, crosscut and bevel the seat support and lay the support across the legs.
            — Joesph Truini, Popular Mechanics, "How to Build the Perfect Picnic Table," 12 June 2017



                                                                                                     IC-App-0632
https://www.merriam-webster.com/dictionary/bevel                                                                   4/11
9/18/2017                                             Bevel | Definition of Bevel by Merriam-Webster

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      word 'bevel.' Views expressed in the examples do not represent the opinion of Merriam-Webster or its editors. Send
      us feedback.




      First Known Use of BEVEL
      1678




                          BEVEL Defined for English Language Learners



                                                             bevel
                                                                  noun

      Definition of BEVEL for English Language Learners

      : a slanted surface or edge on a piece of wood, glass, etc.

      : a tool that is used to make a slanted surface or edge on a piece of wood, glass, etc.




                                                             bevel
                                                                   verb

      Definition of BEVEL for English Language Learners

      : to cut or shape (a surface or edge) at an angle or slant




                                                   BEVEL Defined for Kids




                                                         b                 l
                                                                                                          IC-App-0633
https://www.merriam-webster.com/dictionary/bevel                                                                            5/11
9/18/2017                                              Bevel | Definition of Bevel by Merriam-Webster


                                                        1   bevel
                                                   noun | bev·el | \ ˈbe-vəl \

      Definition of BEVEL for Students

      : a slant or slope of one surface or line against another




      History for BEVEL
      At first the word bevel was used for a certain kind of angle. This was the angle
      formed by two surfaces that are not at right angles. Look at the opening of such an
      angle. You may be able to imagine that it looks like an open mouth. The English word
      bevel came from an Old French word baïf that meant “with open mouth.” This word
      was formed from the Old French verb baer “to yawn ”


                                                            2   bevel
                                                                    verb

      Definition of BEVEL for Students

      beveled or bevelled;                 beveling or bevelling

      : to cut or shape (an edge or surface) at an angle or slant




      Learn More about BEVEL
      See words that rhyme with bevel
      Spanish Central: Translation of bevel
      Nglish: Translation of bevel for Spanish speakers




   Seen and Heard
                                                                                                        IC-App-0634
https://www.merriam-webster.com/dictionary/bevel                                                                      6/11
9/18/2017                                              Bevel | Definition of Bevel by Merriam-Webster

   What made you want to look up bevel? Please tell us where you read or heard it
   (including the quote, if possible).

    SHOW 32 COMMENTS




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                                       advanced search—ad free!

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                                                        W O R D O F T H E D AY




                                                   amanuensis
                                           one employed to write from dictation


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                                                          TRENDING NOW


       1 bodega
            "Don’t mess with the beloved bodega."

       2 carceral
            Of, relating to, or suggesting a jail or prison

       3 allegory
            No spoilers!

       4 hurricane
            'A tropical cyclone'

       5 rescind
            To take away; cancel; repeal


                                                                  SEE ALL
                                                                                                        IC-App-0635
https://www.merriam-webster.com/dictionary/bevel                                                                      7/11
9/18/2017                                              Bevel | Definition of Bevel by Merriam-Webster




                                                      BROWSE DICTIONARY



     BeV
     BEV

     bevel
     bevel chisel
     beveled



                                                    TEST YOUR VOCABULARY



                                            Challenging Vocabulary Quiz Returns!

    stylized-drawing-of-
    woman-pole-vaulting-                      Which is a synonym of fuliginous?
    across-gap-to-get-trophy
                                  murky                                                                 archaic

                                  joyous                                                            cavernous



    How                Test your vocabulary with our 10-question quiz!
    Strong Is          TA K E T H E Q U I Z
    Your
    Vocabulary?
    Add                Test Your Knowledge - and learn some interesting things along the way.
    Diction            TA K E T H E Q U I Z




                                                        W O R D S AT P L AY



                                                         alt-59bad350d88f1



                                                                                                                  IC-App-0636
https://www.merriam-webster.com/dictionary/bevel                                                                                8/11
9/18/2017                                               Bevel | Definition of Bevel by Merriam-Webster




                                                    Welcome to the New Words
                                                    From 'hive mind' to 'sriracha'




                                                           image2143067130




                                                   9 Slang Words With Academic
                                                             Origins
                                                          Class is in session.




                                                            image624847743




                                                    8 Foods Named After Real
                                                             People
                                                       A delicious collection of
                                                          eponymous foods




                                                        ASK THE EDITORS



                                                   video-title-words-of-the-year-1066
                                                                                                         IC-App-0637
https://www.merriam-webster.com/dictionary/bevel                                                                       9/11
9/18/2017                                                Bevel | Definition of Bevel by Merriam-Webster




                                                      Words of the Year: 1066
                                                   Or, Why Pig Meat is Called 'Pork'
                                                    and Cow Meat is Called 'Beef'



                                                                    payday




                                                      How Often Is 'Biweekly'?
                                                        Don't get us started on
                                                              'bimonthly'



                                                   video-irregardless-grammar-peeve-
                                                   blend-of-the-synonyms-irrespective-
                                                              and-regardless




                                                               Irregardless
                                                   It is in fact a real word (but that
                                                   doesn't mean you should use it).




                                                            WORD GAMES


                                                                                                          IC-App-0638
https://www.merriam-webster.com/dictionary/bevel                                                                        10/11
9/18/2017                                                Bevel | Definition of Bevel by Merriam-Webster

                                                    stylized-drawing-of-woman-pole-
                                                    vaulting-across-gap-to-get-trophy




                                                   Challenging Vocabulary Quiz
                                                            Returns!
                                                     No tricks, just difficult words.

                                                               TA K E T H E Q U I Z




                                                          name-that-color-logo




                                                           Name that Color!
                                                     NEW! Additional colors! More
                                                        obscure than before!
                                                               TA K E T H E Q U I Z




                                                     How Strong Is Your Vocabulary?




                                                         How Strong Is Your
                                                           Vocabulary?
                                                   Test your vocabulary with our 10-
                                                             question quiz!
                                                               TA K E T H E Q U I Z


                                                                                                          IC-App-0639
https://www.merriam-webster.com/dictionary/bevel                                                                        11/11
Exhibit U
9/18/2017                                                    Eb-Ty Hidden Deck Fasteners: Installation



                                                                                                         1-800-438-3289
                                                       Builder's Choice for
                                                       Hidden Deck Fasteners

                                                             Products
                                         Home                                          Where to Buy                    Installation
      CONTACT US!
  Calculator                          How t o Install E B TY ® Hidden Deck Fasteners
  Contact EB-TY
                                      EB TY® Hidden Deck FastenersTM make installation easy.
                                                                                                             View Our Installation
                                      They help you install beautiful decking without splinters,
                                      nail holes or visible fasteners — above or below the deck.                    Videos
                                      The dark color of the ultra-violet resistant polypropylene             View Our Installation
                                      fasteners blends with the shadow of the joints.
                                                                                                                   Slideshow
                                      You do all work from above, so your deck can be as close
                                                                                                                          or
                                      to the ground as you want to make it. EB TY fasteners
                                      automatically set even 3/32" or 1/4" spacing between                       Download the
                                      deck boards and ensure that all deck boards are at a level,
                                                                                                                  Installation
                                      uniform height. You need only one EB TY fastener and
                                      one screw wherever a deck board intersects with a joist.                    Instructions

                                      Getting Started                                                           English (US Letter size)
                                                                                                                English (A4 size)
                                      Review the installation instructions provided by the lumber                     Japanese
                                      supplier and / or producer prior to installing the EB TY                  Español
                                      fastening systems.                                                        Russian
                                      The EB TY fastening systems have been designed to                         Français (A4 size)
                                      accommodate special board spacing and board thickness.                    Getusch (A4 size)
                                      To ensure top quality results, moisture in deck boards
                                      should reach appropriate moisture level of the surroundings prior to installation.

                                      Fasteners/Square Foot Calculator
                                      Unsure of how many fasteners to buy? Use our easy calculator to determine how many EB TY
                                      hidden deck fasteners you need.

                                                                                           Enter         Total Number
                                                                                           Number        of Fasteners
                                                        Dimensions                         Square Feet   Needed
                                                        3.5" boards
                                                                                                         0
                                                        w/12" on center joists
                                                        5.5" boards
                                                                                                         0
                                                        w/12" on center joists
                                                        3.5" boards
                                                                                                         0
                                                        w/16" on center joists
                                                        5.5" boards
                                                                                                         0
                                                        w/16" on center joists
                                                        3.5" boards
                                                                                                         0
                                                        w/24" on center joists
                                                        5.5" boards
                                                                                                         0
                                                        w/24" on center joists
                                                                                          submit



                                      Installing the First Board

                                             Apply a bead of exterior construction
                                             adhesive to each joist, approximately
                                             3/8" in width.
                                             Fasten one side of the first deck board
                                             using screws and plugs.
                                                                                                                           IC-App-0640
http://www.ebty.com/installation_hidden_deck_fasteners.php                                                                                 1/5
9/18/2017                                                    Eb-Ty Hidden Deck Fasteners: Installation
                                             Use a 1/8" drill bit with a 3/8"
                                             countersink.
                                             Drive in a #7 X 2-1/4" stainless trim-
                                             head screw at each joist of the first
                                             deck board.




                                             Glue and insert EB TY® 3/8" IPE
                                             Tapered Wood Plugs (Part Code:
                                             IPLUG01) into each countersunk hole.




                                             Carefully remove any part of the wood
                                             plug that protrudes, using a small saw
                                             or belt sander.




                                             Cut a slot (or kerf) in deck board at
                                             each joist and deck board intersection
                                             using a 1/8" router bit or plate joiner
                                             (biscuit cutter #20).


                                      Note: Adjust router or plate joiner (biscuit
                                      cutter) height so that the bottom edge of the
                                      EB-TY fastener is flush with the bottom of the
                                      deck board.

                                      Note: If using pre-grooved decking no slot or
                                      (kerf) cut is necessary.

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                                             Place EB TY fasteners in the slots at
                                             each joist.




                                             Install one #7 X 2-1/4" stainless trim-
                                             head screw in each fastener at a 45°
                                             angle.


                                      Don't over tighten screws, just tighten
                                      snug to the EB TY fasteners.

                                      Note: Drill an angled 1/8" pilot hole for each
                                      screw when installing hardwood decking to
                                      avoid splintering and to ensure that the
                                      decking is pulled tight to the joist.




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                                      Installing Additional Deck
                                      Boards

                                             Apply a bead of exterior construction
                                             adhesive to each joist, approximately
                                             3/8" in width.




                                             Cut a slot at each intersection with
                                             joist on each side of the next board. Do
                                             this in a production-like manner to
                                             maximize your efficiency and save
                                             time.
                                             Place the board so the slot slips over
                                             the exposed EB TY fasteners. The
                                             fasteners will maintain uniform spacing
                                             between the deck boards.




                                      Use a BoWrench® or a clamp to straighten
                                      boards if necessary.




                                             Place EB TY fasteners in the slot at
                                             each joist.
                                             Install one #7 X 2-1/4" stainless trim-
                                             head screw in each fastener at a 45°
                                             angle.
                                             Tighten snug to the EB TY fasteners.
                                             Repeat the above process until all
                                             decking are fastened with the
                                             exception of the final (outside) board.




                                      Installing the Final Outside
                                      Board

                                             Cut slots or kerfs only on the inside of
                                             the final board.
                                             Place the board so the slots slip over
                                             the exposed EB TY fasteners.
                                             Fasten using screws and plugs,
                                             following the same procedure as with
                                             the first board.



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Exhibit V
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